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                                 Composite Exhibit 2
                              Charges of Discrimination
    Charge No.              Charging Party              Page(s)
    Charge 541-2016-01704   Randi Freyer                1-11
    Charge 541-2016-01707   Shannon Kiedrowski          12-20
    Charge 541-2016-01708   Erin Zielinski              21-29
    Charge 541-2016-01709   Brandy Beck                 30-37
    Charge 541-2017-01427   Jo Linda Roby               38-51
    Charge 541-2017-01430   Stacy Rewitzer (Schiller)   52-67
    Charge 541-2018-00055   Renee Schwartzkopf          68-77
    Charge 541-2018-00056   Melissa Hodgkins            78-87
    Charge 541-2018-02436   Heather Crowe               88-98
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          Charge of Discrimination                                                   EEOC Charge 541 -20l6-01704

          PERSONS INVOLVED
                 Randi Freyer, First Officer at Frontier Airlines, on behalf of herself and others similarly
                 situated
                 Frontier Airlines
          DATE OF INCIDENT
                 Ongoing
          SUMMARY OF DISCRIMINATORY CONDUCT
                  I am a First Officer pilot employed by Frontier Airlines ("Frontier"). I bring this charge
          on behalf of myself and others who are similarly situated because Frontier is failing to
          accommodate the needs of its pregnant or breastfeeding pilots and to respect the.ir dignity as
          equal and deserving members of.its workforce. Frontier subjects its pilots to policies and
          practices that discriminate against women. As a result of Frontier's policies, I was forced to take
          an unpaid leave during the last eight weeks of my pregnancy, even though I would have been
          prepared to continue working in a reassigned capacity. Frontier also failed to provide me with
          adequate maternity leave or an appropriate workplace accommodation to express breast milk
          when I returned to work, in violation of the laws of the United States and the State of Colorado,
          including Title Vil ofthe Civil Rights Act of I 964, the Colorado Fair Employment Practices
          Act, and Colorado's Workplace Accommodation for Nursing Mothers Act ("WANMA").
                  As a result of Frontier's policies and practices, I have suffered from stress and anxiety,
          fear that I would lose my job, reduced milk production, physical harm, including mastitis, and
          financial harm. Because Frontier's policies and practices remain in place, I continue to be
          subject to them and am affected by them on an ongoing basis. I am filing this charge in order to
          force Frontier to change its policies and practices to better accommodate the l}eeds of pilots who
          are pregnant and breastfeeding.
          PARTICULARS
          Personal Hann
                  I have been a First Officer at Frontier since September 2013. I had my first child in April
          2014 and returned to work in or around February 2015, when my daughter was approximately
          nine months old. I became pregnant with my second child in 2015, and worked until October 1,
          2015, when I was required, pursuant to Frontier's policies, to go out on leave without pay until I
          gave birth, even though I would have been prepared to continue working in a reassigned
          capacity. Following my daughter's birth on December 5, 2015, I was only offered the option of
          a 120 day period of unpaid maternity leave by Frontier. This 120 day period expired on April 3,
          20 16, and I am currently preparing to return to work. When I do so, as I did in February 20 I 5, I
          plan to be exclusively breastfeeding my child and will require a workplace accommodation to




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        pump breast milk. Indeed, I recently approached Frontier to seek accommodations related to my
        physiological need to express breast milk in order to breastfeed my child, as pennitted by state
        and federal law. Despite my requests, Frontier has failed to provide acceptable accommodation
        for me. As a result of Frontier's actions, I have suffered emotional, physical, and financial hann.
        Discrimination Statement
                Frontier has discriminated against me because I am a woman and due to my pregnancy
        and a condition related to my pregnancy and childbirth-specifically, lactation. This
        discrimination violates the laws of the United States and the State of Colorado, including Title
        VII of the Civil Rights Act of 1964 and the Colorado Fair Employment Practices Act, which
        prohibit discrimination on the basis of sex, as well as Colorado's WANMA. The term "sex"
        includes, but is not limited to, pregnancy, childbirth, and related medical conditions. Lactation is
        a medical condition related to pregnancy and childbirth. Frontier's policies and practices of
        forcing pregnant pilots onto unpaid maternity leave at the end of their pregnancies, to return to
        work within 120 days of unpaid maternity leave, and failing to provide an appropriate
        accommodation for pilots who need to pump breast milk in the workplace constitute disparate
        treatment on the basis of sex, and have a disparate impact on female pilots.
                In addition, WANMA requires employers to (i) provide break time to allow employees to
        express breast milk for their nursing child for up to two years after the child's birth; and
        (ii) provide private space, other than a toilet, in close proximity to the "work area," where the
        employee can express breast milk in privacy. Frontier has failed to provide sufficient break time
        or a private space other than a toilet in close proximity to my work area where I can express
        breast milk in privacy as required by law.
        Professional Background

                l.   I have at all relevant times been employed as a commercial airline pilot by Frontier.
                     I began working at Frontier in the Chief Pilot's office and the safety department,
                     and I was hired as a pilot in September 2013.

               2.    Prior to working at Frontier, I was a pilot for Great Lakes Airlines from May 2008
                     until July 2012. Beginning in July 2012 I was employed as a pilot for XOJET,
                     flying the Challenger 300 super-mid-size private jet

               3.    My qualifications as a First Officer are current and I am a member of the Frontier
                     Airline Pilots Association ("F APA"), the union that represents Frontier pilots.

               4.    Frontier is a commercial airline and maintains a hub at Denver International Airport
                     ("DIN'). I live in Eagle, Colorado and am based out of DIA.




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       Frontier's Policies and Practices
              5.   Frontier requires pregnant pilots to go on maternity leave following the 32nd week
                   of pregnancy, or after they are no longer medically authorized to t1y, whichever is
                   sooner. Frontier's policy permits pilots on maternity leave to use any accrued sick
                   or vacation leave during this time. After any such leave is exhausted, all remaining
                   leave is unpaid.
              6.   Under Frontier's policies, pregnant pilots do not have any option to seek a
                   temporary alternative assignment that would permit them to remain on the job and
                   continue earning a salary during their pregnancy. In contrast, Frontier permits other
                   employees to seek temporary alternative assignments if they can demonstrate
                   medical necessity or disability.
              7.   Frontier permits women to take up to 120 days of maternity leave following birth.
                   That period is unpaid, except to the extent the employee uses any accrued sick and
                   vacation time. After 120 days, employees are required to return to work as soon as
                   they are deemed medically fit for duty, regardless of their specific needs or desire to
                   extend the period of unpaid leave. Although there is a provision in the collective
                   bargaining agreement that permits this period to be extended "for extraordinary
                   circumstances," maternity leave is not usually extended for any reason other than a
                   medical complication following birth, which usually results in the pilot talcing a
                   medical leave of absence.
              8.   Frontier's policies permit pilots to take unpaid medical leave as a result of medical
                   conditions upon a demonstration of medical necessity. However, Frontier does not
                   consider breastfeeding pilots eligible to seek medical leave under this policy, even
                   though breastfeeding is a physiological condition that may require special
                   accommodation that would be incompatible with working a regular tlight schedule.
              9.   It is my understanding that (other than the lactation room at DIA) Frontier has no
                   formal policy on providing accommodations for pilots who are breastfeeding.
              10. Frontier does not make temporary alternative job assignments available to pilots
                  who are breastfeeding.
              11. Pilots at Frontier can work more than 12 hours a day, with flight times ranging from
                  one hour to five hours. Frequently, pilots take overnight trips of two to five days in
                  length spanning multiple cities. Although pilots have breaks of about 45 minutes
                  between flights, their pre- and post-flight duties leave only about 15 minutes of time
                  to attend to personal needs, such as eating meals or using the restroom.
                  Additionally, these breaks are sometimes compressed due to flight delays. As a
                  general matter, these breaks are insufficient in length to permit pilots who are
                  breastfeeding to pump milk.




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               12. Frontier has a designated room at DIA for use by employees who are pumping.
                   However, it is in most cases far from the departure/arrival gates where the airplanes
                   on which I work are located, and there is no similar facility available to Frontier
                   pilots at outstations (airports other than DIA). It is therefore not located in close
                   proximity to my "work area."
               13. Moreover, Frontier does not provide additional break time for the purpose of
                   allowing employees to express breast milk for their nursing child for up to two years
                   after the child's birth.
        My Need for Accommodations Related to Breastfeeding
              14. It is important to me that my children be fed exclusively breast milk and not fonnula
                  during the first six months of their lives, and that they be breastfed for at least a full
                  year after birth even after they start eating solid food. This is not only because of
                  the known health benefits of breast milk, but also because of the important bonding
                  and emotional coru1ection that breastfeeding allows between mother and child.
              15. Women who cannot be with their babies at all times need to express breast milk,
                  usually by using a breast pump, in order to ensure that there is a supply of milk on
                  hand for the baby when they are not present to breastfeed, and to maintain the
                  supply and production of breast milk. If a woman does not breastfeed or express
                  breast milk at frequent intervals, her breast milk supply will decrease and she may
                  stop producing milk altogether. She will also experience pain and discomfort, and
                  could develop blocked ducts or mastitis, which is an infection ofthe breast tissue.
              16. I know that without the ability to pump breast milk at work, I will be unable to
                  maintain a sufficient milk supply and will experience these complications.
       Relevant Personal Background and Frontier's Discriminatory Conduct
              17. I became pregnant with my first child in 2013, and went on leave during the 32nd
                  week of my pregnancy. Aside from some period that may have been covered by
                  accrued paid sick or vacation leave, this leave was unpaid.
              18. Under Frontier's policies, I did not have the option to seek a temporary job
                  reassignment or during the time I was required to take unpaid "maternity leave,"
                  although I would have been able to work had I had the option of being temporarily
                  reassigned to a ground position.
              19. When I was pregnant with my first child, I emailed several individuals at Frontier,
                  including the Chief Pilot and the Director of Training, to offer to work in a ground
                  position after my 32nd week of pregnancy. However, Frontier failed to respond to
                  this email.




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            20. I gave birth to my first child in April 2014. Because of childbirth-related
                complications, I was on medical leave from August 2014 until December 2014.
                received disability insurance for that time period. I received no salary.
            21. As Frontier fails to offer either paid maternity leave or job reassignment for
                pregnant pilots, and because I was required to take unpaid leave after the 32nd week
                ofmy pregnancy, I suffered financial hann from my resulting loss of income.
            22. Because I anticipate the pressure that my regular schedule will place on my ability
                to pump, I would prefer to take more than the maximum of 120 days of unpaid
                maternity leave so that I can continue breastfeeding, but I am not permitted to do so
                under Frontier's policies. Frontier's policies also prevent me from seeking unpaid
                medical leave for a longer period by demonstrating medical necessity as a result of
                lactation.
            23. I therefore have sought accommodations in order to enable me to return to work
                after the birth of each of my children.
            24. I returned to work in January 201 5. Because I was still breastfeeding at that time, in
                preparation for my return to work, I reached out to Frontier's Chief Pilot several
                times to inquire as to how Frontier would accommodate my need to pump breast
                milk once I returned to work. I never received a response to my numerous calls or
                emails.                ,
            25. In addition to contacting the Chief Pilot, I also reached out to Frontier's Human
                Resources ("HR") Department with approximately ten emails and a dozen phone
                calls to inquire about workplace nursing accommodations and a reduced schedule.
                No one responded to my inquiries.
            26. Because neither the Chief Pilot nor Frontier's HR Department would return my
                emails or calls, I was never afforded an opportunity to formally request a workplace
                nursing accommodation in connection with my first child.
            27. It was extremely difficult to express breast milk after I returned to work. I tried to
                express breast milk approximately every three hours, either between flights in the
                restrooms at outstations, at my hotel on overnight trips, or, when it became
                necessary due to pain and discomfort, through taking "physiological needs breaks"
                during flight in the aircraft lavatory.
            28. Pumping breast milk in the aircraft's lavatory is unsanitary, hot, and cramped. It is
                also my understanding that this is inadequate under WANMA, which requires that
                employers provide space, other than a toilet, in close proximity to the work area
                where the employee can express breast milk in private.




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             29. Due to inadequate accommodations for pmnping, there was rarely sufficient time to
                 pump. I frequently had to delay pumping due to my flight schedule or flight delays,
                 causing pain and discomfort.
             30. I suffered from mastitis twice after I returned to work. The first instance of mastitis
                 occurred in my first training session upon returning to work. It resulted in an
                 extremely high fever and required talcing antibiotics for ten days. The second
                 instance of mastitis occurred on one of my first trips soon after my return to work
                 and lasted approximately three days. Both instances of mastitis were extremely
                 painful.
            31. Both times, after suffering from mastitis, I experienced a reduction in my milk
                supply.
            32. I became pregnant with my second child in early 2015 and remained at work until
                my 32nd week of pregnancy.
            33. Under Frontier's policies, I did not have the option to seek a temporary job
                reassignment during the remainder ofmy pregnancy, although I would have been
                able to work until the end of my pregnancy had I had the option of being
                temporarily reassigned to a ground position.
            34. I gave birth to my second child on December 5, 2015. I was on unpaid maternity
                leave for 120 days following the birth.
            35. As Frontier fails to offer either paid maternity leave or job reassignment for
                pregnant pilots, and because I was required to take unpaid leave after the 32nd week
                of my pregnancy, I suffered financial hann from my resulting loss of income.
            36. I was ordered to repoit ready to work as of April 3.
            37. From my experience during my first pregnancy, I knew how diffic~t it would be to
                attempt to continue breastfeeding after returning to work. There are no facilities
                available to me for pwnping on the aircraft or at outstations, other than a lavatory or
                restroom, and I knew that my schedule would make it difficult to take the necessary
                breaks. Although there is a lactation room at DIA, I knew that it would not be
                available to me during flights or when I was at outstations, and even when I was at
                DIA, I might not have sufficient time to make it to the lactation room and back
                during my "tum" time between flights in time to report for duty.
            38. On March 31, 2016, in preparation for my return, I contacted the Chief Pilot, Joseph
                P. ("J.P.") Thibodeau, as well as the Leave of Absence ("LOA") department and
                various other Frontier officials, to advise them of my need to take regular breaks
                because I am breastfeeding, and ask what policies would be in place to assist me.
                Because of the lack of accommodations, I also asked whether I would be eligible to




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                  seek a medical leave of absence until my daughter turned one, on December 5,
                  2016.
            39. On April 18, Michelle Zeier in Frontier's HR department responded that I was free
                to apply for FMLA
            40. Thibodeau also responded on April 18: "[A] Medical Leave of Absence is available
                to '[a] Pilot who is unable to fly due to illness or injury and does not qualify for
                FMLA (or has exhausted FMLA).' Should that be the case, please contact
                LOA1ddlvfronticr.com. With regard to needed breaks, please contact Jerry Arellano
                for specifics on lactation room locations. He may be contacted through
                Gerardo.Ardlann({Mlvfrontier.com."
            41. I accordingly requested infonnation on breaks for pumping in an email to Arellano
                sent on April 19. To date, he has not responded to my email.
            42. I also responded to Thibodeau on April 20, asking for clarification as to whether I
                was eligible to seek a medical leave, and pointing out that I had already contacted
                LOA, which was copied on my original email.
            43. I responded to Zeier on April 21, informing her that I'd already exhausted my
                FMLA, and requesting clarification as to whether or not I would be eligible to seek
                a medical leave of absence.
            44. Neither Zeier nor Thibodeau has to date answered my question as to my eligibility
                for medical leave. However, on April 21, I received an email from LOA attaching
                forms for non-FMLA medical leave, including a form for my doctor to fill out and a
                form entitled "Notice to Employee Regarding Non-FMLA Medical Leave."
            45. That fonn contained inapplicable provisions that related to FMLA leave. It also
                states: "Nursing Mothers: If you are an expecting mother applying for a leave of
                absence and have a·need to express breast milk at work after returning please
                contact the leave department We will work with you to make necessary
                arrangements."
            46.    I retwned the signed fonn on April 25, but crossed out the provisions related to
                  FMLA. I also said: "I am a nursing mother, and will need to express breast milk at
                  work after returning. I copied the leave department in my previous email to JP.
                  Your form says that the leave department 'will work with you to make necessary
                  arrangements'-Can someone please tell me what types of arrangements would be
                  possible?"
            47. To date, no one has responded to my inquiry.
            48. I fear that Frontier's ongoing failure to provide a workplace accommodation for me
                to express breast milk for my child means that I will once again have no choice but




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                    to pump in the aircraft lavatory whenever my schedule does not permit me to pump
                    in an airport bathroom or at my hotel.
               49. I am aware of Frontier providing workplace accommodations, including offering
                   alternative ground assignments, to other pilots for reasons unrelated to pregnancy
                   and breastfeeding. For example, I am aware of one line pilot who was provided
                   with a desk job position at headquarters when she was unable to fly because of
                   certain medical reasons. However, I have not been provided any accommodations
                   for reasons related to pregnancy or breastfeeding.
        Frontier 's Policies and Practices are Discriminatory
               50. Frontier's policies and practices related to pregnancy and breastfeeding constitute
                   discrimination against me based on my sex and because of a condition related to my
                   pregnancy (lactation).
               51. Frontier's failure to provide employees who are pregnant or breastfeeding with
                   access to workplace accommodations such as temporary job reassignment,
                   medically necessary breaks, sanitary facilities to pump breast milk, or medical leave
                   constitute disparate treatment on the basis of sex in violation of the Colorado
                   Antidiscrimination Act and Title VII.
               52. Frontier's policies and practices related to pregnancy and breastfeeding-
                   specifically, the policy of forcing pilots to take mandatory unpaid leave during
                   pregnancy, the limitation to 120 days of unpaid maternity leave, the lack of any paid
                   leave, the ineligibility of breastfeeding pilots for medical leave, the lack of sanitary
                   facilities or adequate break time for pumping breast milk, and the failw-e to make
                   alternative job assignments available to pregnant and breastfeeding pilots, have a
                   disparate impact on female pilots.
               53. Frontier's failure to provide a workplace accommodation for me to ex.press breast
                   milk in a private area close to my work area violates WANMA.
               54. As a result of Frontier's conduct, I suffered from stress and anxiety, emotional
                   distress, fear that I would lose my job, reduced breast milk production, physical
                   hann (mastitis), and financial harm.
               55. I continue to be subject to frontier's policies and practices on an ongoing basis.
                   These policies and practices remain in place, and have impacted and continue to
                   impact my plans with respect to my family and my personal reproductive decisions.
               56. J understand that on March 9, 2016, the ACLU and the law finn Holwell Shuster &
                   Goldberg LLP wrote a letter to Howard Diamond, Senior Vice President, Secretary,
                   and General Counsel of Frontier, to infonn them of my and other pilots' experiences
                   of being subject to discriminatory policies and practices at Frontier related to
                   pregnancy, parental leave, and breastfeeding, and to demand that Frontier




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                 immediately revise those policies and practices. 1 understand that the letter
                 requested a response by March 25, 2016 and that Frontier failed to respond.
      Remedies Requested
            57. Accordingly, I am seeking the following relief:
                     a.    A finding that Frontier's policies and practices violate Title Vil, the
                           Colorado Antidiscrirnination Act, and WANMA;
                     b.    A policy permitting pilots to seek a temporary modified duty assignment
                           to a ground position during the period when they are ineligible to fly due
                           to pregnancy and during the period when the need to express breast milk
                           precludes them from working for continuous periods without regular
                           breaks;
                     c.    A policy ensuring sufficient breaks and a private location other than a
                           lavatory for pumping, including but not limited to while on duty, during
                           training and simulation exercises, and during turns at outstations;
                     d.    Designation of adequate facilities (consisting of a convenient, private
                           location other than a lavatory or restroom) for pumping, including on
                           aircraft, during training and simulation exercises, and at outstations.
                     e.    Publication of a list of breastfeeding and pumping resources, including a
                           list of adequate facilities (a convenient, private location, other than a
                           lavatory or restroom), at each outstation where breastfeeding employees
                           may pump breast milk (every airport is already required by law to have
                           facilities available for its own hourly employees who need to pwnp breast
                           milk);
                     [     A policy permitting a temporary del~gation of pre- and post- tlight duties
                           to the other pilot when a pilot is breastfeeding and needs additional break
                           time to pump breast milk;
                     g.    A policy permitting (but not requiring) pumping in the lavatory on the
                           aircraft on an a.:;-needed basis for the minimum amount of time medically
                           necessary, a.:; permitted by safety and operational nt:eds;
                     h.    A policy extending the existing wipaid parental leave (currently called
                           "maternity" leave) to both male and female pilots; and
                    1.     A policy ex.tending eligibility for unpaid medical leave to employees
                           whose need to express breast milk precludes them from working for
                           continuous periods without regular breaks, notwithstanding the
                           accommodations provided for in (b )-(g) above.




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      Signature   ~~  Randi Frc)'e:c:;ng Party




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the undersigned Notary Public, personally appeared

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Name of Signer(sl

             Proved to me on the oath of _ __ _ _ __ _ _ _ _____ _ __ _ _ _ _ _ _ _ _ __ _ __ _ _

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to be the person(s) whose name(s) is/are subscribed to the within instrument, and acknowledged that he/she/they executed it.

WITNESS my hand and official seal.



                                  MOISES HERNANDEZ
                                   NOTARY PUBLIC                                                                                   (Signature of Notary Public)
                                 STATE OF COLORADO
                         NOTARY ID 20154026231
                     MV COMMISSION EXPIRES JULY 6, 2019



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  Charge of Discrimination                                           EEOC Charge 541-2016-01707

  PERSONS INVOLVED
          Shannon Kiedrowski, First Officer at Frontier Airlines, on behalf of herself and others
          similarly situated
          Frontier Airlines
  DATE OF INCIDENT
          August 6, 2013 and ongoing
  SUMMARY OF DISCRJMINA TORY CONDUCT
           I am a First Officer pilot employed by Frontier Airlines ("Frontier"). I bring this charge
   on behalf of myself and others who are similarly situated because Frontier is failing to
   accommodate the needs of its pregnant or breastfeeding pilots and to respect their dignity as
   equal and deserving members of its workforce. Frontier subjects its pilots to policies and
   practices that discriminate against women. As a result of Frontier's policies, I was forced to take
   an unpaid leave during the last eight weeks of my pregnancy, even though I would have been
   prepared to continue working in a reassigned capacity. Frontier also failed to provide me with
 · adequate maternity leave or an appropriate workplace accommodation to express breast milk
   when I returned to work in violation of the Jaws of the United States and the State of Colorado,
   including Title VII of the Civil Rights Act of 1964, the Colorado Fair Employment Practices
   Act, and Colorado's Workplace Accommodation for Nursing Mothers Act ("WANMA").
          As a result of Frontier's policies and practices, I suffered from stress and anxiety, fear
  that I would lose my job, physical harm, and financial harm. Because Frontier's policies and
  practices remain in place, I continue to be subject to them and am affected by them on an
  ongoing basis. I am filing this charge in order to force Frontier to change its policies and
  practices to be~er accommodate the needs of pilots who are pregnant and breastfeeding.
  PARTICULARS
  Personal Harm
          I have been a First Officer at Frontier since March 4, 2002. I became pregnant with my
  second child in 20 J2, and worked until the 30th week of my pregnancy, when I was required to
  go out on leave without pay 2.5 months prior to my due date even though l would have been
  prepared to continue working in a reassigned capacity. My son was born in March 2013 and I
  returned to work in July 2013, when he was four months old. My maternity leave for this four
  month period was unpaid. I would have taken longer maternity leave (even unpaid) if it had
  been available. When I returned to work in July 2013, I had been exclusively breastfeeding and
  required a workplace accommodation in order to pump breast milk. After returning to work, I
  requested accommodations related to my physiological need to express breast milk, as permitted
  by state and federal law. Despite my requests, Frontier failed to provide acceptable




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  accommodation for me. As a result of Frontier's actions, I have suffered emotional, physical,
  and financial harm.
  Discrimination Statement
          Frontier has discriminated against me because I am a woman and due to my pregnancy
  and condition related to my pregnancy and childbirth- specifically, lactation. This
  discrimination violates the laws of the United States and the State of Colorado, including Title
  VII of the Civil Rights Act of 1964 and the Colorado Fair Employment Practices Act, which
  prohibit discrimination on the basis of sex, as well as Colorado's WANMA. The term "sex"
  includes, but is not limited to, pregnancy, childbirth, and related medical conditions. Lactation is
  a medical condition related to pregnancy and childbirth. Frontier's policies and practices of
  forcing pregnant pilots onto unpaid maternity leave at the end of their pregnancies, to return to
  work within 120 days of unpaid maternity leave, and failing to provide an appropriate
  accommodation for pilots who need to pump breast milk in the workplace constitute disparate
  treatment on the basis of sex, and have a disparate impact on female pilots.
          In addition, WANMA requires employers to (i) provide break time to allow employees to
  express breast milk for their nursing child for up to two years after the child's birth; and (ii)
  provide private space, other than a toilet, in close proximity to the "work area," where the
  employee can express breast milk in privacy. Frontier has failed to provide sufficient break time
  or a private space other than a toilet in close proximity to my work area where I can express
  breast milk in privacy as required by law.
  Professional Background

         1.    I have at all relevant times been employed as a commercial airline pilot by Frontier.
               I began working as a First Officer at Frontier in March 2002. I have been employed
               by Frontier as a pilot continuously since this time.

         2.   Prior to working at Frontier, I was a pilot for Continental Express, where I worked
              for approximately two years.

         3.   I graduated college in 1997 with a degree in aviation. I trained to be a pilot at
              Centennial Airport in Denver. After this training, I qualified as a commercial airline
              pilot and began flying with Continental Express.

         4.    My qualifications as a First Officer are current and I am a member of the Frontier
               Airline Pilots Association ("F AP A"), the union that represents Frontier pilots.

         5.   Frontier is a commercial airline and maintains a hub at Denver International Airport
              ("DIA"). I live in the Denver metro area and am based out of DIA.




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  Frontier's Policies and Practices
         6.   Frontier requires pregnant pilots to go on maternity leave following the 32nd week
              of pregnancy, or after they are no longer medically authorized to fly, whichever is
              sooner. Frontier's policy pennits pilots on maternity leave to use any accrued sick
              or vacation leave during this time. After any such leave is exhausted, all remaining
              leave is unpaid.
         7.   Under Frontier's policies, pregnant pilots do not have any option to seek a
              temporary alternative assignment that would permit them to remain on the job and
              continue earning a salary during their pregnancy. In contrast, Frontier permits other
              employees to seek temporary alternative assignments if they can demonstrate
              medical necessity or disability.
         8.   Frontier permits women to take up to 120 days of maternity leave following birth.
              That period is unpaid, except to the extent the employee uses any accrued sick and
              vacation time. After 120 days, employees are required to return to work as soon as
              they are deemed medically fit for duty, regardless of their specific needs or desire to
              extend the period of unpaid leave. Although there is a provision in the collective
              bargaining agreement that pennits this period to be extended "for extraordinary
              circumstances," maternity leave is not usually extended for any reason other than a
              medical complication following birth, which usually results in the pilot taking a
              medical leave of absence.
         9.   Frontier's policies pennit pilots to take unpaid medical leave as a result of medical
              conditions upon a demonstration of medical necessity. However, Frontier does not
              consider breastfeeding pilots eligible to seek medical leave under this policy even
              though breastfeeding is a physiological condition that may require special
              accommodation that would be incompatible with working a regular flight schedule.
         10. It is my understanding that' (other than the lactation room at DIA) Frontier has no
             formal policy on providing accommodations for pilots who are breastfeeding.
         11 . Frontier does not make temporary alternative job assignments available to pilots
              who are breastfeeding.
         12. Pilots at Frontier can work more than 12 hours a day, with flight times ranging from
             one hour to five hours. Frequently. pilots take overnight trips of two to five days in
             length spanning multiple cities. Although pilots have breaks of about 45 minutes
             between flights, their pre- and post-flight duties leave only about 15 minutes of time
             to attend to personal needs, such as eating meals or using the restroom.
             AdditionalJy, these breaks are sometimes compressed due to flight delays. As a
             general matter, these breaks are insufficient in length to permit pilots who are
             breastfeeding to pump milk.




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         13. Frontier currently has a designated room at DIA for use by employees who are
             pumping. However, if it did exist in 20 IO or 2013 during the time period when I
             was pumping breast milk for either of my children, I was not aware of it. Moreover,
             Frontier was unable to infonn me about it when I specifically inquired about its
             existence in 2013. At its present location, it is in most cases far from the
             departure/arrival gates where the airplanes on which I work are located, and there is
             no similar facility available to Frontier pilots at outstations (airports other than
             DIA). It is therefore not located in close proximity to my "work area."
         14. Moreover, Frontier does not provide additional break time for the purpose of
             allowing employees to express breast milk for their nursing child for up to two years
             after the child's birth.
  My Need for Accommodations Related to Breastfeeding
         15. It is important to me that my children be fed exclusively breast milk, and not
              formula, during the first six months of their lives. and that they be breastfed for at
              least a full year after birth even after they start eating solid food. This is not only
              because of the known health benefits of breast milk, but also because of the
              important bonding and emotional connection that breastfeeding allows between
              mother and child.
         16. Women who cannot be with their babies at all times need to express breast milk,
              usually by using a breast pump, in order to ensure that there is a supply of milk on
              hand for the baby when they are not present to breastfeed, and to maintain the
              supply and production of breast milk. If a woman does not breastfeed or express
              breast milk at frequent intervals, her breast milk supply wi11 decrease and she may
              stop producing milk altogether. She will also experience pain and discomfort, and
              could develop blocked ducts or mastitis, which is an infection of the breast tissue.
         17. I knew that without the ability to pump breast milk at work, I would be unable to
             maintain a sufficient milk supply and would experience these complications.
  Relevant Personal Background and Frontier's Discriminatory Conduct
         18. I became pregnant with my first child in March 2010 and worked until the 32nd
              week of my pregnancy. Aside from some period that may have been covered by
              accrued paid sick or vacation leave, this leave was unpaid.
         19. Under Frontier' s policies, I did not have the option to seek a temporary job
             reassignment during the remainder of my pregnancy.
        20. I gave birth to my first child in December 2010. I went back to work in March
            2011.




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        21. During the time I was breastfeeding my first child in 2011, I used a breast pump to
            express milk on the aircraft. I was unaware of any Frontier policy that forbade me
            from doing so, and I was never told that this behavior was not permitted.
        22. I became pregnant with my second child in June 2012 and worked until my 30th
            week of pregnancy, when I went on leave. Aside from some period that may have
            been covered by accrued paid sick or vacation leave, this leave was unpaid.
        23. I gave birth to my second child in March 2013. I remained on unpaid maternity
            leave until July 2013.
        24. As Frontier failed to offer either paid maternity leave or job reassignment for
            pregnant pilots, and I had been required to take unpaid leave at the end of both of
            my pregnancies, I suffered financial harm from my resulting loss of income.
        25. Because I anticipated the pressure that my regular schedule would place on my
            ability to pump, I would have preferred to take more than the maximwn of 120 days
            of unpaid maternity leave following both of my pregnancies so that I could continue
            breastfeeding, but I was not permitted to do so under Frontier's policies. Frontier's
            policies also prevented me from seeking unpaid medical leave for a longer period by
            demonstrating medical necessity as a result of lactation.
        26. When I came back to work in July 2013 after giving birth to my second child, I
            spoke with another female pilot who asked whether I was planning to again use a
            breast pump to express milk on the aircraft. I confirmed that I did plan to do so.
        27. I subsequently learned that this conversation was overheard by a male pilot named
            Ron Stock, who was scheduled to fly with me beginning the following month. I
            understand that he thereafter reported me to the Chief Pilot's Office for using a
            breast pump on the aircraft. Notably, Mr. Stock had observed me utilizing a breast
            pwnp to express milk in the aircraft after I returned to work after my first child and
            had never to my knowledge objected to my doing so.
        28. A few days after my conversation with the female pilot about pumping breast milk,
            I arrived at the airport before a scheduled flight. At that time, I received a phone
            cal] from Michelle Zeier, Senior Manager of Labor Relations at Frontier. Ms. Zeier
            explained that she wanted to schedule a meeting with myself and Joseph P. ("J.P.")
            Thibideau, Chief Pilot at Frontier, and informed me that because I was returning
            after maternity leave, I needed to discuss plans for returning to work. I asked
            whether I was in trouble, to which Ms. Zeier responded no, and I therefore hoped
            that this was to be a productive discussion about my transition back to work.
        29. I then flew my scheduled flight to Fairbanks, Alaska and back to Denver. During
            both flights, I used a breast pump to express milk as f had done previously after
            giving birth to my first child.




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        30. Four days after receiving the phone call from Ms. Zeier, I had my scheduled
            meeting with Ms. Zeier and Mr. Thjbideau. They said that they knew I had been
            using a breast pump in the aircraft. They questioned me as to why I was
            breastfeeding, why I was not choosing to feed my child formula, why I thought it
            was acceptable to use a breast pump in the aircraft, and how long I planned to do so.
            Their questions were asked in accusatory manner and made me feel anxious and
            ashamed
       31 . I brought a copy of Colorado's WANMA with me to this meeting and told them that
            I knew I had certain rights. Their response was that they were aware of the law and
            they would get back to me as to how to proceed.
       32. In light of this meeting, I reached out to an attorney who l understood to be working
           for my union, Marc Anderson, and told him what had taken place.
       33. A few days later, I received a call from Mr. Thibideau. He told me that I would not
           be permitted to use a breast pump at work. I explained that I was supposed to fly
           out for the following three days (Saturday-Monday), and that I would experience
           major health risks if l simply stopped expressing milk. Therefore, he removed me
           from my scheduled flights for these three days while Frontier contemplated how to
           proceed, and he said they would set up a meeting for that Monday.
       34. Nothing happened on that Monday, but I received a call on Tuesday to set up a
           meeting. This meeting took place on August 6, 2013 at which I, Mr. Anderson, Dan
           Silbaugh, Mr. Thibideau, and Ms. Zeier were present. At this time, they handed me
           a letter, attached hereto as Exhibit A. The letter stated that effectively immediately,
           I would "no longer be allowed to pump breast milk while [I] was performing [my]
           duties as a First Officer." It further stated that removing myself from the flight deck
           to pump breast milk "compromise[d] safety" but that pumping breast milk in the
           flight deck was also not an acceptable alternative because of the "serious issue of
           flight safety."
       35. At this meeting, Mr. Thibideau and Ms. Zeier stated that they were not going to
           continue to pay me a salary if I was unable to fly. I subsequently explained to
           Human Resources that I wanted to work but that I needed the ability to pump while
           l was on duty, whether in the airport lavatory or elsewhere.
       36. In order to both pump and fulfill my job requirements, I initially modified my
           schedule to fly shorter trips or trips with more ground time. As I had relatively high
           seniority (number 10 of over 300 first officers), J had the ability to bid for short
           flights. However, other Frontier pilots in the same position would not have had the
           same opportunities.
       37. I also infonned Mr. Thibideau that I was going to pump as soon as I finished my
           duties on the flight, but that I would do so in the aircraft lavatory. He told me th is



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            would be fine as long as there were no flights departing late, but he said he would be
            watching over me carefully and monitoring my flights. I suffered from anxiety and
            fear about the additional scrutiny that I faced.
       38. Ultimately, a meeting was held in early September 2013 at which I, Mr. Anderson,
            Mr. Silbaugh, and Jim Colburn, Director of Operations, were present, to discuss my
            need for accommodations. I urged Frontier to adopt a policy that would support
            nursing mothers like myself who were returning to work. Mr. Colburn responded
            that they did not need to create a policy because my situation was an anomaly.
            They informed me that they would handle issues like mine on a case-by-case basis.
       39. As to my own need for accommodations, they seemed to recognize that I would
           need to pump while I was working, and they said they would look for a room in
           DIA for me to pump. However, they never notified me whether any such a location
           had been identified They also offered to let me pump in the Chief Pilot's office,
           but I declined this option because I knew that this would not address my need for
           accommodations outside of Denver, and in any event, I would feel uncomfortable
           doing so. Finally, they offered to let me apply for unpaid personal leave on a
           month-to-month basis, but they stated that because it was_the holiday season, they
           could not guarantee it would be granted. For personal and financial reasons, I did
           not take them up on this offer.
       40. After this point, it became even more difficult to express breast milk while I was at
           work. The only options I had were to leave home having just nursed or pumped, to
           get to the airport early and pump in the public bathroom, or to pump in the aircraft
           lavatory, in the restrooms at outstations, or at my hotel on overnight trips. I tried to
           pump before and between flights, but when it became necessary due to pain and
           discomfort, I sometimes had to take "physiological needs breaks" in the aircraft
           lavatory during flights.
       41. Pumping breast milk in the aircraft's lavatory is unsanitary, hot, and cramped. It is
           also my understanding that this is inadequate under WANMA, which requires that
           employers provide space, other than a toilet, in close proximity to the work area
           where the employee can express breast milk in private.
       42. Each time I pumped on the aircraft I was anxious and concerned that I would be
           reported to Frontier management and would be disciplined or suffer other
           consequences, including losing my job.
       43. Due to inadequate accommodations for pumping, there was rarely sufficient time to
           pump. I frequently had to delay pumping due to my flight schedule or flight delays,
           causing pain and discomfort due to engorgement.
       44. I am aware of Frontier providing workplace accommodations, including working in
           the Chief Pilot's office, to other pilots for reasons unrelated to pregnancy and




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              breastfeeding. I am aware that pilots have been provided ground positions when
              they suffer from medical conditions such as vertigo and seizures. However, I was
              not provided accommodations for reasons related to pregnancy or breastfeeding.
         45. I was ineligible to seek unpaid medical leave for reasons related to breastfeeding,
             and indeed Frontier did not even provide me with an opportunity to make a showing
             of medical necessity.
  frontier's Policies and Practices are Discriminatory
         46. Frontier's policies and practices related to pregnancy and breastfeeding constitute
             discrimination against me based on my sex and because of a condition related to my
             pregnancy (lactation).
         47. Frontier's failure to provide employees who are pregnant or breastfeeding with
             access to workplace accommodations such as temporary job reassignment,
             medically necessary breaks and sanitary facilities to pump breast milk, or medical
             leave constitute disparate treatment on the basis of sex in violation of the Colorado
             Antidiscrimination Act and Title Vll.
         48. Frontier's policies and practices related to pregnancy and breastfeeding-
             specifically, the policy of forcing pilots to take mandatory unpaid leave during
             pregnancy, the limitation to 120 days of unpaid maternity leave, the lack of any paid
             leave, the ineligibility of breastfeeding pilots for medical leave, the lack of sanitary
             facilities or adequate break time for pumping breast milk, and the failure to make
             alternative job assignments available to pregnant and breastfeeding pilots, have a
             disparate impact on female pilots.
         49. Frontier's failure to provide a workplace accommodation for me to express breast
             milk in a private area close to my work area violates WANMA.
         50. As a result of Frontier's conduct, I suffered from stress and anxiety, emotional
             distress, fear that I would lose my job, physical harm (discomfort, engorgement,
             leakage) and financial harm.
         51. I continue to be subject to Frontier's policies and practices on an ongoing basis.
             These policies and practices remain in place, and have impacted and continue to
             impact my plans with respect to my family and my personal reproductive decisions.
         52. I understand that on March 9, 2016, the ACLU and the law firm Holwell Shuster &
             Goldberg LLP wrote a letter to Howard Diamond, Senior Vice President, Secretary,
             and General Counsel of Frontier, to inform them of my and other pilots' experiences
             of being subject to discriminatory policies and practices at Frontier related to
             pregnancy, parental leave, and breastfeeding, and to demand that Frontier
             immediately revise those policies and practices. I understand that the letter
             requested a response by March 25, 2016 and that Frontier failed to respond.




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  Remedies Requested
         53. Accordingly, I am seeking the following relief:
                   a. A finding that Frontier' s policies and practices violate Title VII, the
                      Colorado Antidiscrimination Act, and W ANMA;
                   b. A policy permitting pilots to seek a temporary modified duty assignment to a
                      ground position during the period when they are ineligible to fly due to
                      pregnancy and during the period when the need to express breast milk
                      precludes them from working for continuous periods without regular breaks;
                   c. A policy ensuring sufficient breaks and a private location other than a
                        lavatory for pumping, including but not limited to while on duty, during
                        training and simulation exercises, and during turns at outstations;
                   d. Designation of adequate facilities (consisting of a convenient, private
                      location other than a lavatory or restroom) for pumping, including on
                      aircraft, during training and simulation exercises, and at outstations;
                   e. Publication of a list of breastfeeding and pumping resources, including a list
                      of adequate facilities (a convenient, private location, other than a lavatory or
                      restroom), at each outstation where breastfeeding employees may pump
                      breast milk (every airport is already required by law to have facilities
                      available for its own hourly employees who need to pump breast milk);
                   f. A policy permitting a temporary delegation of pre- and post- flight duties to
                      the other pilot when a pilot is breastfeeding and needs additional break time
                      to pump breast milk;
                   g. A policy permitting (but not requiring) pumping in the lavatory on the
                      aircraft on an as-needed basis for the minimum amount of time medically
                      necessary, as permitted by safety and operational needs;
                   h. A policy extending the existing unpaid parental leave (currently called
                      "maternity" leave) to both male and female pilots; and
                   1.   A policy extending eligibility for unpaid medical leave to employees whose
                        need to express breast milk precludes them from working for continuous
                        periods without regular breaks, notwithstanding the accommodations
                        provided for in (b)-(g) above.


  Signature:    s~             \L ~:x:L                         Date:      b   SJO u { Z. O I ~
               Shannon Kiedrowski, Charging Party



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 Charge of Discrimination                                                    EEOC Charge 541-2016-01708

 PERSONS INVOLVED

        Erin Zielinski, First Officer at Frontier Airlines, on behalf of herself and others similarly
        situated
        Frontier Airlines
 DATE OF INCIDENT
        November 19, 2014 and ongoing
 SUMMARY OF DISCRIMINATORY CONDUCT

        I am a First Officer pilot employed by Frontier Airlines ("Frontier"). I bring this charge
 on behalf of myself and others who are similarly situated because Frontier is failing to
 accommodate the needs of its pregnant or breastfeeding pilots and to respect their dignity as
 equal and deserving members of its workforce. Frontier subjects its pilots to policies and
 practices that discriminate against women. As a result of Frontier's policies, I was forced to take
 an unpaid leave during the last eight weeks of my pregnancy, even though I would have been
 prepared to continue working in a reassigned capacity. Frontier also failed to provide me with
 adequate maternity leave or an appropriate workplace accommodation to express breast milk
 when I returned to work, in violation of the laws of the United States and the State of Colorado,
 including Title VII of the Civil Rights Act of 1964, the Colorado Fair Employment Practices
 Act, and Colorado's Workplace Accommodation for Nursing Mothers Act ("W ANMA").
 Moreover, Frontier senior management viewed my requests for accommodation as "baiting" and
 "games," further evidencing a disregard for the medical needs of its breastfeeding employees and
 their rights under federal and state law.

         As a result of Frontier's policies and practices, I suffered from stress and anxiety, fear
 that I would lose my job, reduced breast milk production, physical harm, including mastitis and
 premature termination of breastfeeding, and financial harm. Because Frontier's policies and
 practices remain in place, I continue to be subject to them and am affected by them on an
 ongoing basis. I am filing this charge in order to force Frontier to change its policies and
 practices to better accommodate the needs of pilots who are pregnant and breastfeeding.

 PARTICULARS
 Personal Harm
        I have been a First Officer at Frontier since November 2013. I became pregnant in 2013.
 Pursuant to Frontier's policies, a female pilot in my position was required to go out on leave
 without pay 2.5 months prior to her due date, even though she may have been prepared to
 continue working in a reassigned capacity if it had been made available. My son was born in
 July 2014, and I returned to work in November 2014 when he was four months old. My
 maternity leave for this four month period was unpaid. I would have taken longer maternity




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  leave (even unpaid) ifit had been available. When I returned to work in November 2014, I had
  been exclusively breastfeeding and required a workplace accommodation to pump breast milk.
  Frontier has no express or written policy on accommodations to pump breast milk. I approached
  Frontier to seek accommodation related to my physiological need to express breast milk, as
  permitted by state and federal law. Despite my requests, Frontier has failed to provide
  acceptable accommodation for me. As a result of Frontier's actions, I have suffered emotional,
  physical, and financial harm.
  Discrimination Statement
          Frontier has discriminated against me because I am a woman and due to my pregnancy
  and a condition related to my pregnancy and childbirth-specifically, lactation. This
  discrimination violates the laws of the United States and the State of Colorado, including Title
  VII of the Civil Rights Act of 1964 and the Colorado Fair Employment Practices Act, which
  prohibit discrimination on the basis of sex, as well as Colorado's W ANMA. The term "sex"
  includes, but is not limited to, pregnancy, childbirth, and related medical conditions. Lactation is
  a medical condition related to pregnancy and childbirth. Frontier's policies and practices of
  forcing pregnant pilots onto unpaid maternity leave at the end of their pregnancies, to return to
  work within 120 days of unpaid maternity leave, and failing to provide an appropriate
  accommodation for pilots who need to pump breast milk in the workplace constitute disparate
  treatment on the basis of sex, and have a disparate impact on female pilots.

         In addition, W ANMA requires employers to (i) provide break time to allow employees to
  express breast milk for their nursing child for up to two years after the child's birth; and (ii)
  provide private space, other than a toilet, in close proximity to the "work area," where the
  employee can express breast milk in privacy. Frontier has failed to provide sufficient break time
  or a private space other than a toilet in close proximity to my work area where I can express
  breast milk in privacy as required by Jaw.
  Professional Background

          1.   I have at all relevant times been employed as a commercial airline pilot by Frontier.
               I began working as a First Officer at Frontier in November 2013. I have been
               employed by Frontier as a First Officer for over two years.

         2.    Prior to working at Frontier I was a pilot for Express Jet for six months. Prior to my
               tenure at Express Jet I was a pilot for Great Lakes Airlines where I worked for five
               years.
         3.    My first job upon graduating college in 2003 was as a flight attendant for Frontier. I
               held that position from 2004 to 2008, at which point I decided to pursue flight
               school and become a pilot. After two years of training, I eventually qualified as a
               commercial airline pilot and began flying with Great Lakes.




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         4.   My qualifications as a First Officer are current and I am a member of the Frontier
              Airline Pilots Association ("F AP A"), the union that represents Frontier pilots.

         5.   Frontier is a commercial airline and maintains a hub at Denver International Airport
              ("DIA"). I live in Denver and am based out of DIA.
  Frontier's Policies and Practices
         6.   Frontier requires pregnant pilots to go on maternity leave following the 32nd week
              of pregnancy or after they are no longer medically authorized to fly, whichever is
              sooner. Frontier's policy pe1mits pilots on maternity leave to use any accrued sick
              or vacation leave during this time. After any such leave is exhausted, all remaining
              leave is unpaid.
         7.   Under Frontier's policies, pregnant pilots do not have any option to seek a
              temporary alternative assignment that would permit them to remain on the job and
              continue earning a salary during their pregnancy. In contrast, Frontier permits other
              employees to seek temporary alternative assignments if they can demonstrate
              medical necessity or disability.
         8.   Frontier permits women to take up to 120 days of maternity leave following birth.
              That period is unpaid, except to the extent the employee uses any accrued sick and
              vacation time. After 120 days, employees are required to return to work as soon as
              they are deemed medically fit for duty, regardless of their specific needs or desire to
              extend the period of unpaid leave. Although there is a provision in the collective
              bargaining agreement that permits this period to be extended "for extraordinary
              circumstances," maternity leave is not usually extended for any reason other than a
              medical complication following bitth, which usually results in the pilot taking a
              medical leave of absence.
         9.   Frontier's policies pcnnit pilots to take unpaid medical leave as a result of medical
              conditions upon a demonstration of medical necessity. However, Frontier does not
              consider breastfeeding pilots eligible to seek medical leave under this policy even
              though breastfeeding is a physiological condition that may require special
              accommodation that would be incompatible with working a regular flight schedule.
         IO. It is my understanding that (other than the lactation room at DIA) Frontier has no
             formal policy on providing accommodations for pilots who are breastfeeding.
         11. Frontier does not make temporary alternative job assignments available to pilots
             who are breastfeeding.
         12. Pilots at Frontier can work more than 12 hours a day, with flight times ranging from
             one hour to five hours. Frequently, pilots take overnight trips of two to five days in
             length spanning multiple cities. Although pilots have breaks of about 45 minutes
             between flights, their pre- and post-flight duties leave only about 15 minutes of time



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              to attend to personal needs, such as eating meals or using the restroom.
              Additionally, these breaks are sometimes compressed due to flight delays. As a
              general matter, these breaks are insufficient in length to permit pilots who are
              breastfeeding to pump milk.
         13. Frontier has a designated room at DIA for use by employees who are pumping.
             However, it is in most cases far from deparrure/arrival gates where the airplanes on
             which I work are located, and there is no similar facility available to Frontier pilots
             at outstations (airports other than DIA). [tis therefore not located in close
             proximity to my "work area."
         14. Moreover, Frontier does not provide additional break time for the purpose of
             allowing employees to express breast milk for their nursing child for up to two years
             after the child's birth.
  My Need for Accommodations Related to Breas{feeding
         15. It is important to me that my child be fed exclusively breast milk, and not formula,
             during the first six months of his life, and that he be breastfed for at least a full year
             after birth even after he starts eating solid food. This is not only because of the
             known health benefits of breast milk, but also because of the important bonding and
             emotional connection that breastfeeding allows between mother and child.
         16. Women who cannot be with their babies at all times need to express breast milk,
             usually by using a breast pump, in order to ensure that there is a supply of milk on
             hand for the baby when they are not present to breastfeed, and to maintain the
             supply and production of breast milk. If a woman does not breastfeed or express
             breast milk at frequent intervals, her breast milk supply will decrease and she may
             stop producing milk altogether. She will also experience pain and discomfort, and
             could develop blocked ducts or mastitis, which is an infection of the breast tissue.
         17. I knew that without the ability to pump breast milk at work, I would be unable to
             maintain a sufficient milk supply and would experience these complications.
  Relevant Personal Background and Frontier's Discriminato,y Conduct
         18. f became pregnant in October 2013. Because of my pregnancy-related
             complications, I went on leave during the 30th week of my pregnancy. Aside from
             some period that may have been covered by accrued paid sick or vacation leave, this
             leave was unpaid.
         19. Under Frontier's policies, I did not have the option to seek a temporary job
             reassignment during the remainder of my pregnancy.
        20.   I gave birth in July 2014 and remained on unpaid maternity leave until November
              2014.




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       21. As Frontier failed to offer either paid maternity leave or job reassignment for
             pregnant pilots, and I had been required to take unpaid leave following my 30th
             week of pregnancy, I suffered financial harm from my resulting loss of income.

       22. Because I anticipated the pressure that my regular schedule would place on my
           ability to pump, I would have preferred to take more than the maximum of .120 days
             of unpaid maternity leave so that l could continue breastfeeding, but I was not
             permitted to do so under Frontier's policies. Frontier's policies also prevented me
             from seeking unpaid medical leave for a longer period by demonstrating medical
             necessity as a result of lactation.
       23. I therefore sought an accommodation in order to enable me to return to work. In
             anticipation of my return date, [ emailed Frontier's Senior Employee Relations
             Manager, Chris Benedict, on November 4, 2014 regarding my need to pump breast
             milk.
       24. On November 6, 2014, Mr. Benedict responded that there is a lactation room at
           DIA, Frontier's home hub. Mr. Benedict also stated that "it might be easiest to
           speak directly just prior to [my] return so that we [could] coordinate access to the
           room."
       25. I knew 1 might not have enougJ1 time to get to the lactation room and back to the
           plane in time for my scheduled flight times, especially if I was flying into or out of a
           gate located far from the lactation room. This facility would of course not be
           available to me when I was at outstations.
       26. On November 11, 2014, I responded to Mr. Benedict via email inquiring as to where
           I could pump in airports other than DlA It is my understanding that every airport is
           already required by law to have a room available for its own how·Iy employees who
           need to· pump breast milk.
       27. Mr. Benedict did not respond to my email. On November 13, 2014, I wrote to him
           again, this time to inquire about another potential accommodation: whether I could
           reduce my schedule to 50 flight hours per month from the normal 70. I used my
           personal Hotmail email account for this correspondence.
        28. Mr. Benedict agreed in writing to a reduced flight schedule.
       29. On November 19, 2014, I receive.d an email at my Hotmail address from Michelle
           Zeier, Senior Manager, Labor Relations. The email was sent to Mr. Benedict and,
           almost certainly inadvertently, to me. Other recipients included Joseph P. ("J.P.")
           Thibodeau, Chief Pilot, and Jacalyn Peter, who is part of the Hwnan Resources
           Department. Ms. Zeier's email appeared to be in response to my November 11,
           2014 email query to Mr. Benedict. In her November 19, 2014 reply, Ms. Zeier




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            wrote that: "She's still baiting us. No reply. She needs to come in for a meeting.
            No recordings/no games. Let's chat tomorrow about it."
       30. I was distressed by Ms. Zeier's email, especially by the clear implication that my
           inquiry about the location of lactation rooms was viewed by a Frontier Senior
           Manager as "baiting" and "games." In light of Ms. Zeier' s email I felt intimidated
           and was afraid of attending an in-person meeting with a person I knew to be hostile
           to my request for adequate workplace nursing accommodations.
        31. My apprehension was well founded because soon after receiving Ms. Zeier's email,
            access to my Frontier email account as well as access to Comply 365 were
            suspended. An IT representative told me that it had been ordered to be deactivated
            by Ms. Zeier.
       32. I was extremely concerned about having my Frontier email and Comply 365
           account suspended. Comply 365 is an application Frontier uses on company
           required iPads to access all of our company manuals and other necessary
           infonnation pertinent to my job. I was in the midst of studying for recertification
           exams that were required for my return to work, and I could not access various
           manuals essential for preparing for recertification. If I were to fail this
           recertification my job would be in jeopardy.
       33. Because of Ms. Zeier's email and being subsequently locked out of my Frontier
           email account, I was too intimidated to ask any more questions about workplace
           nursing accommodation. The loss of email access, and the impact that had on my
           ability to study for recertification, made me believe that asking about workplace
           nursing accommodation would negatively affect my employment.
       34. Instead of making another workplace nursing accommodation request, which I
           believed would not be favorably received by Frontier, I decided to drop the matter
           of workplace nursing accommodation, accepted the offer of a reduced flight
           schedule of 50 hours each month, and resolved to attempt to schedule my pumping
           sessions around my flight schedule.
       35. In an attempt to maintain my supply of breast milk, I resorted to pumping in the
           aircraft lavatory before and after each flight whenever possible.
       36. Pumping breast milk in the aircraft's lavatory is unsanitary, hot, and cramped. It is
           also my understanding that this is inadequate under W ANMA, which requires that
           employers provide space, other than a toilet, in close proximity to the work area
           where the employee can express breast milk in private.
       37. Each time I pumped on the aircraft I became anxious and concerned that I would be
           reported to Frontier management and would be disciplined or suffer other




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              consequences, including losing my job. I was also worried that I would not finish
              my duties in a timely manner, possibly causing delays.

        38. Due to inadequate accommodations for pumping, there was rarely sufficient time to
            pump. I frequently had to delay pumping due to my flight schedule or flight delays,
              causing pain and discomfort due to engorgement, and I suffered a steep decline in
              milk supply.

        39. As a result of the decline in my milk supply. I had to supplement my son's diet with
            formula starting when he was six months old. I had to stop breastfeeding entirely
            when he wa<; nine months old, despite my desire to continue for a longer period.

        40.   I know, from the email I received, that Frontier viewed my inquiries about nursing
              accommodations as nothing more than an attempt to "bait[]" them and did not
              appreciate that I was, in fact, trying to ensure that I would be able to pump adequate
              breast milk to feed my son and avoid serious medical complications for my own
              health.
        41 . l believe that Frontier has provided workplace accommodations to other pilots for
             reasons unrelated to pregnancy and breastfeeding.

        42.   I believe that other pilots have had the opportwlity to seek medical leave upon a
              showing of medical necessity. However, aside from the reduced flight schedule that
              I was able to negotiate, I have not been provided any accommodations for reasons
              related to pregnancy or breastfeeding.

 Frontier's Policies and Practices are Discriminatory

        43 . Frontier's policies and practices related to pregnancy and breastfeeding constitute
             discrimination against me based on my sex and because of a condition related to my
             pregnancy (lactation).

        44. Frontier's failure to provide employees who are pregnant or breastfeeding with
            access to workplace accommodations such as temporary job reassignment,
            medically necessary breaks and sanitary facilities to pump breast milk, or medical
            leave constitute disparate treatment on the basis of sex in violation of the Colorado
            Antidiscrimination Act and Title VIL

        45. Frontier's policies and practices related to pregnancy and brcastfeeding-
            specifically, the policy of forcing pilots to take mandatory unpaid leave during
            pregnancy, the limitation to 120 days of unpaid maternity leave, the lack of any paid
            leave, the ineligibility of breastfeeding pilots for medical leave, the lack of sanitary
            facilities or adequate break time for pumping breast milk, and the failure to make
            alternative job assignments available to pregnant and breastfeeding pilots, have a
            disparate impact on female pilots.




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        46. Frontier's failure to provide a workplace accommodation for me to express breast
            milk in a private area close to my work area violates WANMA.

        4 7. As a result of Frontier's conduct, I suffered from stress and anxiety, emotional
              distress, fear that I would lose my job, reduced breast milk production, physical
              harm (mastitis), premature tennination of breastfeeding, and financial harm.

        48. I continue to be subject to Frontier' s policies and practices on an ongoing basis.
            These policies and practices remain in place, and have impacted and continue to
            impact my plans with respect to my family and my personal reproductive decisions.
        49.   I understand that on March 9, 2016, the ACLU and the law firm Holwell Shuster &
              Goldberg LLP wrote a letter to Howard Diamond, Senior Vice President, Secretary,
              and General Counsel of Frontier, to infonn them of my and other pilots' experiences
              of being subject to discriminatory policies and practices at Frontier related to
              pregnancy, parental leave, and breastfeeding, and to demand that Frontier
              immediately revise those policies and practices. I understand that the letter
              requested a response by March 25, 2016 and that Frontier failed to respond.

  Remedies Requested
        50.   Accordingly, I am seeking the following relief:
                  a. A fmding that Frontier's policies and practices violate Title VII, the
                     Colorado Antidiscrimination Act, and WANMA;

                  b. A policy pennitting pilots to seek a temporary modified duty assignment to
                     a ground position during the period when they are ineligible to fly due to
                     pregnancy and during the period when the need to express breast milk
                     precludes them from working for continuous periods without regular breaks;
                  c. A policy ensuring sufficient breaks and a private location other than a
                     lavatory for pumping, including but not limited to while on duty, during
                     training and simulation exercises and during turns at outstations;
                  d. Designation of adequate facilities (consisting of a convenient, private
                     location other than a lavatory or restroom) for pumping, including on
                     aircraft, during training and simulation exercises, and at outstations.

                  e. Publication of a list of breastfeeding and pumping resources, including a list
                     of adequate facilities (a convenient, private location, other than a lavatory or
                       restroom), at each outstation where breastfeeding employees may pump
                       breast milk ( every airport is al.ready required by law to have facilities
                       available for its own hourly employees who need to pump breast milk);




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                           f. A policy permitting temporary delegation of pre- and post- flight duties to
                                 the other pilot when a pilot is breastfeeding and needs additional break time
                                 to pump breast milk;

                          g. A policy pem1itting (but not requiring) pumping in the lavatory on the
                             aircraft on an as-needed basis for the minimum amount of time medically
                             necessary, as permitted by safety and operational needs;
                          h. A policy extending the existing unpaid parental leave ( currently called
                             ••maternity" leave) to both male and female pilots; and

                          1.     A policy extending eligibility for unpaid medical leave to employees whose
                                 need to express breast milk precludes them from working for continuous
                                 periods without regular breaks, notwithstanding the accommodations
                                 provided for in (b)-(g) above.



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   County of_Jefferaon
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    Charge of Discrimination                                           EEOC Charge 541-2016-01709

    PERSONS INVOLVED
           Brandy Beck, First Officer at Frontier Airlines, on behalf of herself and others similarly
           situated
           Frontier Airlines
    DATE OF INCIDENT
           July 2015 and ongoing
    SUMMARY OF DISCRIMINATORY CONDUCT
            I am a First Officer pilot employed by Frontier Airlines ("Frontier"). I bring this charge
    on behalf of myself and others who are similarly situated because Frontier is failing to
    accommodate the needs of its pregnant or breastfeeding pilots and to respect their dignity as
    equal and deserving members of its workforce. Frontier subjects its pilots to policies and
    practices that discriminate against women. As a result of Frontier's policies, I was forced to go
    on leave during the last twelve weeks of my pregnancy, even though I would have been prepared
    to continue working in a reassigned capacity. Frontier also failed to provide me with an
    adequate maternity leave or an appropriate workplace accommodation to express breast milk
    when I returned to work, in violation of the laws of the United States and the State of Colorado,
    including Title Vil of the Civil Rights Act of 1964, the Colorado Fair Employment Practices
    Act, and Colorado's Woi:Icplace Accommodation for Nursing Mothers Act ("WANMA").
           As a result of Frontier's policies and practices, I suffered from stress and anxiety, fear
    that I would lose my job, reduced breast milk production, physicaJ harm, and financial harm.
    Because Frontier's policies and practices remain in place, I continue to.be subject to them and
    am affected by them on an ongoing basis. I am filing this charge in order to force Frontier to
    change its policies and practices to better accommodate the needs of pilots who are pregnant and
    breastfeeding.
    PARTICULARS
    Personal Harm
            I have been a First Officer at Frontier since November 17, 2003. Ten years later, I
    became pregnant with my second child in 2013. I worked until I was twenty-eight weeks
    pregnant, when I went out on leave, even though I would have been prepared to continue
    working in a reassigned capacity. My son was born in June 2014 and I returned to work in May
    2015, when my son was eleven months old. I would have taken longer maternity leave (even
    unpaid) if it had been available. When I returned to work in May 2015, I had been exclusively
    breastfeeding my child and required a workplace accommodation in order to pump breast milk. I
    approached Frontier to seek accommodations related to my physiological need to express breast
    milk, as permitted by state and federal law. Despite my requests, Frontier failed to provide




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    acceptable accommodations for me. As a result of Frontier's actions, I have suffered emotional,
    physical, and financial harm.
    Discrimination Statement
            Frontier has discriminated against me because I am a woman and due to my pregnancy
    and a condition related to my pregnancy and childbirth-specifically, lactation. This
    discrimination violates the laws of the United States and the State of Colorado, including Title
    Vll of the Civil Rights Act of 1964 and the Colorado Fair Employment Practices Act, which
    prohibit discrimination on the basis of sex, as well as Colorado's WANMA. The term "sex"
    includes, but is not limited to, pregnancy, childbirth, and related medical conditions. Lactation is
    a medical condition related to pregnancy and childbirth. Frontier's policies and practices of
    forcing pregnant pilots onto unpaid maternity leave at the end of their pregnancies, to return to
    work within 120 days of unpaid maternity leave, and failing to provide an appropriate
    accommodation for pilots who need to pump breast milk in the workplace constitute disparate
    treatment on the basis of sex, and have a disparate impact on female pilots.
            In addition, WANMA requires employers to (i) provide break time to allow employees to
    express breast milk for their nursing child for up to two years after the child's birth; and (ii)
    provide private space, other than a toilet, in close proximity to the "work area," where the
    employee can express breast milk in privacy. Frontier has failed to provide sufficient break time
    or a private space other than a toilet in close proximity to my work area where I can express
    breast milk in privacy as required by law.
    Professional Background

            1.   I have at all relevant times been employed as a commercial airline pilot by Frontier.
                 I began working as a First Officer at Frontier in November 2003. I have been
                 employed by Frontier as a First Officer for over 12 years.

           2.    Prior to working at Frontier, I was a pilot for Great Lakes Airlines from 1999 to
                 2002 and Air Wisconsin from 2002 to 2003.

            3.   I graduated from the University of North Dakota in 1997 with a degree in aviation.
                 I became a captain at Great Lakes Airlines in 200 I .

           4.    My qualifications as a First Officer are current and I am a member of the Frontier
                 Airline Pilots Association ("FAPA"), the union that represents Frontier pilots.

            5.   Frontier is a commercial airline and maintains a hub at Denver International Airport
                 ("DIA"). I live in Denver and am based out of DIA.




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    Frontier' s Poli d a; and Practices

           6.    Frontier requires pregnant pilots to go on maternity leave following the 32nd week
                 of pregnancy, or after they are no longer medically authorized to fly, whichever is
                 sooner. Frontier's policy permits pilots on maternity leave to use any accrued sick
                 or vacation leave during this time. After any such leave is exhausted, all remaining
                 leave is unpaid.
           7.    Under Frontier's policies, pregnant pilots do not have any option to seek a
                 temporary alternative assignment that would permit them to remain on the job and
                 continue earning a salary during their pregnancy. In contrast, Frontier permits other
                 employees to seek temporary alternative assignments if they can demonstrate
                 medical necessity or disability.
           8.    Frontier permits women to take up to 120 days of maternity leave following birth.
                 That period is unpaid, except to the extent the employee uses any accrued sick and
                 vacation time. After 120 days, employees are required to return to work as soon as
                 they are deemed medically fit for duty, regardless of their specific needs or desires
                 to extend the period of unpaid leave. Although there is a provision in the collective
                 bargaining agreement that permits this period to be extended "for extraordinary
                 circumstances," maternity leave is not usually extended for any reason other than a
                 medical complication following birth, which usually results in the pilot taking a
                 medical leave of absence.
           9.    Frontier's policies permit pilots to take unpaid medical leave as a result of medical
                 conditions upon a demonstration of medical necessity. However, Frontier does not
                 consider breastfeeding pilots eligible to seek medical leave under this policy even
                 though breastfeeding is a physiological condition that may require special
                 accommodation that would be incompatible with working a regular flight schedule.
            10. It is my understanding that (other than the lactation room at DIA) Frontier has no
                formal policy on providing accommodations for pilots who are breastfeeding.
            11. Frontier does not make temporary alternative job assignments available to pilots
                who are breastfeeding.
            12. Pilots at Frontier can work more than 12 hours a day, with flight times ranging from
                one hour to five hours. Frequently, pilots take overnight trips of two to five days in
                length spanning multiple cities. Although pilots have breaks of about 45 minutes
                between flights, their pre- and post-flight duties leave only about 15 minutes of time
                to attend to personal needs, such as eating meals or using the restroom.
                Additionally, these breaks are sometimes compressed due to flight delays. As a
                general matter, these breaks are insufficient in length to pennit pilots who are
                breastfeeding to pump milk.




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           13. Frontier has a designated room at DIA for use by employees who are pumping.
               However, it is in most cases far from departure/arrival gates where the airplanes on
               which I work are located, and there is no similar facility available to Frontier pilots
               at outstations (airports other than DIA). It is therefore not located in close
               proximity to my "work area."
           14. Moreover, Frontier does not provide additional break time for the purpose of
               allowing employees to express breast milk for their nursing child for up to two years
               after the child's birth.
    My Need for Accommodations Related 10 Breastfeeding
           15. It is important to me that my children be fed exclusively breast milk, and not
               fonnula, during the first six months of their lives, and that they be breastfed for at
               least a full year after birth even after they start eating solid food . This is not only
               because of the known health benefits of breast milk, but also because of the
               important bonding and emotional connection that breastfeeding allows between
               mother and child.
           16. Women who cannot be with their babies at all times need to express breast milk,
               usually by using a breast pump, in order to ensure that there is a supply of milk on
               hand for the baby when they are not present to breastfeed, and to maintain the
               supply and production of breast milk. If a woman does not breastfeed or express
               breast milk at frequent intervals, her breast milk supply will decrease and she may
               stop producing milk altogether. She will also experience pain and discomfort, and
               could develop blocked ducts or mastitis, which is an infection of the breast tissue.
           17. I knew that without the ability to pump breast milk at work, I would be unable to
               maintain a sufficient milk supply and will experience these complications. I had
               suffered from both blocked ducts and mastitis. twice, prior to my return to work.
    Relevant Personal Background and Frontier's Ois::rininatory Conduct
           18. I became pregnant with my first child in 20 I 0. Because of pregnancy-related
               complications, I went on leave during my 29th week of pregnancy. Aside from
               some period that may have been covered by accrued paid sick or vacation leave, this
               leave was unpaid.
           19. Under Frontier's policies, I did not have the option to seek a temporary job
               reassignment during the remainder of my pregnancy, although I would have been
               able to work had I had the option of being temporarily reassigned to a ground
               position.
           20. I gave birth to my first child in December 2010. Because of severe childbinh-
               related complications, I was on medical leave from September 2010 until November




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               2013. I received no paid parental leave, although I collected benefits under the
               Company's long-term disability insurance plan for two of the three years.
          21. When I returned to work in November 2013, I was no longer breastfeeding, and I
              was already pregnant with my second child.
          22. I gave birth to my second child on June I3, 2014. Due to childbirth-related
              complications, I was on medical leave until May 2015. I received no paid parental
              leave, although I collected benefits under the Company's long-term disability
              insurance plan.
          23. As Frontier failed to offer either paid maternity leave or job reassignment for
              pregnant pilots, and I had been required to take unpaid leave after the 28th week of
              pregnancy, I suffered financial harm from my resulting loss of income.
          24. In or around March 2014, when I had been back at work for some four months, I
              was contacted by Michelle Zeier in Frontier's Human Resources ("HR") department
              who made discriminatory comments based on sex, specifically related to my
              pregnancies. In response to learning that I was pregnant again, Ms. Zeier asked
              me, "Why did you even come back to work?" and stated, "We spent so much money
              to train you."
          25. I was distressed by these interactions and dismayed by the suggestion that I should
              not have returned to work after more than three years of not flying and more than a
              year of receiving no salary.
          26. As part of my return to work in the spring of 2015, I provided a "fit for duty'' letter
              from my doctor that states that I have a medical need to express breast milk every
              three hours. I was still breastfeeding frequently, and my baby had been having
              issues gaining weight and was not taking much solid food.
          27. By email dated July 29, 2015, I brought my need to express breast milk to the
              attention of Frontier's Supervisor of Disability Program Management, Shelly
              Leyner. I sought permission to use the aircraft lavatory as a space for expressing
              breast milk and asked whether there were any lactation rooms in the airports to
              which Frontier flies.
          28. It was not until more than three weeks later, on August 18, 2015, that I received a
              response. Ms. Leyner wrote me an email stating that the lavatory is not a designated
              room for pumping and that Frontier was working to determine lactation rooms.
              However, she never got back to me with this information.
          29. It was difficult to express breast milk after I returned to work. I tried to express
              breast milk approximately every three hours, either between flights in the restrooms
              at outstations, at my hotel on overnight trips, or, when it became necessary due to




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                pain and discomfort, through taking "physiological needs breaks" during flight in
                the aircraft lavatory.

           30. Pumping breast milk in the aircraft's lavatory is unsanitary, hot, and cramped. It is
               also my understanding that this is inadequate under WANMA, which requires that
               employers provide space, other than a toilet, in close proximity to the work area
               where the employee can express breast milk in private.
           3 I. Each time I pumped on the aircraft I was anxious and concerned that I would be
                reported to Frontier management and would be disciplined or suffer other
                consequences, including losing my job.
           32. Due to inadequate accommodations for pumping, there was rarely sufficient time to
               pump. I frequently had to delay pumping due to my flight schedule or flight delays,
               causing pain and discomfort, and I suffered a decline in milk supply. On at least
               three occasions, someone entered the space where I was pumping.
    Frontier's Poli des and Practices are Dis::rininatory
           33. Frontier's policies and practices related to pregnancy and breastfeeding constitute
                discrimination against me based on my sex and because of a condition related to my
                pregnancy (lactation).
           34. Frontier's failure to provide employees who are pregnant or breastfeeding with
               access to workplace accommodations such as temporary job reassignment,
               medically necessary breaks and sanitary facilities to pump breast milk. or medical
               leave constitute disparate treatment on the basis of sex in violation of the Colorado
               Antidiscrimination Act and Title Vil.
           35. Frontier's policies and practices related to pregnancy and breastfeeding-
               specifical!y, the policy of forcing pilots to take mandatory unpaid leave during
               pregnancy, the limitation to 120 days of unpaid maternity leave, the lack of any paid
               leave, the ineligibility of breastfeeding pilots for medical leave, the lack of sanitary
               facilities or adequate break time for pumping breast milk, and the failure to make
               alternative job assignments available to pregnant and breastfeeding pilots. have a
               disparate impact on female pilots.
           36. Frontier's failure to provide a workplace accommodation for me to express breast
               milk in a pri vate area close to my work area violates W ANMA.
           37. As a result of Frontier's conduct, I suffered from stress and anxiety, emotional
               distress, fear that I would lose my job, reduced breast milk production, physical
               harm, and financial harm.
           38. I continue to be subject to Frontier's policies and practices on an ongoing basis.
               These policies and practices remain in place, and have impacted and continue to
               impact my plans with respect to my family and my personal reproductive decisions.




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          39. I understand that on March 9, 2016, the ACLU and the law finn Holwell Shuster &
              Goldberg LLP wrote a letter to Howard Diamond, Senior Vice President, Secretary,
              and General Counsel of Frontier, to inform them of my and other pilots' experiences
              of being subject to discriminatory policies and practices at Frontier related to
              pregnancy, parental leave, and breastfeeding, and to demand that Frontier
              immediately revise those policies and practices. I understand that the letter
              requested a response by March 25, 2016 and that Frontier failed to respond.
    Remedies Requested
          40. Accordingly, I am seeking the following relief:
                         a. A finding that Frontier's policies and practices violate Title VII, the
                            Colorado Antidiscrimination Act, and W ANMA;
                         b. A policy permitting pilots to seek a temporary modified duty assignment
                            to a ground position during the period when they are ineligible to fly due
                            to pregnancy and during the period when the need to express breast milk
                            precludes them from working for continuous periods without regular
                            breaks;
                         c. A policy ensuring sufficient breaks and a private location other than a
                            lavatory for pumping, including but not limited to while on duty, during
                            training and simulation exercises, and during turns at outstations;
                         d. Designation of adequate facilities (consisting of a convenient, private
                            location other than a lavatory or restroom) for pumping, including on
                            aircraft, during training and simulation exercises, and at outstations;
                         e. Publication of a list of breastfeeding and pumping resources, including a
                            list of adequate facilities (a convenient, private location other than a
                            lavatory or restroom) at each outstation where breastfeeding employees
                            may pump breast milk (every airport is already required by law to have
                            facilities available for its own hourly employees who need to pump
                            breast milk);
                         f.   A policy permitting a temporary delegation of pre- and post- flight
                              duties to the other pilot when a pilot is breastfeeding and needs
                              additional break time to pump breast milk;
                         g. A policy permitting (but not requiring) pumping in the lavatory on the
                            aircraft on an as-needed basis for the minimum amount of time
                            medically necessary, as permitted by safety and operational needs;
                         h. A policy extending the existing unpaid parental leave (currently called
                            "maternity" leave) to both male and female pilots; and




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                    1.    A policy extending eligibility for unpaid medical leave to employees
                          whose need to express breast milk precludes them from working for
                          continuous periods without regular breaks, notwithstanding the
                          accommodations provided for in (b)-(g) above.




               Brandy Beck, Charging Party


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    Ms. Jo Linda Roby                                                                                                               720-319-5028                            6/2'2117
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    303 W . Warren St.                                                                          Boise, ID, 83706
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    Discriminated Against Me a- Othera. (If more than MU, list under PARTICULARS below)
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    Frontier Airlines                                                                                                                3,000+                  720-374-4200
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    will advise the agencies if I change my address or phone numbef and I will
    cooperate fully with them in the processing of my charge in accordance with their
    procedures.
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    I declare under penalty of perjury that the above is true and correct                                  the best of my knowledge. information and belief.
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I
I       Charge of Discrimination - Statement of Harm

I
        PERSONS INVOLVED

                Jo Linda Roby, Flight Attendant, on behalf of herself and others similarly situated
                Frontier Airlines

        DATE OF INCIDENT

                September 17, 2015 to the present, and ongoing.

        SUMMARY OF DISCRIMINATORY CONDUCT

                 I am a flight attendant employed by Frontier Airlines ("Frontier"). I bring this charge on
        behalf of myself and others who are similarly situated because Frontier is systematically failing
        to accommodate the needs of its pregnant and breastfeed ing flight attendants. Frontier
        subjects its flight attendants to policies and practices that discriminate on the basis of sex,
        pregnancy, childbirth, and disability. In particular, Frontier has refused to provide me with
        accommodations related to pregnancy or adequate on-the-job accommodations that would
        allow me to return to work while continuing to express breast milk. It has also prohibited me
        from pumping breast milk while I am on duty. Frontier has had and continues to have a pattern
        or practice of discriminating on the basis of sex and pregnancy by denying on-the-job
        accommodations or temporary light duty assignments to flight attendants for reasons related
        to pregnancy and breastfeeding, although it maintains a policy of providing light or modified
        duty assignments to flight attendants who are injured on-the-job, and reasonable
        accommodations to people with disabilities under the Americans with Disabilities Act ("ADA").
        Finally, Frontier maintains a strict "dependability" policy that subjects employees to progre·ssive
        discipline based on absences and discriminates against flight attendants based on pregnancy
        and disability, and pregnancy-related disability. These policies and practices violate the laws of
        the United States and the State of Colorado, including Title VII of the Civil Rights Act of 1964,
        the ADA, the Colorado Antidiscrimination Act ("CADA"), Colorado's Pregnant Workers Fairness
        Act ("PWFA"), and Colorado's Workplace Accommodation for Nursing Mothers Act
        ("WAN MA").

               As a result of Frontier's policies and practices, I have been on unpaid medical leave since
       March 7, 2017, and have suffered from stress, anxiety, and financial harm. I fear that I must put
       my health and breast milk supply at risk, or lose my job. Beca use Frontier's policies and
       practices remain in place, I continue to be subject to them and am affected by them on an
       ongoing basis. I file this charge to obtain redress for the harms I have suffered and continue to
       suffer, and to force Frontier to change its policies and practices in order to better accommodate
       the needs of flight attendants who are pregnant and breastfeeding.




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I
        STATEMENT OF HARM

I       CHARGING PARTY JO ROBY
        RESPONDENT FRONTIER AIRLINES


I       PARTICULARS

        Summary

           l. I have been a flight attendant at Frontier since 2004. After becoming pregnant in 2015, I
              worked until October 15, 2015 and gave birth to my daughter on December 1, 2015.
              Under Frontier's policies and practices, flight attendants are not entitled to any
              specified period of maternity leave, but rather, must use whatever FMLA and accrued
              sick days remain in their leave bank. While I would have liked to take a longer maternity
              leave, I was originally scheduled to return to work on February 10, 2016, when my
              daughter was two months old.

           2.   When I returned to work on April 10, 2016-having received a two-month unpaid
                medical leave extension-I was still exclusively breastfeeding my four-month-old
                daughter and needed to express breast milk every three to four hours while at work.
                Because Frontier has no policy for flight attendants who need to pump breast milk, I was
                obligated from April 2016 through December 2016 to use a pump to express breast milk
                in the family bathroom at Denver International Airport ("DEN") and in the lavatory on
                board the aircraft at an appropriate time in between my active duties.

          3. On December 26, 2016, I approached Frontier to ask about accommodations related to
             breastfeeding and pumping. I was never provided any on-the-job accommodations, but
             was offered unpaid Company Offered Leaves of Absence ("COLAs") for the next two
             months. When I could no longer afford to take any more unpaid leave, I renewed my
             request for on-the-job accommodations. Frontier denied my requests and told me that I
             was prohibited from pumping wh ile on the aircraft at all-despite the fact that I often
             have to work 10-12 hour days and that I had been pumping on the aircraft for several
             months with no adverse consequences.

          4. Because Frontier failed to accommodate my need to pump every 3-4 hours, I had no
             option but to apply for unpaid medical leave, which I am still on today. As a result of
             Frontier's actions, I have had to choose between performing my job and earn ing a living
             on the one hand, and continuing to breastfeed my child on the other. I have suffered,
             and continue to suffer, emotional and financial harm.

          5. Frontier's "dependability" policy has also harmed me by placing me at risk of accrual of
             points and progressive discipline for any future pregnancy- or disability-related
             absences, and places me at greater risk of losing my job should I accrue any additional
             points for any reason once I return to work.




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i
        STATEMENT OF HARM

I       CHARGING PARTY JO ROBY
        RESPONDENT FRONTIER AIRLINES


I
8
        Professional Background

            6. I have at all relevant times been employed as a flight attendant by Frontier. I began

I              working as a flight attendant at Frontier on March 15, 2004, and have remained
               employed as a flight attendant by Frontier for more than thirteen years.

            7. Prior to working at Frontier, I was a flight attendant at Air Wisconsin for three years.

            8. As of April 1, 2017 my qualifications as a flight attendant were current. I am a member
               of the Association of Flight Attendants ("AFA"), the union that represents Frontier fl ight
               attendants.

            9. Frontier is a commercial airline and maintains a hub at DEN. I live in Boise, Idaho, and
               commute to my base at DEN.

        Frontier's Policies and Practices

            10. Frontier requires a flight attendant to notify the airline immediately once her physician
                has confirmed her pregnancy. Pregnant flight attendants must present a release on a
                monthly basis, signed by a physician, certifying their ability to perform Flight Attendant
                duties. CBA Art. 12(F)(l), attached as Exhibit A

           11. Frontier's Dependability Policy assigns points to flight attendants for attendance
               "occurrences" such as absenteeism or tardiness-including sick days. Employee
               Handbook§ 12.05.0.7, attached as Exhibit B Flight attendants receive 1.5 points per sick
               day even if they have a medical excuse from their doctor. Id. Points "roll off" after
               twelve months. Id. at§§ 12.05.0. 7, 12.05.1.3. Flight attendants begin to face dis.ciplinary
               action after receiving three to four points and are terminated after receiving eight
               points. Id. at§ 12.05.0.7. Flight attendants with perfect attendance records receive a
               maximum of six hours (three hours if part time) of pay over a twelve-month period. Id.
               Flight attendants with six months of perfect attendance are also awarded two credit
               points to their "bank" of available days for the next twelve months. Id. Leaves of
               absence, including for reasons related to pregnancy and childbirth, freeze the twelve-
               month clock for purposes of permitting points to "roll off." Id. at§ 12.05.1.3.

           12. Frontier does not have any policy providing for a specified amount of maternity leave
               following birth for flight attendants. CBA Art. 12(F). Flight attendants who are eligible for
               Fam ily Medical Leave may take FMLA days to recover from childbirth, and those who
               are ineligible for FMLA may apply for medical leave. Employee Handbook §§ 08.05.4.3,
               08.05.4.5, 08.05.5. Medical leaves are "never guaranteed," are available to flight
               attendants who have worked for Frontier for at least 90 days, and are granted only for
               an employee's own illness, injury, or pregnancy. Employee Handbook§ 08.05.5; CBA




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I
        STATEMENT OF HARM
        CHARGING PARTY JO ROBY
        RESPONDENT FRONTIER AIRLINES


I             Art. 12(G){l)-(2}. Under the collective bargaining agreement, sick leave must be used
              and vacation days may be used during maternity leave, otherwise maternity leave is
              unpaid. CBA Art. 12(F)(3). Short term disability is available for those flight attendants
              who have purchased optional insurance. Employee Handbook§ 07.05.1.1.

           13. Frontier has a policy under which, after an employee has been on a leave of absence for
               90 days, the employee bears the full cost of medical, dental, vision, life, and disability
               insurance. Employee Handbook § 08.05.

           14. Frontier does not make temporary alternative job assignments available to flight
               attendants who are pregnant and unable to fly, or for flight attendants who are
               breastfeeding. By contrast, Frontier maintains a policy under which it provides
               reasonable accommodations under the ADA to qualified individuals with disabilities
               (including accommodations such as job restructuring, modified work schedules,
               reassignment to vacant positions, and adjustment or modification of policies), see
               Employee Handbook§§ 05.05.3.1-2, and "light/modified duty" to individuals who are
               injured on-the-job, see also CBA Art. 12(H)(2).

           15. Frontier has no formal policy addressing the needs of flight attendants who are
               breastfeeding. Further, Frontier has explicitly denied my request for perm ission to pump
               on board the aircraft at all while I am on duty. By contrast, Frontier does not police flight
               attendants' breaks or use of the restroom while on duty to take care of other
               physiological needs, such as going to the bathroom.

           16. Frontier has also denied my request for assistance in bidding for a schedule that would
               provide me with adequate breaks to express breast milk between flights. Id.

          17. Flight attendants at Frontier commonly work up t o 10-12 hours a day, and occasionally
              more (up to sixteen hours a day) during Irregular Operations, with flight times ranging
              from approximately one to five hours. Frequently, flight attendants have overnight trips
              of two to four nights in length, spanning mu ltiple cities. There is typically a period of
              time lasting around 45 minutes between flights; however, flight attendants are required
              to report to the aircraft 45 minutes before the next departure and have duties on board
              both after the plane lands and prior to the next departure. See CBA Art. 4(E), Exhibit A.
              The flight attendants' duties of deplaning, cleaning, and reboarding the aircraft
              frequently take up all the available time on the ground between flights such that they
              are generally unable to leave t he plane between flights. Additionally, the period on the
              ground is sometimes compressed due to flight delays. Accordingly, the time between
              flights is not sufficient to permit flight attendants who are breastfeeding to leave the
              aircraft in order to pump milk at a designated location in the airport.




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        STATEMENT OF HARM

I       CHARGING PARTY JO ROBY
        RESPONDENT FRONTIER AIRLINES


I           18. Frontier has designated some lactation rooms at airport outstations for use by
                employees who are pumping. See Lactation Rooms list, attached as Exh ibit D. However,
                those rooms are in most cases located too far from departure/arrival gates to permit
                flight attendants sufficient time to access them, express breast milk, and return to the
                gate. These lactation rooms are therefore not located in "close proximity" to flight
                attendants' "work area."

            19. Moreover, Frontier does not provide additional break time for the purpose of allowing
                employees to express breast milk for their nursing child for up to two years after the
                ch ild's birth.

        My Need for Accommodations Related to Breastfeeding

           20. It is important to me that my daughter be fed exclusively breast milk, and not formula,
               during the first six months of her life, in accordance with medical recommendations,
               and that she be breastfed for one to two years after birth even after she starts eating
               solid food. I want my daughter to have the health benefits of breast milk, and I value the
               bonding experience that I share with my daughter during breastfeeding.

           21. Women who feed their babies with breast milk but who cannot be with their babies at
               all times need to express breast milk, usually by using a breast pump. This ensures that
               there is a supply of milk available for the baby when they are not present to breastfeed,
               and helps maintain women's supply and production of breast milk. If a woman does not
               breastfeed or express breast milk at frequent intervals, her breast milk supply will
               decrease and she may stop producing breast milk altogether. She will also experience
               pain and discomfort, and could develop blocked breast ducts or mastitis, wh ich is an
               infection of the breast tissue.

           22 . I was and remain aware that without the ability to pump breast milk at work, I would be
                unable to maintain a sufficient milk supply and would be at risk of experiencing these
                complications.

        Frontier's Discriminatory Actions Related to Pregnancy, Childbirth and Breastfeeding

           23 . I became pregnant with my daughter in February 2015 and worked until the 34th week
                of my pregnancy. I disclosed my pregnancy to Frontier around May 2015 when I called
                the General Office to request a maternity uniform. Aside from 3.86 hours that was
                covered by accrued paid sick leave, and coverage from optional short term disability
                insurance, my parental leave was unpaid.

           24. In Sept ember and October 2015, I accrued 2.5 points under the dependability policy for
               sick day absences due to a cond ition that was exacerbated by my pregnancy. Email from




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I
        STATEMENT OF HARM
        CHARGING PARTY JO ROBY
        RESPONDENT FRONTIER AIRLINES


I             CATS Notification dated 2/3/17, attached as Exhibit E. Because of Frontier's policy, four
              of my occurrences have remained on my record for an extended rolling period as a
              result of my leaves of absence, and I have not been able to receive perfect attendance
              credit points or extra pay. See id.

           25. I gave birth to my daughter on December 1, 2015, and was scheduled to return to work
               on February 10, 2016. However, I requested and was ultimately granted a two-month
               medical leave extension until April 9, 2016. Non-FMLA Certification dated 1/12/16
               attached as Exhibit F; see also email from Jo Roby dated 1/13/16 and response from
               Jeffrey Varney dated 1/14/16, attached as Exhibit G. During the time I was preparing to
               return to work, no one from Frontier ever asked me whether I intended to continue
               breastfeeding or whether I would need any accommodations upon my return to work.
               Frontier never shared with me any policies related to flight attendants who are
               returning to work and are breastfeeding.

          26. After I returned to work on or around April 10, 2016 and until December 2016, I used a
              breast pump to express milk on the aircraft in the lavatory and in the family bathroom
              at DEN. Several flight attendants who had breastfed their children told me that they
              and other flight attendants would simply pump on board the plane during qu iet periods
              of a flight. I was unaware of any Frontier policy that forbade me from doing so, and was
              never told that this behavior was not permitted.

          27. From April to December 2016, I attempted to pump before each originating flight,
              during flights, and at hotels. It is generally not feasible to pump on the ground in
              between flights because the time between flights is so short (typically around 45
              minutes) and I am generally engaged in active duties related to deplaning and boarding
              passengers, preparing the airplane for the next flight, and conducting the required
              safety checks.

          28. During trips, I necessarily pumped when the plane was in flight, in between the times
              when I was actively engaged in my duties. Once the plane is airborne, flight attendants'
              duties include snack and beverage service, collecting trash, and responding to individual
              passenger inquiries, resulting in long periods when many of us are unoccupied.

          29. When I needed to express breast milk during a flight, I would mention to a fellow flight
              attendant that I was going to pump in the lavatory. I did not request prior permission or
              inform a supervisor because I knew that pumping in the lavatory was a widespread
              practice among nursing flight attendants. I believed that expressing breast milk was
              equivalent to addressing other biological needs, like going to the bathroom, wh ich flight
              attendants are permitted to do without advance clearance from anyone.




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        STATEMENT OF HARM

I       CHARGING PARTY JO ROBY
        RESPONDENT FRONTIER AIRLINES


I          30. I would have preferred not to have to pump breast milk in the aircraft lavatory, if it
               could be avoided . The lavatory is unsanitary for this purpose and cramped. It is also
               inadequate under WAN MA, wh ich requires that employers provide space, other than a
               toilet, in close proximity to the work area where the employee can express breast milk
               in private.

           31. Pumping in the family bathroom at DEN is also unsanitary. On one occasion, two
               cockroaches ran across the bathroom floor while I was pumping. On another occasion,
               the cleaning staff cautioned me against using the family bathroom to pump because
               there had been urine all over the floor.

           32. At the end of November 2016, I decided to bid for, and received, a COLA for January
               2017.

          33. Because I was finding it increasingly difficult and increasingly unpleasant to pump in
              fam ily bathrooms and the aircraft lavatory, I decided to reach out to Frontier to find out
              what other accommodations were available. On December 26, 2016, I emailed Ms. Kari
              Thompson, Ms. Laura Rush, and Jerry Arellano, and asked for: (1) information on what
              pumping accommodations are provided at the Denver airport near the crew room; (2)
              confirmation that I would not be disciplined for pumping on the aircraft during an
              appropriate t ime of the flight; and (3) preference for trips that do not include red-eyes.
              Email from Jo Roby dated 12/26/16, attached as Exhibit H.

          34. In late December 2016, I bid for, and received, another COLA for February 2017.

          35. On January 5, 2017, Mr. Arellano rep lied to let me know that my request was under
              review, and that he would follow up once he had updated information. Email from
              Gerardo Arellano dated 1/5/17, Exh ibit H.

          36. On January 13, 2017, I received a phone call from Mr. Arellano. He said that Frontier
              might be offering COLAs aga in for March and if not then we could touch base again in
              February. I asked whether he was solely proposing time off, to which he said "well that's
              what you need for the expressing, right?" I replied that the time off was helpful, but that
              I would also like to know what options would be available for when I returned to work.
              He stated that there were pumping locations at every airport that Frontier flies into.
              When I asked where the pumping location was at the Denver airport he said he did not
              know because he "didn' t have the list in front of him."

          37. On January 17, 2017, Mr. Arellano confirmed by email that Frontier would be offering
              COLAs again in March . Ema il from Gerardo Arellano dated 1/17/17, attached as Exhibit I.
              I did not bid for a Ma rch COLA because the bidding deadline was earlier than expected




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        STATEMENT OF HARM

i       CHARGING PARTY JO ROBY
        RESPONDENT FRONTIER AIRLINES


i             and I was unsure whether it was financially feasible for my family to take another month
              of unpaid leave. I was therefore scheduled to return to work on March 7, 2017.

           38. On January 26, 2017, I emailed M r. Arellano to again inquire about pumping
               accommodations for my return to work, proposing the same potential accommodations
               I had suggested in my previous email message. Email from Jo Roby dated 1/26/17,
               attached as Exhibit C.

           39. On February 9, 2017, Mr. Arellano emailed to express his disappointment that I did not
               take advantage of a March COLA because it "would have been a great option" for me.
               Email from Gerardo Arellano dated 2/9/17 at id. He asked that I submit a Request for
               Accommodation and Medical Certification form signed by my doctor before we
               discussed next steps regarding accommodations. Id.

           40. On February 10, 2017, I replied to Mr. Arellano to say that I had financial concerns about
               taking additional unpaid leave. Email from Jo Roby dated 2/10/17 at id. I also reiterated
               my request for information on the pumping locations at the airports that Frontier flies
               into and confirmation that I would not be disciplined for pumping on board, and sought
               a copy of the flight attendant job description to help my doctor complete the Request
               for Accommodation form. Id.

           41. On February 15, 2017, Mr. Arellano provided a list of lactation rooms at Frontier's
               outstations and the flight attendant job description. Email from Gerardo Arellano dated
               2/15/17, attached as Exhibit J; Flight Attendant Job Description, attached as Exhibit K;
               Lactation Room List, attached as Exhibit D. He stated that "due to safety, for yourself
               and others, we are unable to honor your request to express on the plane." Email from
               Gerardo Arellano dated 2/15/17, Exhibit J.

          42. On February 24, 2017, I submitted my Request for Accommodation form, in which my
              doctor indicated that I had a medical need to express breast milk every three to four
              hours for approximately twenty minutes in a clean and convenient location, and to have
              a schedule without red-eye flights. Request for Accommodation and Medical
              Certification dated 2/24/17, attached as Exhibit L; Email from Jo Roby dated 2/24/17 at
              Exhibit J.

          43. On February 27, 2017, Mr. Arellano indicated that he would review my submitted
              Request for Accommodation paperwork. Email from Gerardo Arellano dated 2/27/17,
              Exhibit J. He also suggested that Frontier was again offering April COLAs and Job Shares
              (reduced hours). Id. I ultimately bid for and was granted a Job Share for April.




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I
        STATEMENT OF HARM

I       CHARGING PARTY JO ROBY
        RESPONDENT FRONTIER AIRLINES


I          44. On March 6, 2017, one day before I was scheduled to return to work, Mr. Arellano
               denied, via email, my request to pump while on duty, on the ground or in flight, "for
               [my] safety and the safety of others." Email from Gerardo Arellano dated 3/6/17, Exhibit
               C. He also denied my request for trip preferences that are feasible for my pumping
               schedule. Id. Instead, Mr. Arellano recommended that I should simply bid for trips that
               allow me to express breast milk every three to four hours and do not include red-eyes.
               Id. He noted that I "have complete control with the types of trips [I] bid for." Id. He also
               recommended that I bid for an unpaid April COLA. Id.

           45. That same day, I replied to clarify Mr. Arellano's recommendation. Email from Jo Roby
               dated 3/6/17 at Exhibit C. I described my upcoming trip schedule in detail and explained
               that if I was not permitted to pump on board then I would be unable to pump for a
               period of approximately 7-8 hours, which is nearly twice as long as my doctor
               recommends. Id. I also explained that there were no available trips that would meet my
               medical requirements-i.e., commutable trips that do not include red-eyes with short
               legs and adequate ground time to pump every three to four hours. Id. I again requested
               information on an approved lactation room in DEN, which was not included in the list of
               approved lactation rooms that Mr. Arellano previously provided. Email from Jo Roby
               dated 3/6/17 at Exhibit C. To date I have not received a response from Frontier
               regarding an approved, accessible pumping location in DEN.

          46. Mr. Arellano replied the next day that he was willing to have a meeting at the Frontier
              Airlines General Offices in Denver to answer questions about my accommodation
              request. Email from Gerardo Arellano dated 3/7/17 at Exhibit C. He reiterated that my
              schedule remains my responsibility, and that if my doctor recommends that I not fly due
              to my medical restrictions then "[he] would recommend [I] follow up with our Leave of
              Absence Department and apply for a leave of absence." Id.

          47. I responded that I would meet with Frontier if the company was willing to reconsider my
              accommodation request, but that if it was not, then a meeting would be futile. Email
              from Jo Roby dated 3/7 /17 at Exhibit C. I was med ically unable to complete my
              scheduled March trips without the ability to express breast milk every three to four
              hours while at work. Despite being ready and willing to go back to work with adequate
              medical accommodations, my only feasible option was to miss my scheduled trip
              beginning March 7 and request unpaid medical leave.


          48. Despite three separate requests for information on where to pump in the Denver
              airport near the crew room, I have still not received information on available lactation
              rooms in Denver. See Emails from Jo Roby dated 12/26/16, 1/26/17, 3/6/17, Exhibits C
              and H.




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        STATEMENT OF HARM

I       CHARGING PARTY JO ROBY
        RESPONDENT FRONTIER AIRLINES

           49. I understand that on March 8, 2017, the ACLU and the law firm Holwell Shuster &
               Goldberg LLP wrote a letter to Howard Diamond, Senior Vice President, Secretary, and
               General Counsel of Frontier, to inform Frontier of my experiences of being subjected to
               discriminatory policies and practices related to pregnancy and breastfeeding, and to
               demand that Frontier immediately revise those policies and practices. See Letter to
               Littler Mendelson, PC dated 3/8/17, attached as Exhibit M. I understand that my
               attorneys had a phone conference on March 10, 2017 with Danielle Kitson at the law
               firm Littler Mende lson P.C. that is representing Frontier, and that Frontier adhered to its
               position of refusing to provide any adequate workplace accommodations.

           50. Frontier's policies and practices have put me in the position of being forced to either
               give up breastfeeding or give up paid work. Frontier's policy of refusing to provide on-
               the-job accommodations means that I am not permitted to express breast milk while on
               duty, even if I could find the time in between flights. It means that I would have to go up
               to twelve hours without pumping, or even longer in Irregular Operations due to delays.
               And because I am currently nursing every three to four hours for approximately twenty
               minutes, I would have to put my health at risk or be forced to stop breastfeeding in
               order to return to work.

           51. Until I receive adequate workplace pumping accommodations, I will have no other
               option than to remain on unpaid medical leave. Accordingly, on March 10, 2017, I
               submitted a request for FMLA signed by my doctor that was approved until April 6,
               2017. FMLA Certification dated 3/10/17, attached as Exhibit N; email from LOA dated
               3/17/16, attached as Exhibit 0. On March 31, I submitted my request for a 30-day FMLA
               extension, wh ich was approved through May 31, 2017. Email from Jo Roby dated
               3/31/17, attached as Exhibit P; email from LOA dated 4/5/17, attached as Exhibit Q. My
               request for a subsequent medical leave extension was granted through June 30, 2017.
               Email from LOA dated 5/8/17, attached as Exhibit R.

           52. Frontier's policies allow for accommodat ions and light or modified duty for on-the-job
               injuries and disability. I also believe that Frontier has provided workplace
               accommodations to other flight attendants for reasons unrelated to pregnancy and
               breastfeeding. By contrast, Frontier has denied my requests for on-the-job
               accommodations related to pregnancy and breastfeeding.


          53. In addition, Frontier has had and continues to have a pattern or practice of denying
              pregnancy-and breastfeeding-related accommodations to female flight attendants.

          54. Because Frontier fails to offer paid maternity leave, I had already taken unpaid leave at
              the end of my pregnancy. I also took as much unpaid time off during my COLAs as my
              family could afford. Being forced to take additional unpaid leave is causing me to suffer
              financial harm from my resulting loss of income, bearing the full cost of healthcare




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I
        STATEMENT OF HARM

I       CHARGING PARTY JO ROBY
        RESPONDENT FRONTIER AIRLINES

                  insurance after 90 days on a leave of absence, and failure to accrue sick and vacation
                  time.

        Discrimination Statement

             55. Frontier has discriminated against me because of pregnancy-related disabilities and
                 because of my sex, my pregnancy, and a condition related to my pregnancy and
                 childbirth-specifically, lactation. Frontier's policies and practices violate the laws of
                 the Un ited States and the State of Colorado, including Title VII of the Civil Rights Act of
                 1964, the ADA, and CADA, as amended by the PWFA, as well as Colorado's WANMA 1 in
                 several ways:

                 a. Frontier's ongoing policy and pattern or practice of prohibiting employees from
                    pumping breast milk while on duty and failing to provide employees who are
                    breastfeeding with access to on-the-job workplace accommodations such as
                    schedule modifications, medically necessary breaks, or adequate facilities to express
                    breast milk constitute disparate treatment on the basis of sex, and have a disparate
                    impact on female flight attendants, in violation of Title VII and CADA.

                 b. Frontier's ongoing policy and pattern or practice of failing to provide flight
                    attendants with temporary job reassignments for reasons related to pregnancy or
                    breastfeeding constitute disparate treatment on the basis of sex, and have a
                    disparate impact on female flight attendants, in violation of Title VII and CADA.

                 c.   Frontier's ongoing policy and pattern or practice of failing to provide flight
                      attendants with workplace accommodations related to pregnancy and breastfeeding
                      such as paid leave, temporary job reassignments, schedule .modifications, medically
                      necessary breaks, or private, sanitary, and accessible facilities to express breast milk,
                      violate Colorado's PWFA.

                 d. Frontier's dependability policy, under which points may be assigned for pregnancy-
                    related sick days despite certification from a doctor, violates Title VII, the ADA, and
                    CADA.

                 e. Frontier's ongoing policy and pattern or practice of requiring immediate notification
                    of pregnancy upon confirmation of the pregnancy by a doctor constitute facially

        1
          WANMA requires employers to (i) provide break time to allow employees to express breast milk for their nursing
        child for up to two years after the child's birth; and (ii) provide private space, other than a toilet, in close proximity
        to the "work area," where the employee can express breast milk in private. Frontier has failed to provide sufficient
        break time or a private space other than a toilet in close proximity to my work area where I can express breast milk
        in privacy as requi red by law. These claims are not discussed in detail because the EEOC and the Colorado Civil
        Rights Division do not enforce WANMA.




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        STATEMENT OF HARM

I       CHARGING PARTY JO ROBY
        RESPONDENT FRONTIER AIRLINES


I                  discriminatory treatment on the basis of sex in violation of Title VII and CADA, and
                   are not justified as a bona fide occupational qualification ("BFOQ").

        Remedies Requested

           56. As a result of Frontier' s conduct, I have suffered from lost income and other financial
               harm, stress and anxiety, emotional distress, and fear that I would lose my job.

           57. I continue to be subject to Frontier's policies and practices on an ongoing basis. These
               policies and practices remain in place, and have impacted and continue to impact any
               plans I make relating to my family and personal reproductive decisions.


           58. Accordingly, I am seeking the following relief:

                  a. A finding that Frontier's policies and practices violate Title VII, the ADA, the
                     CADA, and Colorado's PWFA;

                  b. A policy extending parental leave for a period of time sufficient to medically
                     recover from childbirth, and additional leave for bonding to be made available to
                     male and female parents.

                  c.   Revocation of the policy requiring pregnant flight attendants to notify Frontier
                       Airlines as soon as they learn that they are pregnant.

                  d. A policy permitting flight attendants to seek a temporary modified duty
                     assignment to a ground position when they are ineligible or unable to fly due to
                     pregnancy and during the period when the need to express breast milk precludes
                     them from working for continuous periods without regular breaks;

                  e. A policy excusing flight attendants from accruing dependability points for
                     medically certified absences related to pregnancy or disability, including
                     pregnancy-related disability, and preventing flight attendants from being
                     penalized under the policy for leaves of absence related to pregnancy, disability,
                     recovery from childbirth, and related conditions including lactation.

                  f.   A policy permitting flight attendants who are breastfeeding to pump while on
                       duty, including but not limited to at an appropriate time on board during flight,
                       during training, and at airports;




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 STATEMENT OF HARM
 CHARGING PARTY JO ROBY
 RESPONDENT FRONTIER AIRLINES

               g. Designation of adequate facilities (consisting of a convenient, private location
                  other than a lavatory or restroom) for pumping on aircraft, during training, and
                  at airports.


               h. Publication of a list of breastfeeding and pumping resources, including a list of
                  adequate, accessible facilities (a convenient, private location, other than a
                  lavatory or restroom), at each outstation and at DEN where breastfeeding
                  employees may pump breast milk. Every airport is already required by law to
                  have facilities available for its hourly employees to pump breast milk;


               i.   At a minimum, a policy permitting (but not requiring) pumping in the lavatory on
                    the aircraft on an as-needed basis for the minimum amount of time medically
                    necessary, as permitted by safety and operational needs.

               j.   A policy e><plicitly permitting medical leave for employees whose need to express
                    breast milk precludes them from working for continuous periods without regular
                    breaks, notwithstanding the accommodations provided for above.


               k. Compensatory and punitive damages for the lost income, additional out-of-
                  pocket expenses, and emotional distress resulting from my being forced onto
                  unpaid medical leave due to Frontier's failure to accommodate breastfeeding.




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  Signature:
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               Jo doby, Charging Party (} 1




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      EEOC Form 5 (11/09)

                            CHARGE OF DISCRIMINATION                                                           Charge PresefilEn.ThOFFl()tgency(ies) Charge No(s):
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                         Statement and other infonnation before completing this fonn.                             □       FEPA     S1/I -3:Jl'/.-t)/'/80
                                                                                                                  □       EEOC
I                                                                  Colorado Civil Rights Division                                                                  and EEOC
                                                                               State or local Agency, if any


I     Name (indicate Mr.. Ms., Mrs.}

      Ms. Stacy Rewitzer (Schiller)
                                                                                                                          Home Phone (Ind. Area Code}

                                                                                                                              303-596-5184
                                                                                                                                                                 Date of Birth

                                                                                                                                                                10/14/76
      Street Address                                                                  City, Slate and ZIP Code


I     2540 Valley Oak Road                                                             Castle Rock, Colorado, 80104

      Named is the Employer, Labor Organization, Employment Agency, Apprenticeship Committee, or State or Local Government Agency That I Believe
      Discriminated Against Me or Others. (If more than two. list under PARTICULARS below.)
      Name                                                                                                                No Employees. Members     Phone No. (Include Area Code}

      Frontier Airlines                                                                                                        3,000+               720-374-4200
      Street Address                                                                  City. State and ZIP Code

      7001 Tower Road                                                                Denver, Colorado, 80249-7312

      Name                                                                                                                No Emp!oyees, Members     Phone No. {Include All?a Code}



      Street Address                                                                  Cily, Slate and ZIP Code




      DISCRIMINATION BASED ON (Check appropriate box(es}.)                                                                       DATE(S) DISCRIMINATION TOOK PLACE
                                                                                                                                       Earliest              Latest

       □       RACE         □     COLOR         [Kl     SEX         □       RELIGION       □       NATIONAL ORIGIN                    09/2015                  ongoing
             0      RETALIATION         □       AGE      I]]     DISABILITY          □         GENETIC INFORMATION

                       □    OTHER (Specify)                                                                                             0         CONTINUING ACTION

     THE PARTICULARS ARE (If additional paper is needed. attach el<lra sheet(s}}:
       Please see attached statement of harm.




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      I declare under penalty of perjury that the above is true and correct .              the best of my knowledge. information an · f.
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       EEOC Form 5 ( 11/09)

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      will advise the agencies if I change my address or phone number and I will
      cooperate fully with them in the processing of my charge in accordance with their
            __u_,es_._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ I swear or affirm that I have read the above charge and that it is true to
     ..,_P_roced
        I declare undef penalty of perjury that the above is true and correct. the best of my knowledge, information and belief.
                                                                                                 SIGNATURE Of COMPLAINANT



                                                                                                 SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
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                  Date                               Cha(!1ng Ps,ty Signature




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                       Statement and other information before completing this fonn.
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D      Charge of Discrimination-Statement of Harm




       PERSONS INVOLVED

              Stacy Rewitzer (nee Schiller), Flight Attendant, on behalf of herself and others similarly
              situated
I             Frontier Airlines


I      DATE OF INCIDENT

              September 2015 to the present, and ongoing.

      SUMMARY OF DISCRIMINATORY CONDUCT

               I am a flight attendant emp loyed by Frontier Airlines ("Frontier"). I bring this charge on
       behalf of myself and others who are similarly situated because Frontier is systematically failing
      to accommodate the needs of its pregnant and breastfeeding flight attendants. Frontier
      subjects its flight attendants to policies and practices that discriminate on the basis of sex,
      pregnancy, childbirth, and disability. In particular, Frontier has refused to provide me with
      accommodations related to pregnancy or adequate on-the-job accommodations that would
      allow me to return to work while continuing to express breast milk. It has also prohibited me
      from pumping breast milk while I am on duty. Frontier has had and continues to have a pattern
      or practice of discriminating on the basis of sex and pregnancy by denying on-the-job
      accommodations or temporary light duty assignments to flight attendants for reasons related
      to pregnancy and breastfeeding, although it maintains a policy of providing light or mod ified
      duty assignments to flight attendants who are injured on-the-job, and reasonable
      accommodations to people with disabilities under the Americans with Disabilities Act ("ADA") .
      Finally, Frontier maintains a strict "dependability" policy that subjects employees to progressive
      discipline based on absences and discriminates aga inst flight attendants based on pregnancy
      and disability, including pregnancy-related disability. These policies and practices violate the
      laws of the United States and the State of Colorado, including Title VII of the Civil Rights Act of
      1964, the ADA, the Colorado Antidiscrimination Act ("CADA"), Colorado' s Pregnant Workers
      Fairness Act ("PWFA"), and Colorado's Workplace Accommodation for Nursing Mothers Act
      ("WANMA").

                 As a result of Frontier' s policies and practices, I have been on unpaid medical leave since
      August 2016, and have suffered from stress, anxiety, and financial harm. I fear that I must put
      my health and breast milk supply at risk or lose my job. Because Frontier's policies and practices
      remain in place, I continue to be subject to them and am affected by them on an ongoing basis.
      I fi le this charge to obtain redress for the harms I have suffered and continue to suffer, and to
      force Frontier to change its policies and practices, in order to better accommodate the needs of
      flight attendants who are pregnant and breastfeeding.



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       STATEMENT OF HARM
       CHARGING PARTY STACY REWITZER

□      RESPONDENT FRONTIER AIRLINES

       PARTICULARS
I      Summary

          1. I have been a flight attendant at Frontier since May 2006. I became pregnant in 2015
             and had a high-risk pregnancy, which required that I be placed on Family Medical Leave
             Act ("FMLA") leave during my first trimester. During my pregnancy, I missed work due to
             pregnancy-related illnesses and accrued points under Frontier's "dependability policy".
             Because of Frontier's policies and practices, these points remain on my record to date.

I        2. I stopped flying on February 11, 2016 and gave birth to my son on May 17, 2016. Under
            Frontier's policies and practices, flight attendants are not entitled to any specified
            period of maternity leave, but rather, must use whatever FMlA and accrued sick days
            remain in their "leave bank". While I would have liked to take a longer maternity leave,
            it was limited to twelve weeks of unpaid medica l leave, offset by some accrued vacation
            days.

         3. I was scheduled to return to work on August 9, 2016, when my baby was just three
            months old. Because I was still breastfeeding, I approached Frontier to seek on-the-job
            accommodations related to my physiological need to express breast milk. I also inquired
            about breaks and places to pump breast milk, scheduling adjustments, and temporary
            ground assignments. Frontier denied my requests for a temporary ground assignment
            and on-the-job accommodations, and said my only option was to return to work without
            modifications. I had no option but to seek an unpaid "non-FM LA med ical leave."
            Frontier approved the continuation of this leave on a month-by-month basis-currently
            I am approved through June 7, 2017. As a result of Frontier's failure to provide on-the-
            job accommodations or tempo rary job reassignment, I have suffered emotional and
            financial harm from being forced to take unpaid leave.

         4. Frontier's "dependability" policy has also harmed me by penalizing me for pregnancy-
            and disability-related absences, and failing to honor my requests to have those absences
            recategorized as an approved medical leave and the associated points removed . As a
            result of the points remaining on my record, I am at greater risk of losing my job should I
            accrue any additional points for any reason once I return to work.



      Professional Background

         5. I have at all relevant times been employed as a flight attendant by Frontier. I began
            working as a flight attendant at Frontier on May 22, 2006. I have been employed by
            Frontier as a flight attendant for 11 years.




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       STATEMENT OF HARM
       CHARGING PARTY STACY REWITZER
       RESPONDENT FRONTIER AIRLINES

           6. As of July 2016, my qualifications as a flight attendant were current. I am a member of
              the Association of Flight Attendants ("AFA"), the union that represents Frontier flight
              attendants.

I          7. Frontier is a commercial airline and maintains a hub at Denver International Airport
              ("DEN"). I live in Denver and am based out of DEN.

I      Frontier's Policies and Practices


I         8. Frontier requires a flight attendant to notify the airline immediately once her physician
             has confirmed her pregnancy. Pregnant flight attendants must present a release on a
             monthly basis, signed by a physician, certifying their ability to perform Flight Attendant
             duties. CBA Art. 12(F){l), attached as Exhibit A.

          9. Frontier's Dependability Policy assigns points to flight attendants for attendance
             "occurrences" such as absenteeism or tardiness-including sick days. Employee
             Handbook § 12.05.07, attached as Exhibit B. Flight attendants receive 1.5 points per sick
             day even if they have a medical excuse from the ir doctor, unless the sick time is
             approved as a leave of absence with adequate documentation. Id. at§§ 12.05,
             12.05.0.7. Points "roll off' after twelve months. Id. at§§ 12.05.07, 12.05.1.3. Flight
             attendants begin to face disciplinary action after receiving three to four points and are
             terminated after receiving eight points. Id. at§ 12.05.07. Flight attendants with perfect
             attendance records receive a maximum of six hours (three hours if part time) of pay
             over a twelve-month period. Id. Flight attendants with six months of perfect attendance
             are also awarded two credit points to their " bank" of available days for the next twelve
             months. Id. Leaves of absence, including for reasons related to pregnancy and childbirth,
             freeze the twelve-month clock for purposes of permitting point~ to "roll off." Id. at§
             12.05.1.3.

          10. Frontier does not have any policy providing for a specified amount of maternity leave
              following birth for flight attendants. CBA Art. 12(F). Flight attendants who are eligible for
              Family Medical Leave may take FMLA days to recover from childbirth, and those who
              are ineligible for FMLA may apply for medical leave. Employee Handbook§§ 08.05.4.3,
              08.05.4.5, 08.05.5. Medical leaves are "never guaranteed," are available to flight
              attendants who have worked for Frontier for at least 90 days, and are granted only for
              an employee' s own illness, injury, or pregnancy. Employee Handbook§ 08.05.5; CBA
              Art. 12(G)(l)-(2). Under the collective bargaining agreement, sick leave must be used
              and vacation days may be used during maternity leave, otherwise maternity leave is
              unpaid. CBA Art. 12(F)(3). Short term disability is available for those flight attendants
              who have purchased optional insurance. Employee Handbook§ 07.05.1.1.




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       STATEMENT OF HARM
       CHARGING PARTY STACY REWITZER
       RESPONDENT FRONTIER AIRLINES

          11. Frontier has a policy under which after an employee has been on a leave of absence for
              90 days, the emp loyee bears the full cost of medical, dental, vision, life, and disability
              insurance. Employee Handbook § 08.05.

          12. Frontier does not make temporary alternative job assignments available to flight
              attendants who are pregnant and unable to fly, or for fl ight attendants who are
              breastfeeding. By contrast, Frontier maintains a policy under which it provides
              reasonable accommodations under the ADA to qualified individuals with disabilities
              (including accommodations such as job restructuring, modified work schedules,

I             reassignment to vacant positions, and adjustment or mod ification of policies), see
              Employee Handbook §§ 05.05.3.1-2, and "light/modified duty" to individuals who are
              injured on-the-job, see also CBA Art. 12(H}(2).

          13. Frontier has no formal policy addressing the needs of flight attendants who are
              breastfeeding. Further, Frontier has explicitly denied my request for perm ission to pump
              on board the aircraft while I am on duty. By contrast, Frontier does not police flight
              attendants' breaks or use of the restroom while on duty to take care of other
              physiological needs, such as going to the bathroom.

          14. Frontier has also denied my request for assistance in bidding for a schedule that would
             provide me w ith adequate breaks to express breast milk between flights. Id.

         15. Flight attendants at Frontier commonly work 10 to 12 hours a day, and occasionally
             more (up to 16 hours a day) during Irregular Operations, with flight times ranging from
             approximately one to five hours. Frequently, flight attendants have overnight trips of
             two to four nights in length, spanning multiple cities. There is typically a period of time
             lasting around 45 minutes between flights; however, flight attendants are required to
             report to the aircraft 45 minutes before the next departure and have duties on board
             both after the plane lands and prior to the next departure. See CSA Art. 4{E), attached
             as Exhibit A. The flight attendants' duties of deplaning, cleaning, and reboarding the
             aircraft frequently take up all the available time on the ground between flights such that
             they are generally unable to leave the plane between flights. Additionally, the period on
             the ground is sometimes compressed due to flight delays. Accordingly, the time
             between flights is not sufficient to permit flight attendants who are breastfeeding to
             leave the aircraft in order to pump milk at a designated location in the airport.

         16. Frontier has designated some lactation rooms at airport outstations for use by
             employees who are pumping. However, even if there were enough time between flights
             to deplane, those rooms are in most cases located too far from departure/arrival gates
             to permit flight attendants sufficient time to access them, express breast milk, and
             return to the gate. These lactation rooms are therefore not located in "close proximity"
             to flight attendants' "work area."



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          STATEMENT OF HARM
r,        CHARGING PARTY STACY REWITZER
ILi1      RESPONDENT FRONTIER AIRLINES


ri
 l
             17. Moreover, Frontier does not provide additional break time for the purpose of allowing
                 employees to express breast milk for their nursing child for up to two years after the
                 child's birth.
I         My Need for Accommodations Related to Breastfeeding

I            18. It is important to me that my son be fed exclusively breast milk, and not formula, during
                 the first six months of his life, in accordance with medical recommendations, and that
                 he be breastfed for one to two years after birth even after he starts eating solid food. I
                 want my son to have the health benefits of breast milk, and I value the bonding
                 experience that I share with my son during breastfeeding.

             19. Women who feed their babies with breast milk but who cannot be with their babies at
                 all times need to express breast milk, usually by using a breast pump. This ensures that
                 there is a supply of milk available for the baby when they are not present to breastfeed,
                 and helps maintain women's supply and production of breast milk. If a woman does not
                 breastfeed or express breast milk at frequent intervals, her breast milk supply will
                 decrease and she may stop producing breast milk altogether. She will also experience
                 pain and discomfort, and could develop blocked ducts or mastitis, which is an infection
                 of the breast tissue.

             20. I was and remain aware that without the ability to pump breast milk at work, I would be
                 unable to maintain a sufficient milk supply and would be at risk of experiencing these
                 complications.

         Frontier's Discriminatory Conduct Related to the Dependability Policy

             21. I became pregnant with my son in August 2015 and worked until the 28th week of my
                 pregnancy. Per Frontier's policy and because my pregnancy was high risk, I disclosed my
                 pregnancy to Frontier in or around September 2015 after it was confirmed by my
                 physician.

             22. During my second trimester, Frontier approved some medical leave for a few
                 pregnancy-related sick day absences. See, e.g., Non-FMLA leave Certification dated
                 12/18/15, attached as Exhibit C.

             23 . In January 2016, I began experiencing additional pregnancy complications, including
                  insomnia, fatigue, and digestive issues. See Non-FMLA Leave Certifications dated
                  1/13/16 and 2/5/16, attached as Exh ibit C. I took sick days and missed my scheduled
                  trips on January 2-6 and January 10-14 due to pregnancy and these pregnancy-related
                  disabilities. As a result, I accrued three points under the dependability policy, resulting




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J      RESPONDENT FRONTIER AIRLINES

             in my having a total of 7 .5 dependability points. This left me half a point away from
             being terminated due to attendance occurrences.



I         24. I requested further excused days off for my upcoming trips from February 7 toll in
              order to avoid accruing more points under the dependability policy, because I was still
              experiencing pregnancy-related health complications, and my doctor had advised me

I             that flying would be risky.

          25. On the morning of February 4, 2016, I received an email from Shelly leyner, Frontier's
I             Disability Program Management Supervisor, notifying me that I was ineligible for a non-
              FMLA leave, claiming that my doctors had not classified my pregnancy as "high risk."
              Email from Shelly leyner dated 2/4/16, attached as Exhibit D. Ms. leyner added that
              Kari Thompson was willing to review a request for personal leave if I wished to submit
              such a request.

         26. The same day, I emailed Ms. Thompson, Manager of lnFlight Services, to request an
             unpaid personal leave for the trip on February 7 to 11, explaining that I did not feel it
             was safe for me to fly and perform my job due to my insomnia, and that I was seeking
             medical care for pregnancy complications. Email from Stacy Rewitzer dated 2/4/16,
             attached as Exhibit E. Ms. Thompson replied the same day and denied my personal
             leave request. She wrote that "no personal leaves can be granted for those dates"
             because the dates coincided with Super Bowl weekend, which was one of the "h ighest
             call-off weekends of the year." Email from Kari Thompson dated 2/4/16, attached as
             Exhibit E. She indicated that if I was ineligible for intermittent FMLA leave, then I must
             call in sick and incur the 1.5 dependability points. Id.

         27. On February 5, 2016, I submitted a second request for medical leave and attached a
             certification from my doctor that my pregnancy was high risk due to my having
             undergone infertility treatment, and therefore requested that the points I had accrued
             in January should be recategorized . I further sought an approved leave for the trip
             scheduled February 7 to 11 on the sa me grounds. Non-FMLA Leave Certification dated
             2/5/16, attached as Exhibit C. I then called Ms. leyner to ask that my request for leave
             be approved before the end of the day. I explained that my doctor had advised me that
             flying the upcoming trip would be risky. I emphasized that I was at 7.5 dependability
             points and was at risk of termination if I had to miss the trip w ithout having an approved
             medical leave. Ms. Leyner responded that she was trying to leave the office early on
             that day and probably would not have time to approve my medical leave request.

         28. I feared that if I did not work the February 7 to 11 trip as scheduled I would receive an
             additional 1.5 dependability points and be terminated for exceeding the 8-point limit.
             Therefore, I worked the trip despite my great anxiety and my docto r's recommendation.




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           29. Immediately after the trip on February 11, 2016, I stopped working and went on leave
               for the remainder of my pregnancy.

           30. Since that time, I have made repeated requests to have the three points I accrued in
I              January for pregnancy complications recategorized as medical leave and thus have
               those points removed from my record . See, e.g., Emails from Stacy Rewitzer dated

I              5/4/16, 5/13/16, 5/25/16, 7/18/16, 8/1/16, 8/12/16, 10/6/16 and 10/23/16 attached as
               Exhibits F-1. I also met with Ms. leyner in person on April 29 to discuss the recoding.
               None of these efforts resulted in a determination regarding reclassification.

I          31. On August 11, 2016, I finally received an email from Mr. Arellano informing me: "at this
               time we are unable to re-code your sick leave effective 01/02/16 through 01/14/16."
               Email from Gerardo Arellano dated 8/11/16, attached as Exhibit I.

          32. The 7.5 points I had accrued prior to my medical leave remain on my record because I
              have been on med ical leave ever since, and because medical leave stops the clock for
              purposes of allowing dependability points to roll off. These dependability points remain
              on my record despite multiple certifications from my doctor that the three points from
              the January 2-6 and January 10-14, 2016 absences were related to my high-risk
              pregnancy and pregnancy- related disabilities, and despite my repeated attempts to
              reclassify those points as excused medical leave.

          33. These points will remain on my record for as long as I remain on unpaid leave, and will
              prevent me from receiving perfect attendance credit points or extra pay once I return to
              work until they are allowed to roll off.

       Frontier's Discriminatory Actions Related to Pregnancy, Childbirth, and Breastfeeding


          34. Because I had exhausted my FMLA during the first trimester of my pregnancy, the leave
              I took following February 11, 2016 was "non-FM LA medical leave" and personal leave.
              Aside from sixteen days that were covered by accrued paid vacation leave and coverage
              from optional short term disability insurance, the leave was unpaid.

          35. I gave birth on May 17, 2016 by cesarean section, and was scheduled to return to work
              on August 9, 2016. My doctor certified that I could return to work but would not be able
              to lift, push, pull, or carry more than 25 lbs. Fitness-for-Duty Certification dated 7/7/16,
              attached as Exhibit J.

          36. On August 23, 2016, I met with Ms. Julie Pariseau, Frontier's Manager in Workers
              Compensation & Leaves of Absence, to discuss breastfeeding accommodations for my
              return to work. She asked me why I was not resigning due to my need for breastfeeding
              accommodations. I responded that I wanted to work and that my career is important to



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□      RESPONDENT FRONTIER AIRLINES

             me. I raised the possibility of a temporary ground assignment. I explained that I did not
u            want to pump in a bathroom or airplane lavatory because it was unsanitary, and
             requested a place other than a restroom to express breast milk every two to three
             hours. Ms. Pariseau gave me a list of approved lactation rooms at outstations at that
I            meeting. She also suggested that I bid for trips with adequate ground time or shorter
             turns to allow for breaks to pump on the ground before and after the flight.

I         37. Without accommodations, it is impossible to bid for and obtain a schedule that would
              consistently provide short enough flights and a long enough time on the ground
I             between flights to allow me to pump, without resorting to pumping during the flight.

         38. Shortly after the August 23 meeting, I received notice that Ms. Pariseau had placed me
             on a non-FMLA medical leave until September 10, 2016. On August 26, 2016, I emailed
             Ms. Pariseau to inform her that I would be willing to continue working for Frontier in
             another capacity, if it was not possible to receive accommodations while performing my
             duties as a flight attendant. I suggested that I could work at Frontier's General Offices
             one or two days a week to help with hiring or fill in for someone who was on vacation.
             Email from Stacy Rewitzer dated 8/26/16, attached as Exhibit K. She never responded to
             this request.

         39. I emailed Ms. Pariseau again on September 30, 2016 to indicate several other
             accommodations that would allow me to continue performing my job while expressing
             breast milk: (1) breaks at least every few hours to express breast milk; (2) an extension
             of non-FMLA leave until my son is one year old; (3) preference for shorter flights of
             three to four hours maximum duration, or permission to decline longer trips without
             negative consequences; (4) preference for trips that include sufficient time on the
             ground to pump outside the aircraft; (5) being provided clean, private, secure, and
             convenient pumping locations at outstations (noting that several locations on the list of
             approved lactation rooms were outside security and thus unrealistic); and (6)
             confirmation that I would not be disciplined for pumping on board in the galley if
             necessary during the flight. I also indicated that I was open to discussing any other
             alternatives that would accommodate my medical needs while permitting me to
             maintain my seniority and pay level. Email from Stacy Rewitzer dated 9/30/16, attached
             as Exhibit L.

         40. Ms. Pariseau responded that Frontier had extended my medical leave for 30 days. Id.
             Since then, I have sent her essentially the same request for accommodations
             approximately each month, and she has continued to extend my leave on a monthly
             basis without responding to my other proposed accommodations. See, e.g., Emails
             dated 10/6/16, 11/11/16, 12/12/16, 2/7/17, 3/6/17, and 4/8/17, attached as Exhibits G,
             M-Q.




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          41. On December 12, 2016, in response to my email earlier that day listing the same
I             potential accommodations, Ms. Pariseau responded that Frontier was "currently
              reviewing its policy on new mothers & expressing" and the issue would hopefully be
              decided before the release of the updated Employee Handbook in early 2017. Email
I             from Julie Pariseau dated 12/12/16, attached as Exhibit N. She wrote that "[w]hen the
              decision on Nursing Mother Leave is official" I would be contacted, and until then she

I             would continue to approve my leave in 30 day increments. Id. I have not received
              notification of a new policy on "Nursing Mother Leave" or an updated Employee
              Handbook.

I        42. On February 7, 2017, in response to my email earlier that day renewing my monthly
             request for the same accommodations I had requested previously, Ms. Pariseau stated
             that Frontier "cannot offer any accommodations to nursing flight attendants" and that
             there is "no other option" than for me to "return to work full duty without any
             restrictions, includ ing nursing accommodations." Email from Julie Pariseau dated
             2/7/17, attached as Exhibit 0. Ms. Pariseau said she could extend my leave for 30 days
             while the executive team reviewed the "nursing flight attendant program." Id.

         43. On March 6, 2017, when I reiterated my above request for the same accommodations in
             an email to Ms. Pariseau, she responded by granting an additional 30 days of medical
             leave. Email from Julie Pariseau dated 3/6/17, attached as Exhibit P. She also inquired
             about when I planned to return to work and reminded me that I must be released
             "without any restrictions or accommodation requests." Id.

         44. In early April I again sent the same request for accommodations to Ms. Pariseau. Email
             from Stacy Rewitzer dated 4/8/17, attached as Exhibit Q. She replied on April 10, 2017
             that Frontier "can not [sic) accommodate any restrictions for a safety sensitive position"
             and that if I needed any of the requested accommodations then I would "need to be out
             on medical leave until [I was] released without restrictions." Id. She extended my
             medical leave again until May 7, 2017, noting that "the executives are still only
             approving 30 days at a time." Id.

         45. In late April I emailed Ms. Pariseau another accommodation request for May. Email
             from Stacy Rewitzer dated 4/27 /17, attached as Exhibit R. Because I continued to have a
             medical need to express breast milk and Frontier had repeatedly denied my previous
             requests for accommodations, I requested a temporary ground assignment at Frontier's
             General Offices while I continued to breastfeed. I noted that in the event Frontier
             denied my request for a temporary ground assignment, I would have no other option
             but to request another extension of my unpaid non-FM LA leave.

         46. On May 1, Ms. Fadia Daphnis from the Leave of Absence/Worker' s Compensation
             Department notified me that Frontier had extended my non-FM LA leave until June 7,




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              2017. Email from Fadia Daphnis dated 5/1/17, attached as Exhibit S. She did not
J             acknowledge or respond to my request for a temporary ground assignment. Id.


          47. Due to Frontier's policies and practices, I currently remain on unpaid leave, which I have
              been on since August 2016 despite being willing and able to return to work with
              accommodations. Aside from granting me unpaid medical leave in 30-day increments,

I             Frontier has denied each of my other requests for on-the-job accommodations or
              temporary job reassignment.


I         48. Frontier's policies and practices have put me in the position of being forced to either
              give up breastfeeding or give up paid work. Frontier's policy of refusing to provide on-
              the-job accommodations means that I am not permitted to express breast milk while on
              duty, even if I could find the time in between flights. It means that I would have to go up
              to 12 hours without pumping, or even longer in Irregular Operations due to delays. And
              because I am currently nursing every three to four hours for approximately 30 minutes, I
              would have to put my health and my milk supply at risk or be forced to stop
              breastfeeding in order to return to work. As a result, I truly had "no other option"
              except to remain on unpaid leave. See Email from Julie Pariseau dated 2/7/17, attached
              as Exhibit 0.

         49. What is more, even if Frontier permitted me to pump during flight in between my
             duties, the failure to provide an adequate location to express breast milk would be a
             significant barrier for me. I would like to avoid pumping in the aircraft lavatory, if at all
             possible. The aircraft's lavatory is unsanitary for this purpose and cramped. It is also
             inadequate under WAN MA, which requires that employers provide space, other than a
             toi let, in close proximity to the work area where the employee can express breast milk
             in private.

         50. Frontier's policies and practices have caused me financial harm. Frontier not only fa ils
             to offer paid maternity leave or temporary job reassignment for pregnant and
             breastfeeding flight attendants, but it also prohibits pumping on-the-job. As a result, I
             have been on unpaid leave since the 28th week of my pregnancy and have suffered
             financial harm from my resulting loss of income, bearing the full cost of healthcare
             insurance after 90 days on a leave of absence, and fa ilure to accrue sick and vacation
             t ime.

         51. Frontier's policies and practices have also caused emotional and psychological harm.
             Because I feared being terminated under Frontier's dependability pol icy for taking sick
             time during my pregnancy, I suffered from extreme anxiety and had to start taking
             anxiety medication during my pregnancy, despite my fear that it could pose a health risk
             to my fetus. My anxiety has also reduced my breast milk supply.




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           52. Until I receive adequate workplace pumping accommodations or a job reassignment, I
               will have no other option than to remain on unpaid leave.

           53. Frontier's policies allow for accommodations and light or modified duty for on-the-job
I              injuries and disability. I also believe that Frontier has provided workplace
               accommodations to other flight attendants for reasons unrelated to pregnancy and
               breastfeeding. By contrast, Frontier has denied my requests for on-the-job
I              accommodations related to pregnancy and breastfeeding.


I          54. In addition, Frontier has had and continues to have a pattern or practice of denying
               pregnancy and breastfeeding-related accommodations to female flight attendants.

       Discrimination Statement

           55. Frontier has discriminated against me because of pregnancy-related disabilities (high
               risk pregnancy due to infertility, with insomnia, fatigue, digestive issues) and because of
               my sex, my pregnancy, and a condition related to my pregnancy and childbirth-
               specifically, lactation. Frontier's policies and practices violate the laws of the United
               States and the State of Colorado, including Title VII of the Civil Rights Act of 1964, the
                                                                                         1
               ADA, and CADA, as amended by PWFA, as well as Colorado's WANMA in several ways:

               a. Frontier's ongoing policy and pattern or practice of prohibiting employees from
                  pumping breast milk while on duty and failing to provide employees who are
                  breastfeeding with access to on-the-job workplace accommodations such as
                  schedule modifications, medically necessary breaks, or adequate facilities to express
                  breast milk constitute disparate treatment on the basis of sex, and have a disparate
                  impact on female flight attendants, in violation of Title VII and CADA,

               b. Frontier's ongoing policy and pattern or practice of failing to provide flight
                  attendants with temporary job reassignments for reasons related to pregnancy or
                  breastfeeding constitute disparate treatment on the basis of sex, and have a
                  disparate impact on female flight attendants, in violation of Title VII and CADA.

               c. Frontier' s ongoing policy and pattern or practice of failing to provide flight
                  attendants with workplace accommodations related to pregnancy and breastfeeding
                  such as paid leave, temporary job reassignments, schedule modifications, medically


      t WANMA requires employers to (i) provide break time to allow employees to express breast milk for their nursing
      child for up to two years after the child's birth; and (ii) provide private space, other t han a toilet, in close proximity
      to the "work area," where the employee can express breast milk in private. Frontier has failed to provide sufficient
      break time or a private space other than a toilet in close proximity to my work area where l can express breast milk
      in privacy as required by law. These claims are not discussed in detail because the EEOC and the Colorado Civil
      Rights Division do not enforce WANMA.




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                  necessary breaks, or private, sanitary, and accessible facilities to express breast milk,
                  violate Colorado's PWFA.



I             d. Frontier's failure to accommodate my pregnancy and pregnancy-related disability by
                 rejecting my request that "dependability" points related to pregnancy complications
                 be recategorized as authorized leave and removed from my record violated Title VII,

I                the ADA, and CADA.

              e. Frontier's ongoing pol icy and pattern or practice of requiring immediate notification
I                of pregnancy upon confirmation of the pregnancy by a doctor constitute facially
                 discriminatory treatment on the basis of sex in violation of Title VII and CADA, and
                 are not justified as a bona fide occupational qualification ("BFOQ").

       Remedies Requested

          56. As a result of Frontier's conduct, I have suffered from lost income and other financial
              harm, stres~ and anxiety, emotional distress, and fear that I would lose my job.

          57. I continue to be subject to Frontier's policies and practices on an ongoing basis. These
              policies and practices remain in place, and have impacted and continue to impact any
              plans I make relating to my family and personal reproductive decisions.


          58. Accordingly, I am seeking the following relief:

                 a. A finding that Frontier's policies and practices violate Title VII, the ADA, CADA,
                    and Colorado's PWFA;

                 b. A policy extending parental leave for a period of time sufficient to medically
                    recover from childbirth, and additional leave for bonding to be made available to
                    male and female parents.

                 c. Revocation of the policy requiring pregnant flight attendants to notify Frontier
                    Airlines as soon as they learn that they are pregnant.


                 d. A policy permitting flight attendants to seek a temporary modified duty
                    assignment to a ground position when they are ineligible or unable to fly due to
                    pregnancy and during the period when the need to express breast milk precludes
                    them from working for continuous periods without regular breaks;


                 e. A policy excusing flight attendants from accruing dependability points for
                    medically certified absences related to pregnancy or disability, including
                    pregnancy-related disability, and preventing flight attendants from being



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                     penalized under the policy for leaves of absence related to pregnancy, disability,
                     recovery from childbirth, and related conditions including lactation.


                f.   A policy permitting flight attendants who are breastfeeding to pump while on
                     duty, including but not limited to at an appropriate time on board during flight,
                     during training, and at airports;

I              g. Designation of adequate facilities (consisting of a convenient, private location
                  other than a lavatory or restroom) for pumping on aircraft, during training, and
I                 at airports.



I              h. Publication of a list of breastfeeding and pumping resources, including a list of
                  adequate, accessible facilities (a convenient, private location, other than a
                  lavatory or restroom), at each outstation and at DEN where breastfeeding
                  employees may pump breast milk. Every airport is already required by law to
                  have facilities available for its hourly employees to pump breast milk;

               i.    At a minimum, a policy permitting (but not requiring) pumping in the lavatory on
                     the aircraft on an as-needed basis for the minimum amount of time medically
                     necessary, as permitted by safety and operational needs.

               j.    A policy explicitly permitting medical leave for employees whose need to express
                     breast milk precludes them from working for continuous periods without regu lar
                     breaks, notwithstanding the accommodations provided for above.

               k. Compensatory and punitive damages for the lost income, additi.onal out-of-
                  pocket expenses, and emotional distress resulting from my being forced onto
                  unpaid medical leave due to Frontier's failure to accommodate breastfeeding.




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           CHARGE OF DISCRIMINATION                    AGENCY        CHARGE NUMBER

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 Ms. Renee Schwartz opf
                                                                                               HOME TELEPHONE (Include Ares Code)
                                                                                                 303-814-1903
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 1948 Summit Street                                    Franktown, CO 80116                                                                          12-15-1983
NAMED IS THE EMPLOYER, LABOR ORGANIZATION, EMPLOYMENT AGENCY, APPRENTICESHIP COMMITTEE. STATE OR LOCAL GOVERNMENT
AGENCY WHO DISCRIMINATEO AGAINST ME (If mo~ than one list below.)
NAME                                            NUMBER OF EMPLOYEES, MEMBERS                                                       TELEPHONE (Include Area COde)
Frontier Airlines                                 3,000+
STREET ADDRESS                                        CITY, STATE AND ZIP CODE                                                                     COUNTY
7001 Tower Road                                        Denver, CO 80249-7312
NAME                                                                                           TELEPHONE NUMBER (Include AtH Code)


STREET ADDRESS                                         CITY. STATE ANO ZIP CODE                                                                    COUNTY


CAUSE OF DISCRIMINATION BASED ON (Cheek appropriate t,o,c(es)J                                                        DATE DISCRIMINATION TOOK PLACE
                                                                                                                          August 2016 to June 18, 2017 and
 □ RACE          OcoLoR                  Osex               □ RELIGION             □ NATIONAL ORIGIN                      ongoing
      [Jg RETALIATION            □ AGE               rn    DISABILITY     D     OTHER (Specify)
                                                                                                                                   [X}    CONTINUING ACTION

THE PARTICULARS ARE (If additional paper Is needed, attach extra shftflt(S}):

  Please see attached statement of harm.




                                                                                       NQARY • (When necess■: for State and Local Requirements}
I want this charge filed with both the EEOC and the Slate or local Agency, if any
I will advise the agencies if I change my llddreas or telephone number and I will
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    Charge of Discrimination -Statement of Harm




    PERSONS INVOLVED

           Renee Schwartzkopf, Flight Attendant, on behalf of herself and others similarly situated
           Frontier Airlines

    DATE OF INCIDENT

           August 2016 to June 18, 2017, and ongoing.

    SUMMARY OF DISCRIMINATORY CONDUCT

             I am a flight attendant employed by Frontier Airlines (" Frontier" ). I bring this charge on
    beha lf of myself and others who are similarly situated because Frontier is systematically failing
    to accommodate the needs of its pregnant and breastfeeding flight attendants. Frontier
    subjects its f light attendants to policies and practices that discriminate on the basis of sex,
    pregnancy, childbirth, and disabi lity. In particular, Frontier has not provided me with
    accommodations related to pregnancy or adequate on-the-job accommodations for
    breastfeeding. Frontier has had and continues to have a pattern or practice of dis criminating on
    the basis of sex and pregnancy by denying on -the-job accommodations or temporary light duty
    assignments to flight attendants for reasons related to pregnancy and breastfeeding, although
    it maintains a policy of providing light or modified duty assignments to flight attendants who
    are injured on-the-job, and reasonable accommodations to people with disabilities under the
    Americans with Disabilities Act ("ADA"). Finally, Frontier maintains a strict "dependabil ity''
    policy that subjects employees to progressive discipline based on absences and discrimi nates
    against flight attendants based on pregnancy and disability, and pregnancy-related disability.
    These policies and practices violate the laws of the United St ates and the State of Colorado,
    i ncluding Title VII of the Civil Rights Act of 1964, the ADA, the Colorado Antidiscri mination Act
    ("CADA" ), Colorado's Pregnant Workers Fairness Act ("PWFA"), and Colorado's Workpla ce
    Accommodation for Nursing Mothers Act ("WANMA").

            As a result of Frontier's policies and practices, I suffered from stress and anxiety. I
    feared that I would have to put my health and breast milk supply at risk, or lose my job.
    Because Frontier's policies and practices remai n in place, I continue to be subject to them and
    am affected by them on an ongoing basis. I file this charge to obtain redress for the harms I
    have suffered and continue to suffer, and to force Frontier to change its policies and practices
    in order to better accommodate the needs of flight attendants who are pregnant and
    breastfeeding.




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    PARTICULARS

    Summary

       1. I have been a Flight Attendant at Frontier since 2006. After becoming pregnant in 2016, I
          stopped flying in late December 2016 and gave birth to my son on January 30, 2017.
          Under Frontier's policies and practices, flight attendants are not entitled to any
          specified period of maternity leave, but rather, must use whatever Family Medical Leave
          Act {"FMLA" ) and accrued sick days remain in their leave bank. I returned to work in
          April 2017. Had it been possible, I would have liked to take a longer maternity leave.

       2. When I returned to work in April 2017, I was still breastfeeding my three-month old son
          and had a medica l need to express breast milk every two to three hours while at work.
          Because Frontier has no policy for fl ight attendants who need to pump breast milk and
          because I feared being forced onto unpaid leave or losing my job to keep breastfeeding,
          from April 2017 through approximately June 18, 2017, I had no choice but to express
          breast milk using a pump in the lavatory on board the aircraft at an appropriate time in
          between my active duties.

       3. Although Frontier was aware that I was breastfeeding at the time I returned to work,
          Frontier never told me either way whether I was permitted to pump or when and where
          I could do so. At no time did Frontier provide me with information regarding private,
          sanitary, and accessible lactation rooms on board the aircraft or at the airport in Denver
          or at outstations, or other on-the-job accommodations. As a result, I suffered emotional
          harm.

    Professional Background

       4. I have at all relevant times been employed as a flight attendant by Frontier.

       5. I began working as a flight attendant at Frontier on March 20, 2006, and have remained
          employed as a flight attendant by Frontier for more than eleven years.

       6. Prior to working at Frontier, I was a Claims Processor at American Family Insurance for
          approximately one year.

       7. My qualifications as a flight attendant are current and I am a member of the Association
          of Flight Attendants ("AFA"), the union that represents Frontier flight attendants.

       8. Frontier is a commercial airli ne and maintains a hub at Denver International Airport
          (" DEN"). I live in the Denver area and am based out of DEN.




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    Frontier's Policies and Practices

       9. Frontier requires a flight attendant to notify the airline immediately once her physician
           has confirmed her pregnancy. Pregnant flight attendants must present a release on a
           monthly basis, signed by a physician, certifying their ability to perform Flight Attendant
           duties. CBA Art. 12(F)(l), attached as Exhibit A.

       10. Frontier's Dependability Policy assigns points to flight attendants for attendance
           "occurrences " such as absenteeism or tardiness -including sick days. Per the Employee
           Handbook § 12.05.0.7, attached as Exhibit B, flight attendants receive 1.5 points per sick
           day even if they have a medical excuse from their doctor. Id. Poi nts "roll off'' after
           twelve months. Id. at§§ 12.05.0.7, 12.05.1.3. Flight attendants begin to face disciplinary
           action after receiving three to four points and are terminated after receiving eight
           points. Id. at§ 12.05.0. 7. Flight attendants with perfect attendance records receive a
           maximum of six hours (three hours if part time) of bonus pay over a twelve-month
           period. Id. Flight attendants with six months of perfect attendance are also awarded two
           credit points to thei r "bank" of available days for the next twelve months. Id. Leaves of
           absence, including for reasons related to pregnancy and childbirth, freeze the twelve -
           month clock for purposes of permitting points to " roll off." Id. at§ 12.05.1.3.

        11. Frontier does not have any policy providing for a specified amount of maternity leave
            following birth for flight attendants . CBA Art. 12(F), Exhibit A. Flight attendants who are
            eligible for FMLA may take such leave to recover from childbirth, and those who are
            ineligible for FMLA may apply for medical leave. Employee Handbook §§ 08.05.4.3,
            08.05.4.5, 08.05.5, Exhibit 8. Medical leaves are "never guaranteed," are available to
            flight attendants who have worked for Frontier for at least 90 days, and are granted only
            for an employee's own illnes s, injury, or pregnancy. Employee Handbook § 08.05.5; CBA
            Art. 12(G)(l)-(2), id. Under the collective bargaining agreement, sick leave must be used
            and vacation days may be used during maternity leave; otherwise maternity leave is
            unpaid. CSA Art. 12(F)(3), Exhibit A. Short term disability is available for those flight
            attendants who have purchased optional insurance. Employee Handbook § 07.05.1.1,
            Exhibit 8.


        12. Frontier has a policy under which after an employee has been on a leave of absence for
            90 days, the employee bears the full cost of medical, dental, vision, life, and disability
            insurance. Employee Handbook§ 08.05), id.

        13. Frontier does not make temporary alternative job assignments available to flight
            attendants who are pregnant and unable to fly, or for flight attendants who are
            breastfeeding. By contrast, Frontier maintains a policy under which it provides
            reasonable accommodations under the ADA to qualified individuals with disabil it ies
            (including accommodations such as job restructuring, modified work schedules,
            reassignment to vacant positions, and adjustment or modification of policies), see




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          Employee Handbook §§ 05.05.3.1-2), id., and "light/modified duty" to individuals who
          are injured on-the-job, see also CBA Art. 12(H)(2), Exhibit A.

       14. Frontier has no formal policy addressing the needs of flight attendants who are
          breastfeeding. However, on information and belief, Frontier has told other flight
          attendants that they are prohibited from pumping while on duty. By contrast, Frontier
          does not police flight attendants' breaks or use of the restroom while on duty to take
          care of other physiological needs, such as going to the bathroom.

       15. Flight attendants at Frontier commonly work 10-12 hours a day, and occasionally more
           (up to 16 hours a day) during Irregular Operations, with flight times ranging from
           approximately one to five hours. Frequently, flight attendants have overnight trips of
           two to four nights in length, spanning multiple cities . There is typically a period of time
           lasting around 45 minutes between flights; however, flight attendants are required to
           report to the aircraft 45 minutes before the next departure and have duties on board
           both after the plane lands and prior to the next departure. See CBA Art. 4(E), Exhibit A.
           The flight attendants' duties of deplaning, cleaning, and reboarding the aircraft
           frequently take up all the available time on the ground between flights such that flight
           attendants are generally unable to leave the plane between flights. Additionally, the
           period on the ground is sometimes compressed due to flight delays. Accordingly, the
           time between flights is not sufficient to permit flight attendants who are breastfeeding
           to leave the aircraft in order to pump milk at a designated location in the airport.

       16. Frontier does not provide any non-bathroom locations where flight attendants are able
           to pump in "close proximity" to flight attendants' "work area ."

       17. Moreover, Frontier does not provide additional break time for the purpose of allowing
            employees to express breast milk for their nursing child for up to two years after the
          · child's birth.

    My Need for Accommodations Related to Breastfeeding

       18. It is important to me that my son be fed breast milk during the first six months of his
           life, in accordance with medical recommendations. I want my son to have the health
           benefits of breast milk, and I value the bonding experience that I share with my son
           during breastfeeding.

       19. Women who feed their babies with breast milk but who cannot be with their babies at
           all times need to express breast milk, usually by using a breast pump. This ensures that
           there is a supply of milk available for the baby when the mother is not present to
           breastfeed, and helps maintain the woman's supply and production of breast milk. If a
           woman does not breastfeed or express breast milk at frequent intervals, her breast milk
           supply will decrease and she may stop producing breast milk altogether. She will also




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           experience pain and discomfort, and could develop blocked breast ducts or mastitis,
           which is an infection of the breast tissue.

       20. I was aware that without the ability to pump breast milk at work, I would be unable to
           maintain a sufficient milk supply and would be at risk of experiencing these
           complications.

    Frontiers Discriminatory Actions Related to Pregnancy, Childbirth, and Breastfeeding

       21. I became pregnant with my son in May 2016 and worked until approximately the 34th
           week of my pregnancy. I disclosed my pregnancy to the airline on or about August 31,
           2016, and I went out on leave in late December 2016. As ide from the four weeks that
           were covered by accrued paid vacation, my parental leave was unpai d.

       22. I gave birth to my son by cesarean section on January 30, 2017. My doctor certified that
           I could return to work without restrictions on April 1, 2017. Email from LOA Frontier
           Employees dated 2/27/17 at Exhibit C.

       23. I was required to attend a day-long recurrent training on April 21, 2017 before I could
           return to flying. My son was three-months old at the ti me and I had a medi cal need to
           express breast milk every two to three hours for about 10 to 20 minutes. I informed
           Frontier of my medical need for breaks to express breast milk during training. Email
           from Renee Schwartzkopf dated 4/17/17 at Exhibit D.

       24. In response to my request for breaks to pump during training, Jerry Arellano, Senior
           Employee Relations Manager/Special Projects, required my doctor to complete a
           Request for Accommodation and Medical Certification Form. Email from Gerardo
           Arel lano dated 4/20/ 17 at Exhibit D. The form asked my doctor to describe my medical
           impairment, even though I did not have a disability under the ADA. See Request for
           Accommodation and Medical Certification dated 4/20/17 at Exhibit E.


       25. Frontier's response to my request for accommodations related to my need to express
           breast milk chilled me from seeking further breastfeeding accommodations at work
           beyond recurrent training. Several flight attendants who had breastfed their children
           told me that they and other flight attendants would simply pump on board the plane
           during quiet periods of a flight. However, I knew that Frontier had prohibited some
           breastfeeding flight attendants who had requested accommodations from pumping
           breast milk during flight, leaving them with no other choi ce but to either stop
           breastfeeding or go out on extended unpaid leave in order to continue breastfeeding.

       26. My family and I were not in a fi nancial position to risk months without my income. I
           feared that I would have no choice but to go on unpaid leave or lose my job if I
           requested additional on-the-job accommodations . Because I could not be deprived of




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          income for months, I returned to flying without making any further accommodation
          requests.

       27. I bid for and was awarded a Job Share (part-time hours) for May -June 2017. Emails from
          Renee Schwartzkopf dated 3/30/17 and 5/1/17 at Exhibits F and G. I returned to a
          regular schedule in July 2017.


       28. Frontier was aware that I was breastfeeding due to my accommodation requests during
           my recurrent training in April. But the company never informed me one way or the
           other what I was supposed to do when I needed to express breast milk once I started to
           fly again. Frontier never informed me of any policy regarding pumping in flight, or told
           me that I was prohibited from doing so. Frontier also never provided me a list of
           approved locations to express milk.

       29. Accordingly, after I returned to work in April 2017 and until approximately June 18,
           2017, I used a breast pump to express milk on the aircraft in the lavatory. I attempted
           to pump before each originating flight, during flights, and at hotels. However, it is
           generally not feasible to pump on the ground in between flights because the time
           between flights is so short (typically around 45 minutes) and I am typically engaged in
           active duties related to deplaning and boarding passengers, preparing the airplane for
           the next flight, and conducting the required safety checks . It was also not possible to bid
           for a schedule that would consistently involve short enough flights and long enough
           time on the ground between flights to allow me to pump in the airport facilities, as
           shorter trips still would not provide sufficient tum time to allow me to pump . I
           attempted to schedule condensed trips on weekends (or other days that I have childcare
           coverage) that allow me to be home at night.

       30. During trips, I pumped when necessary while the plane was in flight, however only
           between the times when I was actively engaged in my duties. Once the plane is
           airborne, flight attendants' duties include snack and beverage service, collecti ng trash,
           and responding to individual passenger inquiries. When these duties are complete,
           there are long periods of time when flight attendants are unoccupied and chat or read
           In the back of the plane. It is commonplace for flight attendants to take short breaks or
           visit the restroom during those periods.

       31. When I needed to express breast milk during a flight, I would mention to a fellow fl ight
           attendant that I was going to pump in the lavatory. I did not request prior permission or
           inform a supervisor because I feared I might be prohibited from pumping in flight and
           forced onto unpaid leave or might lose my job. I also knew that pumping in the lavatory
           was a widespread practice among breastfeeding flight attendants. In fact, I learned from
           other flight attendants that pumping in the lavatory was the only option available to me.




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        32. I would have preferred not to have to pump breast milk in the aircraft lavatory, if it
            could have been avoided. The lavatory is unsanitary for this purpose and cramped. It is
            also inadequate under WANMA, which requires that employers provide space, other
            than a toilet, in close proximity to the work area where the employee can express breast
            milk in private. Pumping in the family bathroom at DEN is also unsanitary, inappropriate
            for this purpose, and not private.

        33. Frontier's policies and practices caused me emotional and psychological harm. Pumping
            in restrooms was unsanitary, disgusting and humiliating. At the same time, I feared
            being forced onto unpaid medical leave or losing my job due to my medical need for
            breaks to express breast milk while in flight, causing my family to suffer financial harm.

        34. Frontier's policies allow for accommodations and light or modified duty for on-the-job
            injuries and disabilities. I also believe that Frontier has provided workplace
            accommodations to other flight attendants for reasons unrelated to pregnancy and
            breastfeeding. By contrast, Frontier did not offer me on-the-job accommodations
            related to pregnancy or breastfeeding.

        35. In addition, Frontier has had and continues to have a pattern or practice of denying
            pregnancy- and breastfeeding-related accommodations to female flight attendants.

    Discrimination Statement

         36. Frontier has discriminated against me because of pregnancy-related disabilities and
             because of my sex, my pregnancy, and a condition related to my pregnancy and
             childbirth- - specifically, lactation. Frontier's policies and practices violate the laws of
             the United States and the State of Colorado, including Title VII of the Civil Rights Act of
             1964, the ADA, and CADA, as amended by the PWFA, as well as Colorado's WANMA 1 in
             several ways:

             a. Frontier's ongoing policy and pattern or practice of prohibiting employees from
                pumping breast milk while on duty and failing to provide employees who are
                breastfeeding with access to on-the-job workplace accommodations such as
                schedule modifications, medically necessary breaks, or adequate facilities to express
                breast milk constitute disparate treatment on the basis of sex, and have a disparate
                impact on female flight attendants, in violation of Title VII and CADA.



    1 WANMA requires employers to (i) provide break time to allow employees to express breast milk fortheir nursing
    child for up to two yea rs after the child's birth; and (ii) provide privates pace, other than a toilet, in close proximity
    to the "work area," where the employee can express breast milk in private. Frontier has failed to provide sufficient
    break time or a private space other than a toilet in close proximity to my work area where I can express breast milk
    in privacy asrequired by law. These claims are not discussed in detail because the EEOC and the Colorado Civil
    Rights Division do not enforce WANMA




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          b. Frontier's ongoing policy and pattern or practice of failing to provide flight
             attendants with temporary job reass ignments for reasons related to pregnancy or
             breastfeeding constitute disparate treatment on the basis of sex, and have a
             disparate impact on female flight attendants, in violation of Title VII and CADA.

          c. Frontier's ongoing policy and pattern or practice of failing to provide flight
             attendants with workplace accommodations related to pregnancy and breastfeeding
             such as paid leave, temporary job reassignments, schedule modifications, medically
             necessary breaks, or private, sanitary, and accessible facilities to express breast milk,
             violate Colorado's PWFA.

          d. Frontier's dependability policy, under which points may be assigned for pregnancy-
             related sick days despite certification from a doctor, violates Title VII, the ADA, and
             CADA.


          e. Frontier's ongoing policy and pattern or practice of requiring immediate notification
             of pregnancy upon confirmation of the pregnancy by a doctor constitute facially
             discriminatory treatment on the basis of sex in violation of Title VII and CADA, and
             are not justified as a bona fide occupational qualification ("BFOQ").

    Remedies Requested

       37. As a result of Frontier's conduct, I have suffered financial harm, stress and anxiety,
           emotional distress, and fear that I would lose my job.

       38. Accordingly, I am seeking the following relief:

              a. A finding that Frontiers policies and practices violate Title VII, the ADA, the
                 CADA, and Colorado's PWFA;

              b. A policy extending parental leave for a period of time sufficient to medically
                 recover from childbirth, and additional leave for bonding to be made available to
                 male and female parents.

              c. Revocation of the policy requiring pregnant flight attendants to notify Frontier
                 Airlines as soon as they learn that they are pregnant.


              d. A policy permitting flight attendants to seek a temporary modified duty
                 assignment to a ground position when they are ineligible or unable to fly due to
                 pregnancy and during the period when the need to express breast milk precludes
                 them from working for continuous periods without regular breaks;




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                 e. A policy excusing flight attendants from accruing dependability points for
                    medically certified absences related to pregnancy or disability, including
                    pregnancy-related disability, and preventing flight attendants from being
                      penalized under the policy for leaves of absence related to pregnancy, disability,
                      recovery from childbirth, and related conditions i ncluding lactation.

                 f.   A policy permitting f light attendants who are breastfeeding to pump while on
                      duty, including but not limited to at an appropriate time on board during flight,
                      during training, and at airports;

                 g. Designation of adequate facilities (consisting of a convenient, private location
                    other than a lavatory or restroom) for pumping on aircraft, during training, and
                    at airports.

                 h. Publication of a list of breastfeeding and pumping resources, including a list of
                    adequate, accessible facilities (a convenient, private location, other than a
                    lavatory or restroom), at each outstation and at DEN where breastfeeding
                    employees may pump breast milk. Every airport is already required by law to
                    have facilities available for its hourly employees to pump breast milk;

                 i.   At a minimum, a policy permitting {but not requiring) pumping in the lavatory on
                      the aircraft on an as -needed basis for the minimum amount of time medically
                      necessary, as permitted by safety and operational needs.

                 j.   A policy explicitly permitting medical leave for employees whose need to express
                      breast milk precludes them from working for continuous periods without regular
                      breaks, notwithstanding the accommodations provided for above.

                 k. Compensatory and punitive damages for the lost income and emotional distress
                    reslllting from Frontier's failure to accommodate pregnancy and breastfeeding.
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                   CHARGE OF DISCRIMINATION                                                                       AGENCY                     CHARGE NUMBER

 This form is affected by the Privacy Act of 1974; See Privacy Act Statement before completlr ~
 this form.                                                                                                       □
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             Colorado Civil Rights Division                                                                                                                and EEOC
                                                                  Stare or local Ag,mcy, If an
 NAME(lndics/e Mr.. Ms., Mrs.)                                                                          HOME TELEPHONE (Include Ares Code)
Ms. Melissa Hodgkins                                                                                   (720) 320-8805
 STREET ADDRESS
6537 South Gallup Street
                                                      CITY, STATE AND ZIP CODE
                                                       Utueton, CO 80120
                                                                                                                                                    IDATE OF BIRTH
                                                                                                                                                    08/25/1980
 NAMED IS THE EMPLOYER. LABOR ORGANIZATION, EMPLOYMENT AGENCY . APPRENTICESHIP COMMITTEE. STATE OR LOCAL GOVERNMENT
 AGENCY WHO DISCRIMINATED AGAINST ME (If more than ona I/st below.)

 NAMEF        • A'I'                            NUMBER OF EMPLOYEES, MEMBERS                                                    TELEPHONE (lnc/ude Aree Code)
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 STREET ADDRESS
7001 Tower Road
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                                                                                                                                                    Denver
 NAME                                                                                                  TELEPHONE NUMBER {lnc/u<Je Area Code)


 STREET ADDRESS                                       CITY, STATE ANO ZIP CODE                                                                      \ COUNTY


 CAUSE OF OISCRIMINATION BASED ON (Check approprfal<J box(eS))                                                           DATE DISCRIMINATION TOOK PLACE
                                                                                                                          August 2017 and ongoing
  □ RACE         OcoLoR .                 [K]sex             □ RELIGION                □ NATIONAL ORIGIN
        IRJ RETALIATION           □AGE              □ DISABILITY             OoTHER (Specify)
                                                                                                                                IBJ       CONTINUING ACTION

 THE PARTICULARS ARE (If additional psper is needed. altecll extra sheel(s)):
Please see Charge of Discrimination.




 I wanl this charge filed with both lhe EEOC and tile State or local Agency, if any
 1will advise tile agencie~ if I change my address or telephone number and I will
                                                                                    NOTARY• (When                 n~/
                                                                                                                 ~late and Local Requirements)

 cooperate fully with them in the processing of my charge in accordance with thoi



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 procedures                                                                         I swear or affirm thatfhaYe read the above charge and thal ii is true to the I> !
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 I declare under penalty of perjury Iha! the foregoing is true and cor1ecl.

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     Charge of Discrimination - Statement of Harm




     PERSONS INVOLVED

            Melissa Hodgkins, Flight Attendant, on behalf of herself and others similarly situated
            Frontier Airlines

     DATE OF INCIDENT

           August 2017 to October 6, 2017, and ongoing.

     SUMMARY OF DISCRIMINATORY CONDUCT

             I am a flight attendant employed by Frontier Airlines ("Frontier" ). I bring t his charge on
    behalf of myself and others who are similarly situated because Frontier is systematically failing
    t o accommodate the needs of its pregnant and breastfeeding flight attendants. Frontier
    subjects its flight attendants to policies and practices that discriminate on the basis of sex,
    pregnancy, childbirth, and disability. In particular, Frontier has not provided me with
    accommodations related to pregnancy or adequate on-the-job accommodations for
    breastfeeding. Frontier has had and continues to have a pattern or practice of discriminating on
    the basis of sex and pregnancy by denying on-t he-job accommodations or temporary light duty
    assignments to flight attendants for reasons related to pregnancy and breastfeeding, although
    it maintains a policy of providing light or modified duty assignments to flight attendants who
    are injured on-the-job, and reasonable accommodations to people w ith disabilities under the
    Americans w ith Disabilities Act ("ADA" ). Finally, Frontier maintains a strict "dependability"
    policy t hat subjects employees to progressive discipline based on absences and discriminates
    against flight attendants based on pregnancy and disability, and pregnancy-related disability.
    These policies and practices violate the laws of the United States and the State of Colorado,
    including Title VII of the Civil Rights Act of 1964, the ADA, the Colorado Antidiscriminat ion Act
    ("CADA"), Colorado's Pregnant Workers Fairness Act (" PWFA" ), and Colorado' s Workplace
    Accommodation for Nursing Mothers Act ("WAN MA").

            As a result of Frontier's policies and practices, I suffered and continue to suffer from
    stress and anxiety. I feared that I would have to put my hea lth and breast milk supply at risk, or
    lose my job. Because Frontier's policies and practices remain in place, I continue to be subject
    to them and am affected by them on an ongoing basis. I file this charge to obtain redress for the
    harms I have suffered and continue to suffer, and to force Frontier to change its policies and
    practices in order to better accommodate the needs of flight attendants who are pregnant and
    breastfeeding.




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     PARTICULARS

    Summary

        1. I have been a Flight Attendant at Frontier since 2007. Under Frontier's policies and
           practices, flight attendants are not entitled to any specified period of maternity leave,
           but rather, must use whatever Family Medical Leave Act (" FMLA") and accrued sick days
           remain in their leave bank.

        2. I became pregnant with my first child in 2014. I stopped flying when I was 32 weeks
           pregnant. I had an emergency caesarian section on May 2, 2015. I was on leave for a
           total of about 19 weeks, beginning on March 17, 2015, which included 12 weeks of
           unpaid-FMLA leave and about 7 weeks of unpaid non-FM LA leave. I returned to work on
           August 1, 2015. In order to avoid a reserve schedule, which requires the flight
           attendant t o be "on-call" twenty-four hours per day, up to six days per week, I chose t o
           relocate my base to Orlando, Florida. This required a weekly commute to Orlando for
           13 months.

        3. When I returned to work, Frontier never told me either way whether I was permitted to
           pump, or when and where I could do so. At no time did Frontier provide me w ith
           information regarding private, san itary, and accessible lactation rooms on board the
           aircraft or at the airport in Denver or at outstations, or other on-the-job
           accommodations. As a result, I felt I had no choice but to give up breastfeeding.

        4. I am currently 29 weeks pregnant with my second child. I am scheduled for a cesarean
           section on December 14, 2017. I only have ten weeks of FMLA leave remaining. I
           submitted a request for six months of leave from November 16, 2017 through May 14,
           2018 and included a certification from my medical provider requesting leave for post-
           partum, recovery, breastfeeding, nursing, and bonding. Frontier denied my request for
           additional leave, and approved only my 10 weeks of unpaid FMLA.

        5. Frontier's denial of leave and Frontier's failure to accommodate nursing mothers has
           caused me emot ional harm.

     Professional Background

        6. I have at all relevant times been employed as a flight attendant by Frontier.

        7. I began working as a flight attendant at Frontier on May 24, 2007, and have remained
           employed as a flight attendant by Frontier for more than t en years.

        8. Prior t o working at Frontier, I worked in the restaurant-service indust ry and as a
           freelance graphic designer.




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       9. My qualifications as a flight attendant are current and I am a member of the Association
          of Flight Attendants ("AFA"), the union that represents Frontier flight attendants.

       10. Frontier is a commercial airline and maintains a hub at Denver International Airport
           ("DEN"). I live in Littleton, Colorado and am based out of DEN.

    Frontier's Policies and Practices

       11. Frontier requires a flight attendant to notify the airline immediately once her physician
           has confirmed her pregnancy. Pregnant flight attendants must present a release on a
           monthly basis, signed by a physician, certifying their ability to perform Flight Attendant
           duties. CBA Art. 12(F)(1), Exhibit A.

       12. Frontier's Dependability Policy assigns points to flight attendants for attendance
           "occurrences" such as absenteeism or tardiness-including sick days. Per Employee
           Handbook§ 12.05.0.7, attached as Exhibit B, flight attendants receive 1.5 points per sick
           day even if they have a medical excuse from their doctor. Id. Points "roll off" after
           twelve months. Id. at§§ 12.05.0.7, 12.05.1.3 . Flight attendants begin to face disciplinary
           action after receiving three to four points and are terminated after receiving eight
           points. Id. at§ 12.05.0.7. Flight attendants with perfect attendance records receive a
           maximum of six hours (three hours if part time) of bonus pay over a twelve-month
           period. Id. Flight attendants with six months of perfect attendance are also awarded two
           credit points to their "bank" of available days for the next twelve months. Id. Leaves of
           absence, Including for reasons related to pregnancy and childbirth, freeze the twelve-
           month clock for purposes of permitting points to " roll off." Id. at§ 12.05.1.3.

       13. Frontier does not have any policy providing for a specified amount of maternity leave
           following birth for flight attendants. CBA Art. 12(F). Flight attendants who are eligible for
           FMLA may take such leave to recover from childbirth, and those who are ineligible for
           FMLA may apply for medical leave. Employee Handbook §§ 08.05.4.3, 08.05.4.5,
           08.05.5. Medical leaves are "never guaranteed," are available to flight attendants who
           have worked for Frontier for at least 90 days, and are granted only for an employee's
           own illness, injury, or pregnancy. Employee Handbook§ 08.05.5; CBA Art. 12(G)(1)-(2}.
           Under the collective bargaining agreement, sick leave must be used and vacation days
           may be used during maternity leave; otherwise maternity leave is unpaid. CBA Art.
           12(F)(3). Short term disability is available for those flight attendants who have
           purchased optional insurance. Employee Handbook§ 07.05.1.1.

       14. Frontier has a policy under which after an employee has been on a leave of absence for
           90 days, the employee bears the full cost of medical, dental, vision, life, and disability
           insurance. Employee Handbook§ 08.05.




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       15. Frontier does not make temporary alternative job assignments available to flight
           attendants who are pregnant and unable to f ly, or for flight attendants who are
           breastfeeding. By contrast, Frontier maintains a policy under which it provides
           reasonable accommodations under the ADA to qualified Individuals with disabilities
           (including accommodations such as job restructuring, modified work schedules,
           reassignment to vacant positions, and adjustment or modification of policies), see
           Employee Handbook §§ 05.05.3.1-2, and "light/modified duty" to individuals who are
           injured on-the-j ob, see also CBA Art. 12(H)(2).

       16. Frontier has no formal policy addressing the needs of flight attendants who are
           breastfeeding. However, on information and belief, Frontier has told other flight
           attendants that they are prohibited from pumping while on duty. By contrast, Frontier
           does not police flight attendants' breaks or use of the restroom while on duty to take
           care of other physiological needs, such as going to the bathroom .

       17. Once the plane is airborne, flight attendants' duties include snack and beverage service,
           collecting trash, and responding to individual passenger inquiries. When these duties
           are complete, there are long periods of time when flight attendants are unoccupied and
           chat or read in the back of the plane. It is commonplace for flight attendants to take
           short breaks or visit the restroom during those periods.

       18. Flight attendants at Frontier commonly work 10-12 hours a day, and occasionally more
           (up to 16 hours a day) during Irregular Operations, with flight t imes ranging from
           approximately one to five hours. Frequently, flight attendants have overn ight trips of
           two to four nights in length, spanning multiple cities. There is typically a period of t ime
           lasting around 45 minutes between flights; however, flight attendants are required to
           report to the aircraft 45 minutes before the next departure and have duties on board
           both after t he plane lands and prior t o the next departure. See CSA Art. 4(E), Exhibit A.
           The fl ight attendants' duties of deplaning, cleaning, and reboarding the aircraft
           frequently take up all the available time on the ground between flights such that flight
           attendants are generally unable t o leave the plane between flights. Additionally, the
           period on the ground is sometimes compressed due to flight delays. Accordingly, the
           time between flights is not sufficient to permit flight attendants who are breastfeeding
           to leave the aircraft in order t o pump milk at a designated location in the airport.

       19. Frontier does not provide any non-bathroom locations where flight attendants are able
           to pump in "close proximity" to flight attendants' "work area ."

       20. Moreover, Frontier does not provide additional break time for the pu rpose of allowing
           employees to express breast milk for their nursing child for up to two years after the
           child's birth.




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    My Need for Accommodations Related to Breastfeeding

       21. I would like to feed my second child breast milk during the first 6 months of his life, in
           accordance with medical recommendations. I want my child to have the health benefits
           of breast milk, and I value the bonding experience that I share with my child during
           breastfeeding.

       22. Women who feed their babies with breast milk but who cannot be with their babies at
           all times need to express breast milk, usually by using a breast pump. This ensures that
           there is a supply of milk available for the baby when the mother is not present to
           breastfeed, and helps maintain women's supply and production of breast milk. If a
           woman does not breastfeed or express breast milk at frequent intervals, her breast milk
           supply will decrease and she may stop producing breast milk altogether. She will also
           experience pain and discomfort, and could develop blocked breast ducts or mastitis,
           which is an infection of the breast tissue.

       23. When I return to work, I will not be able to maintain a sufficient milk supply without the
           ability to pump breast milk at work and would be at risk of experiencing these
           complications.

    Frontier's Discriminatory Actions Related to Pregnancy, Childbirth, and Breastfeeding

       24. I became pregnant w ith my f irst child in 2014. I was on leave for about 19 weeks,
           consisting of 12 weeks of unpaid FMLA leave and about 7 weeks of unpaid non-FM LA
           leave.

       25. Frontier did not provide me any information regarding where and when I could express
           breast milk when I returned from leave. Frontier did not inform me of any policy
           regarding pumping breast milk. I did not request any accommodations because there
           was no policy allowing for any accommodations related to nursing and I did not think I
           would be eligible to receive any.

       26. I did not want to pump in the restroom, because I thought it would be disgusting,
           unsanitary, and humiliating. I also could not imagine how I could make pumping work in
           light of my unpredictable schedule and status as a commuter. Given my schedule, and
           the lack of appropriate accommodations, I felt that I had to choose bet ween my job and
           breastfeeding my child. Because I could not afford to lose my job, and because my
           career is important to me, I chose my job. I would have liked to have fed my child
           breast milk if it had been possible to do so and keep my career.

       27. I am now pregnant with my second child. As required by Frontier, I notified Frontier of
           my pregnancy in August 2017.




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     28. I am scheduled to have a caesarian section on December 14, 2017. I have only ten
         weeks of FMLA leave remaining, because I had to take two weeks off in February 2017,
         due to my father's death.


     29. On August 23, 2017, I submitted a certification from my doctor requesting leave from
         November 16, 2017 to May 14, 2017 for post-partum recovery, breastfeeding, nursing,
         and bonding. See Certification of Health Care Provider for Employee's Serious Health
         Condition, Exhibit C. On August 31, 2017, I received an email from Frontier notifying me
         that I was approved for FMLA leave for November 16, 2017 to January 31, 2018. See
         Email from Fadia Daphnis, Exhibit D. Frontier did not respond to my medical provider's
         request for the additional leave, approving me only for the 10 weeks of FMLA for which I
         am eligible. Id. I understand that this means Frontier has denied my request for
         additional leave. Frontier's denial of additional unpaid non-FM LA leave is contrary to my
         doctor's recommendations and has caused me emotional harm.

     30. Frontier has not provided me with any information on available accommodations for
         pregnancy or breastfeeding, or of any policy regarding pumping breast milk once I
         return to work .

     31. Without proper accommodations, nursing flight attendants find it difficult (if not
         impossible) to pump breast milk. For example, flight attendants who are not senior
         enough to select exclusively domestic routes face difficulty transporting their breast
         milk through customs. Further, there is not sufficient time to pump on the ground in
         between flights due to their duties related to deplaning and boarding passengers,
         preparing the airplane for the next flight, and conducting the required safety checks.


     32. Due to these obstacles, I understand that flight attendants sometimes have no choice
         but to pump in the aircraft lavatories, which are cramped and unsanitary. This
         sanitation issue has been further exacerbated by the fact that the aircraft lavatories are
         not presently being cleaned because the Aircraft Appearance Union has omitted certain
         cleaning duties from its obligations. As was true with my first child, I do not want to
         have to pump in a restroom as I would find it unsanitary and humiliating.

     33. Leaving flight attendants with no choice but to pump in the lavatory is also inadequate
         under WAN MA, which requires that employers provide space, other than a toilet, in
         close proximity to the work area where the employee can express breast milk in private.
         Pumping in the family bathroom at DEN is also unsanitary, inappropriate for this
         purpose, and not private.

     34. Frontier's policies allow for accommodations and light or modified duty for on-the-job
         injuries and disabilities. I am aware of several colleagues who were provided temporary
         ground assignments when recovering from on-the-job injuries resulting from incidents
         ranging from falling off of the employee bus, tripping on ice, having hot coffee




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             ranging from falling off of the employee bus, tripping on ice, having hot coffee
             splattered in the face, and being tripped by a passenger in the airplane aisle. I am also
             aware of a colleague who suffered from a medical issue off-of-the job and who is not fit
             to fly. Upon information and belief, Frontier has informed this colleague that she may
             work at Frontier's General Office when she is ready to return to work but unable to fly.
             By contrast, Frontier did not offer me on-the-job accommodations related to pregnancy
             or breastfeeding.

        35. In addition, Frontier has had and continues to have a pattern or practice of denying
            pregnancy-and breastfeeding-related accommodations to female flight attendants.

     Discrimination Statement

         36. Frontier has discriminated against me because of pregnancy-related disabilities and
             because of my sex, my pregnancy, and a condition related to my pregnancy and
             childbirth- specifically, lactation. Frontier's policies and practices violate the laws of the
             United States and the State of Colorado, including Title VII of the Civil Rights Act of 1964,
             the ADA, and CADA, as amended by the PWFA, as well as Colorado's WANMA1 in several
             ways:

             a. Frontier's ongoing policy and pattern or practice of prohibiting employees from
                pumping breast milk while on duty and failing to provide employees who are
                breastfeeding with access to on-the-job workplace accommodations such as
                schedule modifications, medically necessary breaks, or adequate facilities to express
                breast milk constitute disparate treatment on the basis of sex, and have a disparate
                impact on female flight attendants, in violation of Title VII and CADA.

             b. Frontier's ongoing policy and pattern or practice of failing to provide flight
                attendants with temporary job reassignments for reasons related to pregnancy or
                breastfeeding constitute disparate treatment on the basis of sex, and have a
                disparate impact on female flight attendants, in violation of Title VII and CADA.

             c. Frontier's ongoing policy and pattern or practice of failing to provide flight
                attendants with workplace accommodations related to pregnancy and breastfeeding
                such as paid leave, temporary job reassignments, schedule modifications, medically
                necessary breaks, or private, sanitary, and accessible facilities to express breast milk,
                violate Colorado's PWFA.


    1 WAN MA requires employers to (i) provide break time to allow employees to express breast milk for their nursing
    child for up to two years after the child's birth; and (II) provide private space, other than a toilet, in close proximity
    to the "work area," where the employee can express breast milk in private. Frontier has failed to provide sufficient
    break time or a private space other than a toilet in close proximity to my work area where I can express breast milk
    in privacy as required by law. These claims are not discussed In detail because the EEOC and the Colorado Civil
    Rights Division do not enforce WANMA.




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          d. Frontier's dependability policy, under which points may be assigned for pregnancy-
             related sick days despite certification from a doctor, violates Title VII, the ADA, and
             CADA.


          e. Frontier's ongoing policy and pattern or practice of requiring immediate notification
             of pregnancy upon confirmation of the pregnancy by a doctor constitute facially
             discriminatory treatment on the basis of sex in violation of Title VII and CADA, and
             are not just ified as a bona f ide occupational qualification ("BFOQ").

    Remedies Requested

       37. As a result of Frontier's conduct, I have suffered financial harm, stress and anxiety,
           emotional distress, and fear that I will again be forced to choose between my job and
           my personal reproductive decisions about breastfeeding.

       38. I continue to be subject to Frontier's policies and practices on an ongoing basis. These
           policies and practices remain in place, and have impacted and continue to impact any
           plans I make relating to my family and personal reproductive decisions.

       39. Accordingly, I am seeking the following relief:

              a. A finding that Frontier's policies and practices violate Title VII, the ADA, the
                 CADA, and Colorado's PWFA;

              b. A policy extending parental leave for a period of t ime sufficient t o medically
                 recover from childbirth, and additional leave for bonding to be made available to
                 male and female parents.

              c. Revocation of the policy requiring pregnant flight attendants to notify Frontier
                 Airlines as soon as they learn that they are pregnant.

              d. A policy permitting flight attendants to seek a temporary modified duty
                 assignment to a ground position when they are ineligible or unable to fly due to
                 pregnancy and during the period when the need to express breast milk precludes
                 them from working for continuous periods without regular breaks;

              e. A policy excusing flight attendants from accruing dependability points for
                 medically certified absences related to pregnancy or disability, Including
                 pregnancy-related disability, and preventing flight attendants from being
                 penalized under the policy for leaves of absence related to pregnancy, disability,
                 recovery from childbirth, and related conditions including lactation.




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                 f.   A policy permitting flight attendants who are breastfeeding to pump while on
                      duty, including but not limited to at an appropriate time on board during flight,
                      during training, and at airports;


                 g. Designation of adequate facilities (consisting of a convenient, private location
                    other than a lavatory or restroom) for pumping on aircraft, during training, and
                    at airports.

                 h. Publication of a list of breastfeeding and pumping resources, including a list of
                    adequate, accessible facilities (a convenient, private location, other than a
                    lavatory or restroom), at each outstation and at DEN where breastfeeding
                    employees may pump breast milk. Every airport is already required by law to
                    have facilities available for its hourly employees to pump breast milk;

                 i.   At a minimum, a policy permitting (but not requiring) pumping in the lavatory on
                      the aircraft on an as-needed basis for the minimum amount of t ime med ically
                      necessary, as permitted by safety and operational needs.

                 j.   A policy explicitly permitting medical leave for employees whose need to express
                      breast milk precludes them from working for continuous periods without regular
                      breaks, notwithstand ing the accommodations provided for above.

                 k. Compensatory and punitive damages for the lost income and emotional distress
                    resulting from Frontier's failure to accommodate pregnancy and breastfeeding.




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                             ELIZABETH CORRIGAN
                        Notary Public - State of Colorado
                            Notary ID 20154029778
                       My Commission Expires Jul 29, 2019




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    Charge of Discrimination - Statement of Harm




    PERSONS INVOLVED

             Heather Crowe, Flight Attendant, on behalf of herself and others similarly situated
             Frontier Airlines

    DATE OF INCIDENT

             July 2013 through August 2016, and ongoing.

    SUMMARY OF DISCRIM INATORY CONDUCT

             I am a flight attendant employed by Frontier Airlines ("Frontier"). I bring this charge on
    behalf of myself and others who are similarly situated because Frontier is systematically failing
    to accommodate the needs of its pregnant and breastfeeding flight attendants. Frontier
    subjects its fl ight attendants to policies and practices that discriminate on t he basis of sex,
    pregnancy, childbirth, and disabi lity. In particu lar, Frontier has not provided me with
    accommodations related to pregnancy or adequate on-t he-job accommodations for
    breastfeeding. Front ier has had and continues to have a pattern or practice of discriminating on
    the basis of sex and pregnancy by denying on-the-job accommodations or temporary light duty
    assignments to flight attendants for reasons related to pregnancy and breastfeeding, although
    it maintains a policy of providing light or modified duty assignments to flight attendants who
    are injured on-the-job, and reasonable accommodations to people with other disabilities under
    the Americans with Disabilities Act(" ADA"). Finally, Frontier maintains a strict "dependability"
    policy t hat subjects employees to progressive discipline based on absences and discriminates
    against flight attendants based on pregnancy and disability, and pregnancy-related disability.
    These policies and practices violate the laws of the United States and the State of Colorado,
    inclu ding Title VII of the Civil Rights Act of 1964, the ADA, the Colorado Antidiscrimination Act
    ("CADA"), Colorado's Pregnant Workers Fairness Act ("PWFA"), and Colorado's Workplace
    Accommodation for Nursing Mothers Act (" WANMA"). 1

           As a result of Frontier's policies and practices, I have suffered and continue to suffer
    from stress and anxiety. I fear that I will have to put my health and breast milk supply at risk, or
    lose my job. Because Frontier's policies and practices remain in place, I continue to be subject


    1
      WAN MA requires employers to (i) provide break time to allow employees to express breast milk for their nursing
    child for up to two years after the child's birth; and (ii) provide private space, other than a toilet, In close proximity
    to the "work area," where the employee can express breast milk in private. Frontier has fai led to provide sufficient
    break time or a private space other than a toilet in close proximity to my work area where I can express breast milk
    in privacy as required by law. These claims are not discussed in detail because the EEOC and the Colorado Civil
    Rights Division do not enforce WAN MA.




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    to them and am affected by them on an ongoing basis. I file this charge to obtain redress for the
    harms I have suffered and continue to suffer, and to force Frontier to change its policies and
    practices in order to better accommodate the needs of flight attendants who are pregnant or
    breastfeeding.

    PARTICULARS

    Professional Background

       1. I have at all relevant times been employed as a flight attendant by Frontier.

       2. I began working as a flight attendant at Frontier on June 3, 2002, when I was 23, and
          have remained employed as a flight attendant by Frontier for more than fifteen years.

       3. My qualifications as a flight attendant are current and I am a member of the Association
          of Flight Attendants ("AFA"), the union that represents Frontier flight attendants.

       4. Frontier is a commercial airline and ma intains a hub at Denver International Airport
          ("DEN"). I live in the Denver area and am based out of DEN.

    Frontier's Policies and Practices

        5. Frontier requires a flight attendant to notify the airline immed iately once her physician
           has confirmed her pregnancy. Pregnant flight attendants must present a release on a
           monthly basis, signed by a physician, certifying their ability to perform Flight Attendant
           duties. CBA Art. 12(F)(l), attached as Exhibit 1.

        6. Frontier's Dependability Policy assigns points to flight attendants for attendance
           "occurrences" such as absenteeism or tardiness-including sick days. Per the Employee
           Handbook§ 12.05.0.7, attached as Exhibit 2, flight attendants receive 1.5 points per sick
           day even if they have a medical excuse from their doctor. Id. Points "roll off" after
           twelve months. Id. at§§ 12.05.0.7, 12.05.1.3. Flight attendants begin to face disciplinary
           action after receiving three to four point s and are terminated after receiving eight
           points. Id. at§ 12.05.0. 7. Flight attendants with perfect attendance records receive a
           maximum of six hours (three hours if part time) of bonus pay over a twelve-month
           period. Id. Flight attendants with six months of perfect attendance are also awarded two
           credit points to their "bank" of available days for the next twelve months. Id. Leaves of
           absence, including for reasons related to pregnancy and childbirth, freeze the twelve-
           month clock for purposes of permitting points to "roll off." Id. at§ 12.05.1.3.

        7. Frontier does not have any policy providing for a specified amount of maternity leave
           following birth for flight attendants. CBA Art. 12(F), Exhibit 1. Flight attendants who are
           eligible for FMLA may take such leave to recover from childbirth, and those who are
           ineligible for FMLA may apply for medical leave. Employee Handbook§§ 08.05.4.3,




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          08.05.4.5, 08.05.5, Exhibit 2. Medical leaves are "never guaranteed," are available to
          flight attendants who have worked for Frontier for at least 90 days, and are granted only
          for an employee's own illness, injury, or pregnancy. Employee Handbook§ 08.05.51
          Exhibit 2; CBA Art. 12(G)(l)-(2), Exhibit 1. Under the collective bargaining agreement,
          sick leave must be used and vacation days may be used during maternity leave;
          otherwise maternity leave is unpaid. CBA Art. 12(F)(3), Exhibit 1. Short term disability is
          available for those flight attendants who have purchased optional insurance. Employee
          Handbook§ 07.05.1.1, Exhibit 2.

       8. Frontier has a policy under which after an employee has been on a leave of absence for
          90 days, the employee bears the full cost of medical, dental, vision, life, and disability
          insurance. Employee Handbook§ 08.05, Exhibit 2.

       9. Frontier does not make temporary alternative job assignments available to flight
          attendants who are pregnant and unable to fly, or for flight attendants who are
          breastfeeding. By contrast, Frontier maintains a policy under which it provides
          reasonable accommodations under the ADA to qualified individuals with disabilities
          (including accommodations such as job restructuring, modified work schedules,
          reassignment to vacant positions, and adjustment or modification of policies), see
          Employee Handbook§§ 05.05.3.1-2, Exhibit 2, and "light/modified duty" to individuals
          who are injured on-the-job, see also CBA Art. 12(H)(2), Exhibit 1.

       10. Frontier has no formal policy add ressing the needs of flight attendants who are
           breastfeeding. However, on information and belief, Frontier has told other flight
           attendants that they are prohibited from pumping while on duty. By contrast, Frontier
           does not police flight attendants' breaks or use of the restroom while on duty to take
           care of other physiological needs, such as going to the bathroom.

       11. Flight attendant s at Frontier commonly work 10-12 hours a day, and occasionally more
           (up to 16 hours a day) during Irregular Operations, with flight times ranging from
           approximately one to five hours. Frequently, flight attendants have overnight trips of
           two to four nights in length, spanning multiple cities. There is typically a period of time
           la sting around 45 minutes between flights; however, flight attendants are required to
           report to the aircraft 45 minutes before the next departure and have duties on board
           both after the plane lands and prior to the next departure. CBA Art. 4(E), Exhibit 1. The
           flight attendants' duties of deplaning, cleaning, and reboarding the aircraft frequently
           take up all the available time on the ground between flights such that flight attendants
           are generally unable to leave the plane between flights. Additionally, the period on the
           ground is sometimes compressed due to flight delays. Accordingly, the time between
           flights is not sufficient to permit flight attendants who are breastfeeding to leave the
           aircraft in order to pump milk at a designated location in the airport.




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       12. Frontier does not provide any non-bathroom locations where flight attendants are able
           to pump in "close proximity" to flight attendants' "work area."

       13. Moreover, Frontier does not provide additional break time for the purpose of allowing
           employees to express breast milk for their nursing child for up to two years after the
           child's birth.

    My Need for Accommodations Related to Breastfeeding

       14. It is important to me that my children be fed breast milk during the first twelve months
           of their lives, in accordance with medical recommendations. I want my children to have
           the health benefits of breast milk, and I value the bonding experience that I share with
           my children during breastfeeding.

       15. Women who feed their babies with breast milk but who cannot be with their babies at
           all times need to express breast milk, usually by using a breast pump. This ensures that
           there is a supply of milk available for the baby when the mother is not present to
           breastfeed, and helps maintain the woman's supply and production of breast milk. If a
           woman does not breastfeed or express breast milk at frequent Intervals, her breast milk
           supply will decrease and she may stop producing breast milk altogether. She will also
           experience pain and discomfort, and could develop blocked breast ducts or mastitis,
           which is an infection of the breast tissue.

       16. After the birth of each of my children, I was aware that w ithout the ability to pump
           breast milk at work, I would be unab le to maintain a sufficient milk supply and would be
           at risk of experienci ng these complications.

    Frontier's Discriminatory Actions Related to Pregnancy, Childbirth, and Breastfeeding

       17. I became pregnant with my first son in February 2013. I informed Frontier in June of
           2013. Frontier's scheduling group temporarily removed me from my schedule without
           explanation, even though I was still fit to fly. Frontier subsequently placed me on
           "available to assign" for the remainder of the month before returning me to my usual
           schedule secured through bidding and seniority. "Available to assign" is a form of being
           on-call at all times.

       18. Per my request, I was granted FMLA leave from September 21, 2013 through 90 days
           post-delivery. Exhibit 3.

       19. Frontier never informed me of any pol icy regarding pumping in flight. Frontier also
           never provided me a list of approved locations to express milk or offered me any other
           accommodations.




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       20. When I returned to work, I attempted to pump before each originating flight, during
           flights, and at hotels. However, it is generally not feasible to pump on the ground in
          between flights because the time between flights is so short (typically around 45
          minutes) and I am typically engaged in active duties related to deplaning and boarding
          passengers, preparing the airplane for the next flight, and conducting the required
          safety checks. While my seniority at Frontier allowed me some flexibility with respect to
          scheduling flights, I was nevertheless frequently forced to express milk while on flights.

       21. D·uring trips, I pumped when necessary while the plane was in flight, however only
           between the times when I was actively engaged in my duties. Once the plane is
           airborne, flight attendants' duties include snack and beverage service, collecting trash,
           and responding to individual passenger inquiries. When these duties are complete,
           there are long periods of time when flight attendants are unoccupied and chat or read
           in the back of the plane. It is commonplace for flight attendants to take short breaks or
           visit the restroom during those periods.

       22. When I needed to express breast milk during a flight, I would mention to a fellow flight
           attendant that I was going to pump in the lavatory, and pump only for long enough as
           minimally needed to relieve pain from engorgement.

       23. I would have preferred not to have to pump breast milk in the aircraft lavatory, if it
           could have been avoided. The lavatory is unsanitary for this purpose and cramped. It is
           also inadequate under WANMA, which requires that employers provide space, other
           than a toilet, in close proximit y to the work area where the employee can express breast
           milk in private. Pumping in the family bathroom at DEN is also unsanitary, inappropriate
           for this purpose, and not private.

       24. Pumping in restrooms at DEN or on the plane during flights has been common practic_e
           for nursing Frontier flight attendants for as long as I have worked at Frontier.

       25. My first son refused to consume formula, so I breastfed him exclusively. It was therefore
           important that I pump at regular intervals when away from my son to keep my milk
           supply. I often suffered from pain and engorgement and typically only had enough time
           in flight to pump minimally to relieve the pain and pressure but not to completely empty
           my breasts of milk.

       26. On two separate occasions, a fellow flight attendant informed me while I was pumping
           that a passenger was having a medical emergency. I immediately removed my pump
           and exited the lavatory to assist. On each occasion, it took approximately one or two
           minutes to stop pumping, exit, and begin to assist with the passenger. I believe this took
           less time than it would take for most people to stop relieving any other physiological
           need, such as using the toilet, and begin to assist.




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      27. Pumping in restrooms was unsanitary, disgusting and humiliating.

      28. I became pregnant with my second son in August 2015 and worked until approximately
          the 34th week of my pregnancy. I disclosed my pregnancy to the airline on or about
          November 2015, and I went out on leave in mid-April 2016. Aside from the one week
          that was covered by accrued paid vacation, my parenta l leave was unpaid.

       29. During my second pregnancy, I had very bad sinus infections that were related to the
           pregnancy. To avoid accruing dependability points, I had to use approximately 10-to-15
           days of my FMLA leave for pregnancy-related sinus infections around
           November/December 2015, and again in February 2016.

      30. On March 25, 2016, I informed Frontier that I would take leave starting in the middle or
          late April and requested that Frontier send me the requisite paperwork. Frontier sent
          me the requi red forms to complete on March 28, 2016. Exhibit 4. On April 1, 2016, I
          submitted FMLA paperwork and certification from my doctor requesting approval for
          FMLA leave for when I gave birth to my son. My doctor indicated that I required twelve
          weeks post-partum off for recovery and breastfeeding. Exhibit 5.

       31. Having heard nothing back, I followed up on April 5, 2016. Id. On April 6, 2017, Shelley
           Leyner from Frontier's Leave of Absence Department emailed me that I was approved
           for Continuous FMLA for April 11, 2016 to June 16, 2016. Exhibit 6. Ms. Leyner also
           informed me that, since I was requesting time off beyond the FLA I have available,
           Frontier would require my physician to complete additional paperwork. Id. She further
           informed me that "Non-FM LA is never guaranteed and is subject to department
           approval" and that "any time taken that is unapproved will be subject to the lnflight's
           dependability policy." Id. I submitted that paperwork on April 28, 2016. Exhibit 7.

       32. I gave birth to my son on May 6, 2016, seventeen days early. I again reached out to
           remind Frontier of my pending request for FMLA and non-FM LA leave. Frontier again
           requested revised paperwork, which I submitted on May 17, 2016. Exhibits 8 and 9. My
           doctor noted that I needed to take twelve weeks post-delivery for recovery and
           breastfeeding. Exhibit 9.

       33. Frontier took several weeks to respond to my requests. Ten days before my FMLA leave
           was set to expire, and after having attempted to contact other members of the LOA
           department, I contacted Jerry Arellano, Senior Employee Relations Manager at Frontier,
           directly. Exhibit 10. On June 6, 2016 Mr. Arrellano responded that Non-FMLA Medical
           Leave "may only be used for your own illness or injury" and that the "nature of my
           request noted does not meet the criteria of an illness or injury." Id. Frontier then denied
           my request to extend my leave. Id. I understood that Frontier would not allow me to
           take unpaid medical leave to recover from child-birth and to breastfeed my son.




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       34. On June 8, 2016, I notified Frontier that I was diagnosed with post-partum depression. I
           submitted medical certification from my doctor on several occasions, but Frontier either
           did not respond or asked me to resubmit it. See, e.g., Exhibit 11. I followed up again and
           re-submitted my paperwork on July 15, and Frontier eventually confirmed receipt on
           Ju ly 20, 2016. Exhibit 12. I was stressed at this time and concerned that I was at risk of
           being fired for dependability reasons as my leave had expired but Frontier had yet to
           respond.

       35. On July 25, 2016, I was eventually approved for Continuous Non-FM LA leave from July
           15, 2016 until August 31, 2016. Exhibit 13. My doctor certified that I could return to
           work without restrictions on September 1, 2016 . Id.

       36. Although Frontier was on notice that I had been breastfeeding, Frontier never informed
           me of any pol icy regarding pumping in flight. Frontier also never provided me a list of
           approved locations to express milk.

       37. Accordingly, after I returned to work in September 2016 and until approximately April
           2017, with the exception of January 2017 when I was on an unrelated company-offered
           leave, I used a breast pump to express milk on the aircraft in the lavatory. I attempted to
           pump before each originating flight, during flights, and at hotels. However, as was true
           previously, it was generally not feasible to pump on the ground in between flights.
           During trips, I pumped when necessary while the plane was in flight, however only
           between the times when I was actively engaged in my duties.

       38. I continued to find pumping in restrooms unsanitary, disgusting and humiliating.

       39. Frontier's policies and practices again caused me emotional and psychological harm.

       40. Frontier's policies allow for accommodations and light or modified duty for on-the-job
           injuries and disabilities. I also believe that Frontier has provided workplace
           accommodations to other flight attendants for reasons unrelated to pregnancy and
           breastfeeding. By contrast, Frontier did not offer me on-the-job accommodations
           related to pregnancy or breastfeeding.

       41. In addition, Frontier has had and cont inues to have a pattern or practice of denying
           pregnancy- and breastfeeding-related accommodations to female flight attendants.

       42. I am currently pregnant with my third child and am due in June 2018. I submitted FMLA
           paperwork on April 18, 2018 requesting leave starting on May 25, 2018. On April 25, I
           was approved for FMLA leave from May 25 through August 18.




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       43. I suffered from a pregnancy-related sinus infection in April of 2018 and was unable to
           fly. Despite having presented Frontier with a note from my doctor setting forth such, I
           still accrued dependability points for my pregnancy-related absence.

       44. I would like to have the option to seek a temporary ground position during the final
           weeks of my pregnancy if such an accommodation were available. However, I am aware
           that Frontier has denied such accommodations to other pregnant and nursing flight
           attendants and has taken the position that such accommodations are not available to
           flight attendants who are pregnant or nursing as a matter of policy. I have therefore not
           sought this accommodation because I believe that doing so would be futile.

       45. I plan to breastfeed my third child for at least twelve months as I did with my two other
           children. When I return to work after giving birth, if Frontier is still failing to provide any
           on-the-job accommodations for breastfeeding, I would like to have the option to seek a
           temporary ground position during the time I am breastfeeding in order to avoid once
           again being forced to pump in unsanitary airplane lavatories and airport restrooms.

    Discrimination Statement

       46. Frontier has discriminated against me because of pregnancy-related disabilities and
           because of my sex, my pregnancy, and a condition related to my pregnancy and
           childbirth - specifically, lactation. Frontier's policies and practices violate the laws of
           the United States and the State of Colorado, including Title VII of the Civil Rights Act of
           1964, the ADA, and CADA, as amended by the PWFA, as well as Colorado's WAN MA In
           several ways:

           a. Frontier's ongoing policy and pattern or practice of prohibiting employees from
              pumping breast milk while o_n duty and failing to provide employees who are
              breastfeeding with access to on-the-job workplace accommodations such as
              schedule modifications, medically necessary breaks, or adequate facilities to express
              breast milk constitute disparate treatment on the basis of sex, and have a disparate
              impact on female flight attendants, in violation of Title Vil and CADA.

           b. Frontier's ongoing policy and pattern or practice of failing to provide flight
              attendants with temporary job reassignments for reasons related to pregnancy or
              breastfeeding constitute disparate treatment on the basis of sex, and have a
              disparate impact on female flight attendants, in violation of Title VII and CADA.

           c.   Frontier's ongoing policy and pattern or practice of failing to provide flight
                attendants with workplace accommodations related to pregnancy and breastfeeding
                such as paid leave, temporary job reassignments, schedule modifications, medically
                necessary breaks, or private, sanitary, and accessible facilities to express breast milk,
                violate Colorado's PWFA.




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          d. Frontier's dependability policy, under which points may be assigned for pregnancy-
             related sick days despite certification from a doctor, violates Title VII, the ADA, and
              CADA.

          e. Frontier's ongoing policy and pattern or practice of requiring immediate notification
             of pregnancy upon confirmation of the pregnancy by a doctor constitute facially
             discriminatory treatment on the basis of sex in violation of Title VII and CADA, and
             are not justified as a bona fide occupational qualification ("BFOQ").

    Remedies Requested

       47. As a result of Frontier's conduct, I have suffered financial harm, stress and anxiety,
           emotional distress, and fear that I would lose my job.

       48. Accordingly, I am seeking the following relief:

              a. A finding that Frontier's policies and practices violate Title VII, the ADA, the
                 CADA, and Colorado's PWFA;

              b. A policy extending parental leave for a period of time sufficient to medical ly
                 recover from childbirth, and additional leave for bonding to be made available to
                 male and female parents;

              c. Revocation of the policy requiring pregnant flight attendants to notify Frontier
                 Airlines as soon as they learn that they are pregnant;

              d. A policy permitting flight attendants to seek a t emporary modified duty
                 assignment to a ground position when they are ineligible or unable to fly due to
                 pregnancy and during the period when the need to express breast milk precludes
                 them from working for continuous periods without regular breaks;

               e. A policy excusing fl ight attendants from accruing dependability points for
                  medically certified absences related to pregnancy or disability, including
                  pregnancy-related disability, and preventing flight attendants from being
                  penalized under the policy for leaves of absence related to pregnancy, disability,
                  recovery from childbirth, and related conditions including lactation;

               f. A policy permitting flight attendants who are breastfeeding to pump while on
                  duty, including but not limited to at an appropriate t ime on board during flight,
                  during training, and at airports;




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                g. Designation of adequate facilities (coni;isting of a convenient, private location
                     other than a lavatory or restroom} for pumping on aircraft, during training, and
                     at airports.


                h. Publication of a list of breastfoeding and pumping resources, including a list of
                   adequate, accessible facilities {a cor,ver,ient, private location, other than a
                   lavatory or restroom), at each outstation and al DEN w~,ere breastfeeding
                   em ployees may pump breast milk, Every airport is alr eady required by law to
                   have facilities available for its houri\, employees to pump breast milk;


                i.   At a minimum, a policy permitting (but not requiring) pumping in the lavatory on
                     thE! aircraft on an as-needed basis for t he minimum amount of time medically
                     necessary, as permitted by safety and n9erational needs.

                j.   A policy explicitly permitting rnedicc1I lr:·ave for employe<?S whose need to express
                     brnast milk precludes them frorl' working for continuous periods wi:hout regular
                     breaks, notwithstanding the accommodations provided for above.


                k. Compensatory and punitive damage·s for the lost Income and emotional distress
                   rewlting from Frontier's failure to ac.:commodate pregnancy and breastfeeding.




      Signature:~                   ~
                Heather Crowe, Charging Party



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                                             Notarial Certificate



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   County of Clark

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  EEOC Charge of Discrimination on behalf of Trisha Hughes-.Draughn

  PERSONS INVOLVED:
           Trisha Hughes-Draughn, First Officer at Frontier Airlines. on behalf of herself and others
           similarly situated
           Frontier Airlines
  DATE OF INCIDENT:
           August 5, 2015 and ongoing
   SUMMARY OF DISCR.IlvfINATORY CONDUCT:
           I am a First Officer pilot employed by Frontier Airlines ("Frontier"). I bring this charge
   on behalf of myself and others who are similarly situated because Frontier is failing to
   accommodate the needs of its pregnant or breastfeeding pilots and to respect their dignity as
   equal and deserving members of its workforce. Frontier subjects its pilots to policies and
   practices that discriminate against women. As a result of Frontier's policies, I have been forced
   to take an unpaid leave since the last eight weeks of my pregnancy, even though I have been
   prepared to work in a reassigned capacity. Frontier also failed to provide me with adequate
   maternity leave or an appropriate workplace accommodation to express breast milk at work, in
   violation of the laws of the United States and the States of Colorado and Nevada, including Title
   VII of the Civil Rights Act of 1964, the Colorado Fair Employment Practices Act, Colorado's
   Pregnant Workers Fairness Act ("CO-PWFA"),Colorado's Workplace Accommodation for
   Working Mothers Act ("CO-WANMA"), the Nevada Fair Employment Practices Act, Nevada's
   Pregnant Workers' Fairness Act ("NV-PWF A"), and the Nevada law on the "Rights of a Private
   Employee Who Is Mother of Child Under l Year of Age" ("NV-Nursing Mothers law''). 1
           As a result of Frontier's policies and practices, I suffered from stress and anxiety, fear
   that I would lose my job, reduced breast milk production, physical harm, including engorgement
   and premature termination of breastfeeding, and financial harm. Because Frontier's policies and
   practices remain in place, I continue to be subject to them and am affected by them on an
   ongoing basis. I am filing this charge in order to force Frontier to change its policies and
   practices to better accommodate the needs of pilots who are pregnant and breastfeeding.




   1
    CO-W ANMA requires employers to (i) provide break time to allow employees to express breast milk for their
   nursing child for up to two years after the child's birth; and (ii) provide private space, other than a toilet, in close
   proximity to the "work area,,., where the employee can express breast milk in private. Nevada law contains a similar
   provision that applies for a year after the child's birth Frontier has failed to provide sufficient break time or a
   private space other than a toilet in close proximity to my work area where I can express breast milk in privacy as
   required by Jaw. These claims are not discussed in detail because the EEOC and the Colorado Civil Rights Division
   do not enfon;e CO-W ANMA or the NV-Nursing Mothers Law.



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  PARTICULARS:
  Professional Background

          I.   I have at all relevant times been employed as a commercial airline pilot by Frontier.
               I began working as a First Officer at Frontier in August 2015. I have been employed
               by Frontier as a First Officer for over two years.

          2.   Prior to working at Frontier, I was a pilot for Horizon Air where I worked for I year
               and eleven months. Prior to my tenure at Horizon Air, I was a pilot for Silver
               Airways for 9 months.

          3.   My first job upon graduating college in 2002 was as a barista for Starbucks. I held
               that position from 2002 to 2003, at which point I decided to apply to FedEx with
               hopes of transitioning to a flying position. After one year of flight instruction, I
               eventually qualified to apply as an airline pilot and began with Mesaba Airlines.

          4.   My qualifications as a pilot are current and will be until May 2018. I am a member
               of the Air Line Pilots Association, International ("ALPA"), the union that represents
               Frontier pilots.

          5.   Frontier is a commercial airline and maintains a hub at Denver International Airport
               ("DIA"). I was previously based out of DIA. In March 2018, I moved to Las Vegas,
               Nevada, and I am currently based out of Las Vegas Airport ("LAS").
   Frontier's Policies and Practices
          6.   Frontier requires pregnant pilots to go on maternity leave following the 32nd week of
               pregnancy or after they are no longer medically authorized to fly, whichever is
               sooner. Frontier's policy pennits pilots on maternity leave to use any accrued sick or
               vacation leave during this time. After any such leave is exhausted, all remaining
               leave is unpaid, with the exception of a limited window of approximately six weeks.
          7.   Under Frontier's policies, pregnant pilots do not have any option to seek a temporary
               alternative assignment that would permit them to remain on the job and continue
               earning a salary during their pregnancy. In contrast, under Frontier's policies, other
               employees are permitted to seek temporary alternative assignments if they can
               demonstrate medical necessity or disability.
          8.   Frontier permits women to take up to 120 days of maternity leave following birth.
               That period is unpaid, except to the extent the employee uses any accrued sick and
               vacation time. After 120 days, employees are required to return to work as soon as
               they are deemed medically fit for duty, regardless of their specific needs or desire to
               extend the period of unpaid leave. Although there is a provision in the collective
               bargaining agreement that permits this period to be extended "for extraordinary



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              circumstances," maternity leave is not usually extended for any reason other than a
              medical complication following birth, which usually results in the pilot talcing a
              medical leave of absence.
         9. Frontier's policies pennit pilots to take unpaid medical leave as a result of medical
            conditions upon a demonstration of medical necessity. Frontier has been
            inconsistent in making medical leave available for pilots for reasons related to
            breastfeeding, though its policies may now be changing and some pilots, including
            myself, have been placed on medical leave for such reasons. When medical leave is
            provided, it is only provided in short monthly increments.
         10. It is my understanding that (other than the 120-day maternity leave) Frontier has no
             fonnal policy on providing accommodations for pilots who are breastfeeding.
         11. Frontier does not make temporary alternative job assignments available to pilots wh.o
             are breastfeeding.
         12. Pilots at Frontier typically work 12-16-hour days, with flight times ranging from 20
             minutes to six hours. Frequently, pilots take overnight trips of two to five days in
             length spanning multiple cities. Although pilots have breaks of about 45 minutes
             between flights, their pre- and post-flight duties leave only about 15 minutes of time
             to attend to personal needs, such as eating meals or using the restroom. Additionally,
             these breaks are sometimes compressed due to flight delays. As a general matter,
             these breaks are insufficiently long to permit pilots who are breastfeeding to pump
             milk.
          13. Frontier has a designated room at DIA for use by employees who are pumping.
              However, it is in most cases far from departure/arrival gates where the airplanes on
              which I work are located, and there is no similar facility available to Frontier pilots
              at outstations. It is therefore not located in close proximity to my "work area." It
              also requires a key from the Chief Pilot's Office to access the room, but the Chief
              Pilot's Office is typically closed by 4:30pm on weekdays and therefore was
              inaccessible when I worked nights or weekends.
          14. Moreover, Frontier does not provide additional break time for the purpose of
              allowing employees to express breast milk for their nursing child for up to two years
              after the child's birth.
   My Need for Accommodations Related to Breastfeeding
          15. It is important to me that my children be fed exclusively breast milk, and not
              formula, during the first six months of their lives, and that they be breastfed for at
              least two years after birth even after they start eating solid food. This is not only
              because of the known health benefits of breast milk, but also because of the




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              important bonding and emotional connection that breastfeeding allows between
              mother and child.
          16. Women who cannot be with their babies at all times need to express breast milk,
              usually by using a breast pump, in order to ensure that there is a supply of milk on
              hand for the baby when they are not present to breastfeed, and to maintain the supply
              and production of breast milk. If a woman does not breastfeed or express breast milk
              at frequent intervals, her breast milk supply will decrease and she may stop
              producing milk altogether. She will also experience pain and discomfort, and could
              develop mastitis, an infection of the breast tissue. I knew that without the ability to
              pump breast milk at work, I would be unable to maintain a sufficient milk supply and
              would experience these complications.
   Relevant Personal Background and Frontier's Discriminato,y Conducl
          17. My first child was born on March 4, 2015. When I started at Frontier on August S,
              2015, my son was S months old and was still breastfeeding.
          18. I therefore needed an accommodation in order to for me to begin work at Frontier.
          19. During my initial training in August 2015, it became evident that I would need an
              accommodation in order for me to breastfeed and be a pilot at Frontier.
          20. During training there was never sufficient time to pump. Indeed, one of the
              examiners, Craig Linn, complained I was late on one particular occasion because I
              was pumping. I consequently got pulled into the Chief Pilot's Office and was
              reprimanded for my tardiness. I subsequently had a meeting with my union
              representative Craig Peterson, Chief Pilot J.P. Thibodeaux, and a Frontier employee
              from Human Resources. When I explained the reason I was late was due to my
              medical necessity to pump breast milk, the Frontier employees warned me not to be
              late in the future.
          21. One of the reasons I had been late was that the pumping facilities available during
              training were inadequate. There was onJy one small lactation room which was far
              from refrigerators and which was often occupied during the designated break
              periods.
          22. By the end of the approximate two-month training period, I already suffered from
              physical harm as a result of my inability to pump breast milk, including blocked
              ducts and engorgement.
              Once I completed training and began my flight assignments, the lack of
              accommodations on Frontier's part only persisted.
          24. I did my best to pump on the ground between flights ifl had sufficient time, but this
              was often not the case. When I did have time to pump on the ground between flights
              at DIA, the lactation room was far and not in close proxjmity to the gate where the



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            aircraft was located. It was necessary to obtain a key from the Chief Pilot's office
            and go across the entire concourse and back, which was a very long distance.
        25. In order to maintain my supply of breast milk, I resorted to pumping in the aircraft
            lavatory whenever possible.
        26. At times it was necessary to pump in the lavatory during a flight, but it was
            dependent upon the captain I was flying with. Many of the captains did not believe
            that I had a physiological need to pump and would not permit me to go to the
            lavatory to do so when I requested. As a result, I often suffered from blockages and
            engorgement.
        27. Pumping breast milk in the aircraft's lavatory is unsanitary, subject to extreme
            temperatures during flight, and cramped. It is also my understanding that this is
            inadequate under both Colorado and Nevada law, which require that employers
            provide space, other than a toilet, in close proximity to the work area where the
            employee can express breast milk in private.
        28. Each time I pumped on the aircraft I became anxious and concerned that I would be
            reported to Frontier management and would be disciplined or suffer other
            consequences, including losing my job.
        29. Frontier was aware of my need to pump, in part because I spoke several times to the
            Chief Pilot's assistant Kim Powers regarding pumping at DIA.
        30. Frontier never informed me of any policy or guidelines regarding pilots who need to
            express breast milk, and never warned me of any safety risks or precautions.
            Frontier never offered me any accommodations, including the option of working a
            reduced flight schedule, a list of other locations where I could pump at airports other
            than DIA, or anything else.
        31. To date, Frontier has not confirmed that there is any place, other than DIA and
            possibly the aircraft lavatory, where I may pump breast milk.
        32. Due to inadequate accommodations for pumping, there was rarely sufficient time to
            pump. I frequently had to delay pumping due to my flight schedule or flight delays,
            causing pain and discomfort due to engorgement and blockages, and I suffered a
            steep decline in milk supply.
        33. As a result of the decline in my milk supply, I had to supplement my son's diet with
            formula starting when he was six months old. I had to stop breastfeeding entirely in
            May 2016 when he was fifteen months old, despite my desire to continue for a
            longer period.
        34. I became pregnant with my second child in approximately March of 2016. I went on
            leave on October 14, 2016, which was the 30th week of my pregnancy. Aside from




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              some period that may have been covered by accrued paid sick or vacation leave, this
              leave was unpaid.
          35. Under Frontier's policies, I did not have the option to seek a temporary job
              reassignment during the remainder of my pregnancy.
          36. I gave birth on December 16, 2016, and remained on unpaid maternity leave until my
              return to work on April 17, 2018.
          37. As Frontier failed to offer either paid maternity leave or job reassignment for
              pregnant and breastfeeding pilots, and I have been required to take unpaid leave
              since my 30th week of pregnancy, I have suffered financial harm from my resulting
              loss of income.
          38. After the birth ofmy second child, I contacted Frontier in early 2017 to discuss my
              options for returning to work. I spoke on the phone with Fadia Daphnis and
              explained to her that I needed an accommodation to express breast milk every two
              hours. Ms. Daphnis explained that there are no accommodations for breastfeeding
              pilots so it would be necessary for me to remain out on unpaid medical leave ifl
              wished to continue breastfeeding.
          39. Frontier never offered me or informed me of any other possible accommodations.
          40. After an initial two-month medical leave was granted, Frontier repeatedly required
              me to reapply for an extension of leave every two months. My unpaid leave ended in
              April 2018 and I am currently in training.
          41. I am still breastfeeding and fear that the lack of accommodations for breastfeeding
              will cause me physical pain and emotional anxiety once I return to working a regular
              schedule. I have decided not to seek any additional accommodations because I fear
              that Frontier's response to an official accommodation request will be to place me on
              unpaid medical leave. I am also aware that this has been the company's response to
              similar requests from other breastfeeding employees in the past.
   Frontier's Policies and Practices are Discriminato,y
          42. Frontier's policies and practices related to pregnancy and breastfeeding constitute
              discrimination against me based on my sex and because of a condition related to my
              pregnancy (lactation).
          43. Frontier's failure to provide employees who are pregnant or breastfeeding with
              access to workplace accommodations such as temporary job reassignment, medically
              necessary breaks and sanitary facilities to pump breast milk, or medical leave
              constitute disparate treatment on the basis of sex in violation of the Colorado Fair
              Employment Practices Act, the Nevada Fair Employment Practices Act, the Nevada
              and Colorado Pregnant Workers Fairness Acts, and Title VU.




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        44. Frontier's policies and practices related to pregnancy and breastfeeding-
            specifically, the policy of forcing pilots to take mandatory unpaid leave during
            pregnancy, the limitation to 120 days of unpaid maternity leave, the lack of any paid
             leave, the inconsistent practice on permitting breastfeeding pilots to seek medical
             leave, the lack of sanitary facilities or adequate break time for pumping breast milk,
             and the failure to make alternative job assignments available to pregnant and
             breastfeeding pilots, have a disparate impact on female pilots.
        45. Frontier's failure to provide a workplace accommodation for me to express breast
            milk in a private area other than a toilet close to my work area violates WANMA and
            the Nevada Nursing Mothers Law.
        46. As a result of Frontier's conduct, I suffered from stress and anxiety, emotional
            distress, fear that I would lose my job, reduced breast milk production, physical harm
            (engorgement and blocked ducts), premature termination of breastfeeding, and
            financial harm .
        47. I continue to be subject to Frontier's policies and practices on an ongoing basis.
            These policies and practices remain in place, and have impacted and continue to
            impact my plans with respect to my family and my personal reproductive decisions.
        48. I understand that on March 9, 2016, the ACLU and the law firm Holwell Shuster &
            Goldberg LLP wrote a letter to Howard Diamond, Senior Vice President, Secretary,
            and General Counsel of Frontier, to inform them of other pilots' experiences of being
            subjected to discriminatory policies and practices at Frontier related to pregnancy,
            parental leave, and breastfeeding, and to demand that Frontier immediately revise
            those policies and practices. I understand that Frontier has continuously failed to
            provide the requested accommodations.
        49. I request that EEOC investigate all of the claims made in this charge on a class:wide
            basis. I believe that the conduct described above is part of a company-wide policy or
            pattern and practice of discrimination based on sex, and that it has adversely
            impacted hundreds of employees who currently or previously worked for Frontier.
            This charge is representative and is intended to place JPMC on notice of class-wide
            allegations of discrimination.
         50. To the greatest extent under the law, for exhaustion and tolling purposes this class-
             based charge relies upon any and all prior charges that have been filled with the
             EEOC or any state or local agency that relate to Frontier's policies related to
             pregnancy and breastfeeding. Frontier's ongoing pattern or practice constitutes a
             continuing violation of Title VII and Nevada and Colorado state law.




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  Remedies Requested:
        5 I. Through this charge and legal action, I am seeking all injunctive, equitable, and legal
             relief for me and the other employees who have been affected by Frontier's policies
             related to pregnancy and breastfeeding, including but not limited to the following
             relief:
                 a. A finding that Frontier's policies and practices violate Title VII, the
                    Colorado Fair Employment Practices Act, the Nevada Fair Employment
                    Practices Act, Colorado and Nevada PWF A, W ANMA, and the Nevada
                    Nursing Mothers Law;
                 b. A policy permitting pilots to seek a temporary modified duty assignment to
                    a ground position during the period when they are ineligible to fly due to
                    pregnancy and during the period when the need to express breast milk
                    precludes them from working for continuous periods without regular breaks;
                 c. A policy ensuring sufficient breaks and a private location other than a
                    lavatory for pumping, including but not limited to while on duty, during
                    training and simulation exercises and during turns at outstations;
                 d. Designation of adequate facilities (consisting of a convenient, private
                    location other than a lavatory or restroom) for pumping, including on
                    aircraft, during training and simulation exercises, and at outstations.
                 e. Publication of a list of breastfeeding and pumping resources, including a list
                    of adequate facilities (a convenient, private location, other than a lavatory or
                    restroom}, at each outstation where breastfeeding employees may pump
                    breast milk (every airport is already required by law to have facilities
                    available for its own hourly employees who need to pump breast milk);
                 f.    A policy permitting temporary delegation of pre- and post- flight duties to
                       the other pilot when a pilot is breastfeeding and needs additional break time
                       to pump breast milk;
                 g. A policy permitting (but not requiring) pumping in the lavatory on the
                    aircraft on an as-needed basis for the minimum amount of time medically
                    necessary, as pennitted by safety and operational needs;
                  h. A policy extending the existing unpaid parental leave (currently called
                     "maternity" leave) to both male and female pilots; and
                  1.    A policy extending eligibility for unpaid medical leave to employees whose
                        need to express breast milk precludes them from working for continuous
                        periods without regular breaks, notwithstanding the accommodations
                        provided for above.




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